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     1                 UNITED STATES DISTRICT COURT
     2             FOR THE NORTHERN DISTRICT OF OHIO
     3                        EASTERN DIVISION
     4                               - - -
     5    IN RE:    NATIONAL             )
          PRESCRIPTION OPIATE            )   MDL No. 2804
     6    LITIGATION                     )
          ________________________)          Case No. 1:17-MD-2804
     7                                   )
          THIS DOCUMENT RELATES          )
     8    TO ALL CASES                   )   Hon. Dan A. Polster
     9                               - - -
   10

   11                   Thursday, December 6, 2018
   12          HIGHLY CONFIDENTIAL - SUBJECT TO FURTHER
                          CONFIDENTIALITY REVIEW
   13

   14                                - - -
   15               Videotaped deposition of Gilberto Quintero,
   16     held at the offices of BakerHostetler, 200 Civic
   17     Center Drive, Suite 1200, Columbus, Ohio, commencing
   18     at 7:04 a.m., on the above date, before Sara S. Clark,
   19     Registered Merit Reporter and Notary Public.
   20

   21                                - - -
   22

   23                   GOLKOW LITIGATION SERVICES
                   877.370.3377 ph | 917.591.5672 fax
   24                         deps@golkow.com

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                                               Page 2                                                      Page 4
    1           A P P E A R A N C E S:                    1        APPEARANCES
    2   On behalf of the Plaintiffs:                      2 On behalf of CVS Indiana, LLC and CVS RX Services,
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    4          amy@mchughfuller.com                               ZUCKERMAN SPAEDER LLP
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                                               Page 3                                              Page 5
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   11
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   22                                                    23
   23
   24                                                    24


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    3   WITNESS                         PAGE
    4   GILBERTO QUINTERO                                                   Memorandum of
    5   Examination By Mr. Kroeger:              12           3             Agreement, P1.565
    6   Examination By Mr. Gray:              249                           through P1.565.8
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    9   Cardinal-Quintero 1 2010-2012 Org Chart,    30          Cardinal-Quintero 17 Consent Order, P1.4222   322
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    1 EXHIBIT           DESCRIPTION            PAGE           1               ---
    2 Cardinal-Quintero 7 10/22/10 e-mail from  153
                  Rausch, Bates                               2         PROCEEDINGS
    3             CAH_MDL2804_01103874                        3               ---
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      Cardinal-Quintero 8 3/22/12 e-mail from    162
                                                              4          VIDEOGRAPHER: Good morning. We
    5             Rausch, Bates                               5      are now on the record. My name is
                  CAH_MDL2804_01087475
    6             through 490                                 6      Darnell Brown, and I'm the videographer
    7 Cardinal-Quintero 9 1/6/11 letter to    178
                  Farley, Bates
                                                              7      with Golkow Litigation Services.
    8             CAH_MDL_PRIORPROD_DEA12                     8      Today's date is December 6th, 2018, and
                  _00011853 through 854
    9                                                         9      the time is 7:04 a.m.
        Cardinal-Quintero 10 Warrant for Inspection, 195
   10               Bates                                    10          This video deposition is being
                    CAH_MDL_PRIORPROD_DEA12                  11      held in Columbus, Ohio, in the matter of
   11               _00003808 through 817
   12   Cardinal-Quintero 11 11/3/11 e-mail, Bates   201     12      National Prescription Opioid Litigation
                    CAH_MDL2804_00864847
   13               through 849                              13      for the United States District Court for
   14   Cardinal-Quintero 12 Attachment 48 to       252
                    Defendants' Opposition                   14      the Northern District of Ohio. The
   15               to Plaintiff's Motion                    15      deponent is Gilberto Quintero.
                    for Preliminary
   16               Injunction, P1.4050                      16          Counsel, please identify
                    through P1.4050.5
   17                                                        17      yourselves for the record.
        Cardinal-Quintero 13 21 CFR 1301.74, P1.4915     262 18
   18                                                                    MR. KROEGER: Rick Kroeger for
        Cardinal-Quintero 14 2/15/18 Letter from   269       19      Plaintiffs.
   19               Congress, P1.43 through
                    P1.43.11                                 20          MS. NIGHBERT: Holly Nighbert for
   20
      Cardinal-Quintero 15 Attachment 15 to        297       21      the Plaintiffs.
   21             Defendants' Opposition
                  to Plaintiff's Motion                      22          MS. QUEZON: Amy Quezon,
   22             for Preliminary                            23      Plaintiffs.
                  Injunction, P1.4019
   23             through P1.4019.6                          24          MR. GRAY: Mark Gray for the
   24

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    1    Plaintiffs.                                1              GILBERTO QUINTERO
    2        MR. WHITE: Matt White for the          2          being by me first duly sworn, as hereinafter
    3    Plaintiffs.                                3   certified, testifies and says as follows:
    4        MS. RANJAN: Brandy Ranjan from         4                EXAMINATION
    5    Jones Day on behalf of Walmart.            5   BY MR. KROEGER:
    6        MS. MONAGHAN: Meghan Monaghan          6         Q. Would you state your full name for
    7    from Covington & Burling on behalf of      7   the record, please.
    8    McKesson.                                  8         A. My name is Gilberto Quintero.
    9        MR. HIMMEL: Brian Himmel from          9         Q. Mr. Quintero, where are you
   10    Reed Smith for AmerisourceBergen          10   currently employed?
   11    Corporation.                              11         A. I'm currently employed at Cardinal
   12        MS. ANDERSON: Caitlin Anderson,       12   Health.
   13    in-house counsel at Cardinal Health.      13         Q. And you've been with Cardinal
   14        MS. PETERSEN: Miranda Petersen,       14   Health since December of 2009; is that right?
   15    Williams & Connolly, Cardinal Health.     15         A. December 1st, 2009, that's
   16        MS. WADHWANI: Neelum Wadhwani,        16   correct.
   17    Williams & Connolly, Cardinal Health.     17         Q. Prior to that, what did you do?
   18        MS. WICHT: Jennifer Wicht from        18         A. I used to work for the -- Wyeth
   19    Williams & Connolly, also for Cardinal    19   Pharmaceutical, and -- which was acquired by
   20    Health.                                   20   Pfizer.
   21        VIDEOGRAPHER: Counsel on the          21         Q. And at Wyeth, what was your job?
   22    phone?                                    22   What were your duties?
   23        MS. MUSKETT: Eileen Muskett from      23         A. I had different roles while at
   24    Fox Rothschild for Validus.               24   Wyeth. I was section leader for a period of
                                         Page 11                                                   Page 13
    1        MR. MARTIN: Zach Martin of Fox         1   time. I also was the manager of an R&D group.
    2    Rothschild on behalf of Prescription       2   I was associate director of quality control, I
    3    Supply.                                    3   was director of quality operations. I was
    4        MR. HUNTER: Tucker Hunter from         4   assistant vice president of quality operations,
    5    Kirkland & Ellis on behalf of Allergan     5   and I was vice president of technical services.
    6    Finance, LLC.                              6        Q. Okay. So essentially, what were
    7        MR. CLARK: Miles Clark from            7   your specific duties, if you can recall?
    8    Zuckerman Spaeder on behalf of CVS         8        A. Is manage a small group of
    9    Indiana, LLC and CVS RX Services, Inc.     9   scientists.
   10        MR. FULLER: Mike Fuller on behalf     10        Q. Who were doing research for Wyeth?
   11    of Plaintiffs.                            11        A. Research for Wyeth.
   12        MR. ADKINS: Bryan Adkins,             12        Q. And that goes back to your sort of
   13    Arnold & Porter, on behalf of the Endo    13   analytical chemistry background?
   14    and Par Defendants.                       14        A. Exactly.
   15        MS. ROSENTHAL: Amanda Rosenthal       15        Q. And then manager of R&D with
   16    from Collinson, Daehnke, Inlow & Greco,   16   Wyeth, what were your duties there?
   17    on behalf of C&R Pharmacy.                17        A. Is similar. Managing a group of
   18        VIDEOGRAPHER: Anyone else?            18   scientists that develop analytical methods, and
   19        The court reporter is Sara Clark,     19   also were involved in product development.
   20    who will now swear in the witness.        20        Q. And then did you say associate
   21                                              21   director of quality control?
   22                                              22        A. Yes.
   23                                              23        Q. And your duties there?
   24                                              24        A. I manage a laboratory that was

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    1   responsible for ensuring that the products that     1         Q. Processes and systems related to
    2   we made at the manufacturing facility were made     2   production of product?
    3   according to the specifications that we had for     3         A. Product -- products, yeah.
    4   the product and that we made the regulatory         4         Q. At any point while you were at
    5   requirements that the government had for us.        5   Wyeth, did you oversee distribution services
    6         Q. Okay. So just so I understand, so          6   that Wyeth had?
    7   that would be more of the -- you were quality       7         A. I managed manufacturing facility,
    8   control for the manufacturing, the creation of      8   we had a warehouse and we distributed products
    9   some sort of a pharmaceutical product?              9   to our distribution centers.
   10         A. Right. I'm making sure the                10         Q. But not the same kind of
   11   product was made right, according to the           11   distribution services that Cardinal provides?
   12   regulation and according to our specifications.    12         A. Not like we do here, no. It went
   13         Q. And then after the associate              13   from our manufacturing facility to a
   14   director?                                          14   distribution center.
   15         A. Yeah. I became the director of            15         Q. And your primary duties at Wyeth
   16   that particular manufacturing facility.            16   was to oversee how the product was made, whether
   17         Q. So same duties, just a step up?           17   it followed guidelines and manufacturing
   18         A. Higher, but also I have the               18   requirements?
   19   quality assurance group, the communication         19         A. Correct.
   20   group, the deviations group, the change control    20         Q. And so then in December of 2009,
   21   group.                                             21   Cardinal brought you in and they brought you
   22         Q. And then what was your next               22   straight into senior vice president of QRA,
   23   position at Wyeth?                                 23   which is quality regulatory -- remind me the A.
   24         A. System vice president of quality          24   It's not affairs, it is --
                                                Page 15                                                 Page 17
    1   operations. That was in Puerto Rico. I was          1        A. It's regulatory affairs.
    2   sent to Puerto Rico for two years to address        2        Q. Okay. And so your duties in that
    3   some regulatory compliance issues that our          3   position were what?
    4   company had at the manufacturing site in Puerto     4        A. Was supposed to make sure that the
    5   Rico.                                               5   departments that I managed comply with the
    6         Q. So were those issues related to            6   regulations and expectations from the
    7   the -- following proper guidelines, things like     7   government, and that we execute according to our
    8   that, with regard to the creation of products?      8   quality procedures.
    9         A. No. Making the product according           9        Q. And you were brought in to -- you
   10   to the government expectations.                    10   were brought in by Cardinal to make sure that
   11         Q. Okay. And so was that the final           11   QRA was improving, correct?
   12   position at Wyeth before you joined Cardinal on    12        A. Yes.
   13   December 1st?                                      13            MS. WICHT: Objection to the form
   14         A. No. I then came to the                    14        of the question.
   15   headquarters of the pharmaceutical business in     15            Go ahead. You can answer.
   16   Collegeville, Pennsylvania. I became the head      16        A. I was brought in to make sure that
   17   of technical services.                             17   we have a solid quality and regulatory program
   18         Q. And at technical services -- head         18   at Cardinal Health.
   19   of technical services, what were your duties?      19        Q. You were brought in, though, to
   20         A. My duties was ensuring -- I mean,         20   fix QRA, right?
   21   working with the manufacturing facility across     21            MS. WICHT: Object to the form of
   22   the world, making sure that the execution of the   22        the question.
   23   processes were optimized, that we improved the     23        A. I don't believe I -- you know, my
   24   quality of our work processes and systems.         24   understanding, I was brought in to make sure the

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    1   company had a robust quality and regulatory         1             Object to the form of the
    2   compliance program.                                 2        question.
    3        Q. And when you got there, did it              3             And now you can answer, if you
    4   have a robust quality and regulatory program?       4        remember what the question was.
    5        A. There were some things that I               5        A. Can you repeat the question,
    6   wanted to improve, like my philosophy over my       6   please?
    7   career is to take what is -- what we have today     7   BY MR. KROEGER:
    8   and try to make it better.                          8        Q. Sure. So you had at least one
    9        Q. And that's why Cardinal brought             9   person above you when you joined Cardinal,
   10   you in?                                            10   right?
   11             MS. WICHT: Object to the form of         11        A. I had reporting to Craig Morford.
   12        the question.                                 12        Q. Okay. And there was no one
   13        A. I mean --                                  13   between you and Craig Morford who was also
   14        Q. To your knowledge, that's why              14   responsible for the anti-diversion; is that
   15   Cardinal brought you in?                           15   right?
   16             MS. WICHT: Object to the form of         16        A. Correct.
   17        the question.                                 17        Q. And then you oversaw the
   18        A. To my knowledge, Cardinal brought          18   anti-diversion program in its total?
   19   me in to make sure that the company had a robust   19        A. There were -- when I got there,
   20   quality and regulatory compliance program.         20   there were two people between me and the vice
   21        Q. And the purpose of the quality             21   president of the anti-diversion program.
   22   regulatory compliance at Cardinal is to            22        Q. Who were those two people?
   23   prevent -- to prevent diversion of their           23        A. Mark Hartman was reporting
   24   products; is that one of the primary goals?        24   directly in to me, and then Michael reported in
                                                Page 19                                                 Page 21
    1            MS. WICHT: Object to the form of           1   to Mark Harman.
    2        the question.                                  2        Q. By "Michael," you mean Michael
    3        A. They are -- I mean, I was                   3   Moné?
    4   responsible for different compliance programs.      4        A. Michael Moné, yes.
    5   Repack -- our -- I was responsible for our          5        Q. But as you said, Hartman reported
    6   repackaging operations, for our pharmacy            6   to you, correct?
    7   services operations. I was responsible for the      7        A. Correct.
    8   over-the-counter sourcing program.                  8        Q. And you then reported to
    9            And one of the programs that I was         9   Mr. Morford?
   10   responsible for, too, it was the anti-diversion    10        A. And I reported in to Craig
   11   program.                                           11   Morford, yes.
   12        Q. And aside from anyone who was              12        Q. And so I'm just trying to
   13   above you at Cardinal, you were solely             13   understand the chain of command there. There's
   14   responsible for overseeing the anti-diversion      14   not an equal to you; there's Mr. Hartman, who's
   15   and those who were working in that department,     15   reporting to you, Mr. Moné, who is reporting to
   16   correct?                                           16   him; is that right?
   17        A. When I came --                             17        A. That was the chain of command,
   18            MS. WICHT: Object.                        18   yes.
   19            If you could just pause for one           19        Q. Okay. And so then that puts you
   20        moment before you answer, just in case I      20   on top of the anti-diversion for Cardinal at the
   21        need to lodge an objection.                   21   time you entered, correct?
   22            THE WITNESS: Okay, sorry.                 22            MS. WICHT: Object to the form of
   23            MS. WICHT: No, that's fine. No            23        the question.
   24        problem.                                      24        A. That put me in charge of that

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    1   program, as well as other programs at Cardinal      1   boss, and other people in the company, too.
    2   Health.                                             2         Q. Okay. And then that's true, also,
    3         Q. No, I understand that Cardinal             3   for compliance with FDA regulations?
    4   gave you many duties. But in particular, you        4             MS. WICHT: Object to the form of
    5   were responsible for the anti-diversion programs    5         the question.
    6   at Cardinal, correct?                               6         A. Similarly.
    7             MS. WICHT: Object to the form of          7         Q. And with regard to boards of
    8         the question.                                 8   pharmacy for various states --
    9         A. Myself and other folks in my               9             MS. WICHT: Same objection.
   10   management team.                                   10             Sorry.
   11         Q. The other folks reported to you,          11   BY MR. KROEGER:
   12   though, correct?                                   12         Q. If the question isn't clear,
   13         A. Reported to me, and correct, I            13   because I know it was a half question. Let me
   14   reported to Craig Morford.                         14   just say it another way.
   15         Q. Okay. In that role, you had to            15             So your duties to supervise those
   16   oversee compliance with the DEA; is that right?    16   who were dealing with compliance, your duty to
   17             MS. WICHT: Object to the form of         17   ensure that the company was in compliance, was
   18         the question.                                18   also with regard to regulations put forth by
   19         A. I was supervising the group that          19   state boards of pharmacy, correct?
   20   was responsible for ensuring compliance with DEA   20             MS. WICHT: Object to the form of
   21   regulations.                                       21         the question.
   22         Q. And that group that you were              22             You can answer.
   23   supervising, you were responsible for ensuring     23         A. My role is to ensure that we have
   24   that their decisions were within guidelines the    24   robust system and management control to ensure
                                                 Page 23                                                Page 25
    1   DEA had put forward; is that right?                 1   that we comply with the regulations from Board
    2            MS. WICHT: Object to the form of           2   of Pharmacy, as well as federal agencies.
    3        the question.                                  3         Q. So a robust system to comply -- do
    4        A. We were responsible -- I was                4   you want to say it one more time for me?
    5   responsible for making sure that we have robust     5             MS. WICHT: Say his answer again?
    6   processes and systems to ensure that we comply      6             MR. KROEGER: If you don't mind.
    7   with the regulations set in -- by DEA.              7         A. Repeat the question.
    8        Q. Okay. But my question -- and I              8         Q. Well, it seems that you have --
    9   understand what your answer was, but the            9   your job was to create a robust system to comply
   10   question I was asking was: You were responsible    10   with -- and then you have -- you said something
   11   for ensuring that those below you were complying   11   else.
   12   and making decisions that were in compliance       12         A. My role is to ensure that we have
   13   with DEA regulations?                              13   processes, systems in place to ensure that we
   14        A. My role was to supervise the               14   adhere to federal and Board of Pharmacy
   15   group.                                             15   regulations.
   16        Q. Right.                                     16         Q. Okay. In addition to compliance
   17            So the buck stopped with you in           17   with DEA, FDA, Boards of Pharmacy regulations,
   18   terms of that, aside from it going up to           18   did you also have a voice in trade
   19   Mr. Morford should he disagree with decisions      19   organizations?
   20   you made?                                          20             MS. WICHT: Object to the form of
   21            MS. WICHT: Object to the form of          21         the question.
   22        the question.                                 22         A. I was not an active member of
   23        A. The responsibility is mine, as             23   trade organizations. I participated in several
   24   well as my direct reports, and as well as my       24   meetings, but myself, I was not on the board or

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    1   any -- any leadership position with trade          1   the --
    2   groups.                                            2         A. Medical segment.
    3         Q. But in your role as senior vice           3         Q. Okay. So that's like medical
    4   president of QRA and Cardinal, did you have a      4   devices and the like?
    5   voice with, for instance, the HDMA or HDA?         5         A. Yes, correct.
    6             MS. WICHT: Object to the form of         6         Q. Okay. So how long were you senior
    7         the question.                                7   vice president for QRA of pharmaceuticals?
    8         A. We participated in meetings where         8         A. From -- still have responsibility
    9   we provided our opinion and position as a          9   over some portions of the pharmaceutical
   10   company.                                          10   segment, so I started in December 2009, I
   11         Q. Okay. And so within Cardinal's           11   believe, until September 2015, I believe. But I
   12   company position that they would present to HDA   12   still have some responsibilities in the
   13   or HDMA, you had a voice in that process; is      13   pharmaceutical segment.
   14   that right?                                       14         Q. Because that falls under the
   15             MS. WICHT: Object to the form of        15   umbrella of the chief of QRA? Is that what --
   16         the question.                               16   I'm sorry. Your title -- current title is
   17         A. In some meetings I did.                  17   chief --
   18         Q. Okay. During your time at                18         A. Quality and regulatory affairs
   19   Cardinal, and in your role -- you're still at     19   officer.
   20   Cardinal, correct?                                20         Q. Okay. And so you still have the
   21         A. I'm still at Cardinal, yes,              21   pharmaceutical under you because you have all of
   22   correct.                                          22   QRA for Cardinal?
   23         Q. And your position, you're still          23         A. There are portions of the
   24   with QRA; is that right?                          24   pharmaceutical segment quality unit that do not
                                                Page 27                                                Page 29
    1         A. Yes.                                      1   report in to me.
    2         Q. But your position has changed a           2         Q. Okay. And that's as of 2015?
    3   bit, I think in title, and you've moved up,        3         A. As of 2015 and there have been
    4   correct?                                           4   some minor changes to it after that.
    5         A. I'm the chief quality and                 5         Q. Which portion of the
    6   regulatory affairs officer with the focus on       6   pharmaceutical QRA no longer reports to you?
    7   manufacturing operations.                          7         A. The anti-diversion group.
    8         Q. Okay. So more back to your                8         Q. Oh. And when did that start?
    9   background that you had at Wyeth?                  9         A. That was September 2015.
   10              MS. WICHT: Object to the form of       10         Q. So in September of 2015, the
   11         the question.                               11   anti-diversion portion of QRA was -- was it
   12         A. I have some similar                      12   moved, or were you moved? How did that happen
   13   responsibilities that I had at Wyeth but with a   13   that it no longer reported to you?
   14   wider scope now.                                  14         A. I received additional
   15         Q. Okay. How long were you senior           15   responsibility over the medical segment, and
   16   vice president of QRA?                            16   that particular department was transferred
   17         A. Specifically to a segment or             17   directly to my boss.
   18   specifically to the company as a whole?           18         Q. Which is Craig Morford?
   19         Q. I don't know that I know the             19         A. Craig Morford.
   20   difference. So you were brought in                20         Q. So from 2015, and is that
   21   December 1st, 2009 as senior vice president of    21   currently still the case?
   22   quality regulatory affairs, correct?              22         A. I think Todd Cameron now reports
   23         A. For the pharmaceutical segment.          23   in to Jessica Mayer.
   24         Q. Okay. And the other segment is           24         Q. Todd Cameron reports in to who?

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    1   I'm sorry.                                          1             And then from 2010 -- I'm sorry,
    2         A. Jessica Mayer.                             2   2012 to '15, who reported to you; do you recall?
    3                   ---                                 3   It's not on that.
    4      (Cardinal-Quintero Exhibit 1 marked.)            4         A. Okay. I have recollection. I
    5                   ---                                 5   have many people reporting to me, including
    6   BY MR. KROEGER:                                     6   Michael Moné, Steve Reardon.
    7         Q. Okay. So from 2009 to '15 -- I'm           7             What was the period of time again?
    8   going to hand you 4591.                             8         Q. '12 to '15.
    9              If you could just take a look at         9         A. Kathy Kwarcinski was reporting in
   10   that for me. So obviously 2009 is when you         10   to me at one point.
   11   started, December 1st, but there's only a month    11         Q. Are these direct reports?
   12   of 2009 and then we get to 2010.                   12         A. Yeah, direct reports.
   13              So from the beginning of 2010           13             I have, from what I remember,
   14   until 2012, does this accurately reflect the       14   between five and seven direct reports, but I
   15   chain of command for QRA?                          15   will have to review the organizational chart
   16         A. I never --                                16   from that period of time to be able to tell you
   17              MS. WICHT: Can I just pause?            17   exactly how many people reported in to me.
   18              I just want to ask a clarifying         18         Q. Michael Moné, though, was a direct
   19         question. Is this a document that was        19   report of yours from when you started until
   20         produced, or is this something -- like a     20   2015; is that fair?
   21         demonstrative that plaintiffs created?       21         A. Not from when I started.
   22              MR. KROEGER: To my knowledge,           22         Q. Not from when you started?
   23         it's something that we've created,           23         A. No.
   24         but...                                       24         Q. Because he reported to
                                                Page 31                                                 Page 33
    1             MS. WICHT: Okay. I just wanted            1   Mr. Hartman, who reported to you?
    2         to clarify which was the case. Okay.          2         A. Correct.
    3         A. I don't believe it is 100 percent          3         Q. And then Mr. Hartman left in 2010,
    4   correct. I never interacted with Gary Dolch,        4   sometime in 2010, he left Cardinal; is that
    5   so...                                               5   right?
    6         Q. Okay.                                      6         A. I believe that he left sometime in
    7         A. I know that he was in the company          7   2010 or early 2011. I don't recall the exact
    8   before me, but I don't know who he is.              8   date.
    9         Q. He may not have --                         9         Q. And once he left, is that when
   10         A. I've never met him.                       10   Mr. Moné became a direct report to you?
   11             Also, lacking from this                  11         A. Correct.
   12   organizational chart is Mark Hartman that was      12         Q. During your time at Cardinal, I
   13   with me for a portion of 2010.                     13   think you've made a declaration in the past that
   14         Q. And as we said earlier, Mark              14   millions have been devoted to anti-diversion; is
   15   Hartman reported to you, correct?                  15   that true?
   16         A. Yes.                                      16             MS. WICHT: Object to the form of
   17         Q. So generally speaking, aside from         17         the question.
   18   Gary Dolch, your not being familiar with him       18         A. We have invested millions of
   19   having worked with you or for you, and missing     19   dollars in creating a program that is effective
   20   Mark Hartman, this is accurate?                    20   against the prevention of diversion of drugs.
   21         A. No, because Michael Moné and Steve        21         Q. How many millions would you
   22   Reardon, during that period of time, reported in   22   estimate?
   23   to Mark Hartman.                                   23         A. I will say with certainty, more
   24         Q. I see. Okay.                              24   than $25 million, but I don't recall the exact

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    1   amount.                                                 1                  ---
    2        Q. And that's over the course of the               2       (Cardinal-Quintero Exhibit 2 marked.)
    3   time you've been with Cardinal?                         3                  ---
    4        A. That is over the time that I was                4   BY MR. KROEGER:
    5   at Cardinal. Probably some of this investment           5         Q. I'm going to hand you what's been
    6   was before I got there, too.                            6   marked as Exhibit 2. And since this is the
    7        Q. So that's not a yearly $25 million              7   first exhibit I'm handing you with multiple
    8   investment, that's a sum total from possibly            8   pages, I want to explain a little bit about how
    9   right before you got there until now?                   9   we're trying to keep track of page numbers, just
   10        A. And when --                                    10   to avoid confusion.
   11             MS. WICHT: Object to the form of             11             If you notice at the top right
   12        the question. Mischaracterizes prior              12   corner of the document that you have, there's a
   13        testimony.                                        13   P1 number.
   14        A. When I was talking about                       14         A. Uh-huh.
   15   investment, I thought you were asking me about         15         Q. P1.4091.
   16   capital investment. We continuously invest. We         16         A. Yes.
   17   have a program with people that we pay on an           17         Q. If you turn to the second page
   18   annual basis, and those investments are ongoing.       18   you'll notice there's now 4091.2.
   19        Q. And how much over those same                   19         A. Uh-huh.
   20   number of years would you imagine or do you know       20         Q. So throughout the day, any
   21   Cardinal has invested in sales?                        21   exhibits that we use, we're going to be
   22             MS. WICHT: Object to the form of             22   referring to the page numbers at the top because
   23        the question.                                     23   some of these documents may have disjointed page
   24        A. I wouldn't know that because I'm               24   numbers, other issues. This is just a way to
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    1   not part of the sales group.                            1   keep track.
    2         Q. So you have no idea how many                   2         A. Okay.
    3   millions Cardinal may have invested over those          3         Q. So if I ask you to go to Page 2,
    4   same years?                                             4   which I am, you'll go to that top right corner.
    5             MS. WICHT: Object to the form of              5             So if you'll go to Page 2 of
    6         the question.                                     6   Exhibit 2, and I want to draw your attention to
    7         A. I don't know the answer to that                7   Paragraph 4.
    8   question.                                               8         A. Uh-huh.
    9         Q. And can you explain the purpose of             9         Q. So your responsibilities, if you
   10   anti-diversion? I think we've kind of touched          10   could -- in this role, do you see that sentence
   11   on it, but specifically, what is the purpose of        11   in Paragraph 4?
   12   having an anti-diversion program at Cardinal?          12         A. Yes, I do.
   13         A. The purpose is to make sure that              13         Q. Could you read that, please.
   14   we comply with the element of the Controlled           14         A. "I have held the current position,
   15   Substances Act, that we have effective controls        15   senior vice president of quality and regulatory
   16   against diversion, that we identify and report         16   affairs, since I joined Cardinal Health in
   17   suspicious orders to the government.                   17   December of 2009. In this role, I am
   18         Q. Okay.                                         18   responsible for overseeing all the quality and
   19         A. Plus --                                       19   compliance programs within the company's
   20         Q. Go ahead. Sorry. I didn't want                20   pharmaceutical segment."
   21   to cut out off.                                        21         Q. Okay. So it's all quality and
   22         A. That's basically the foundation of            22   compliance programs within the pharmaceutical
   23   our responsibility of the anti-diversion               23   segment that you're overseeing, correct?
   24   process.                                               24         A. Correct.

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    1         Q. And if we can go down to Paragraph         1         A. I believe so.
    2   5, the second sentence in Paragraph 5, if you       2         Q. Okay. In order to get there, to
    3   could read that.                                    3   come to that belief, you've had to supervise and
    4         A. "We have invested millions of              4   oversee the anti-diversion program.
    5   dollars in people and technology to support our     5            How many employees did you have in
    6   anti-diversion programs."                           6   the anti-diversion program over the -- when you
    7         Q. Continue, please.                          7   started and until you left?
    8         A. "To the best of my knowledge, the          8         A. I do not recall the exact count,
    9   company has not distributed controlled              9   but I can tell you some of the numbers. In
   10   substances to any customer that it believed        10   people that were reporting directly into Michael
   11   would divert those drugs into other than           11   Moné's group, we had between 16 and 22,
   12   legitimate medical channels."                      12   somewhere in that range. And people that
   13         Q. So since 2009 -- and I know this          13   reported in to Steve Reardon, we had anywhere
   14   statement that you're looking at actually was      14   from 20 to 30 employees. Those numbers may have
   15   from April of 2012. So it's not necessarily        15   changed over time as we were, you know, either
   16   current, but you still stand by that statement?    16   adding resources for investigations.
   17             MS. WICHT: Object to the form of         17            We also brought in companies from
   18         the question.                                18   the outside to help us with several of the
   19         A. I stand by the statement that we          19   elements of the anti-diversion program.
   20   have a program in place that provides effective    20         Q. So 16 to 22 people from Michael
   21   controls against diversion.                        21   Moné?
   22         Q. So since 2012, you're backing off         22         A. In that range.
   23   of your statement that you don't believe           23         Q. And what specifically was he
   24   Cardinal has distributed controlled substances     24   tasked with within anti-diversion?

                                                Page 39                                                      Page 41
    1   to any customer that it believed would divert       1         A. He was tasked with -- this program
    2   those drugs into other than legitimate medical      2   has several elements. He has a -- part of his
    3   channels?                                           3   program was our Know Your Customer program.
    4         A. We have never --                           4   Part of his program was the monitoring of
    5             MS. WICHT: Object to the form of          5   orders. Part of his program was making
    6         the question. Mischaracterize.                6   decisions of which customers to continue selling
    7         A. To the best of my knowledge, we            7   drug product and which customers we should
    8   have never distributed drug products other than     8   terminate because they had the potential to pose
    9   for legitimate medical purposes.                    9   a risk for diversion of drug product.
   10         Q. But it sounds like you've backed          10         Q. Okay. And so with regard to
   11   off from this statement a bit since 2012.          11   Michael Moné's responsibility for the Know Your
   12             MS. WICHT: Object to the form of         12   Customer portion of anti-diversion, he reported
   13         the question.                                13   to you with regard to that, correct?
   14         A. I don't believe so.                       14         A. All his responsibility, you know,
   15         Q. Okay. So --                               15   he reported in to me. I was his supervisor.
   16         A. It's consistent with what I'm             16         Q. Okay. And I just want to make
   17   saying.                                            17   sure, though. I want to be clear that there
   18         Q. All right. Just let me -- to be           18   wasn't a part of this, there's not -- the Know
   19   clear, then, as you sit here today, 2018, you      19   Your Customer or the order monitoring or the
   20   believe that, to the best of your knowledge, the   20   customer decisions in terms of termination or
   21   company, Cardinal Health, has not distributed      21   continuing, none of those were reported to
   22   controlled substances to any customer that it      22   someone besides you, correct?
   23   believed would divert those drugs into other       23         A. He reported directly in to me.
   24   than legitimate medical channels?                  24         Q. On all of those issues?

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    1         A. On the activities of his                   1         the question. Sorry.
    2   department.                                         2         A. It was to supervise him and ensure
    3         Q. And so you had oversight and had           3   that he was executing according to my
    4   to determine whether or not he was doing those      4   expectations and that we were executing
    5   things properly?                                    5   according to the regulations.
    6             MS. WICHT: Object to the form of          6         Q. Okay. So it was -- the
    7         the question.                                 7   regulations was part of your consideration with
    8         A. My job was to, you know, supervise         8   determining whether or not he was executing
    9   him and assess his performance.                     9   things properly?
   10         Q. And to make sure that he was doing        10         A. It was one of the factors, yes.
   11   his job well?                                      11         Q. You certainly wouldn't have wanted
   12             MS. WICHT: Object to the form of         12   him to make decisions outside of the
   13         the question.                                13   regulations?
   14         A. Correct.                                  14             MS. WICHT: Object to the form of
   15         Q. And to make sure that he was doing        15         the question.
   16   his job correctly?                                 16         A. No.
   17             MS. WICHT: Object to the form of         17         Q. And then with Mr. Reardon, what
   18         the question.                                18   were his responsibilities?
   19         A. To supervise activities that he           19         A. His responsibility was to manage
   20   was performing, yes.                               20   and supervise the compliance personnel that we
   21         Q. And you mentioned briefly earlier         21   had at our distribution centers.
   22   about complying with DEA regulations and the       22         Q. And the compliance personnel, was
   23   like, correct?                                     23   that -- were those the individuals -- there was
   24             MS. WICHT: Object to the form of         24   maybe one at each distribution center?
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    1         the question.                                 1         A. In general, we have one person at
    2         Q. You mentioned it? That's the               2   each distribution center.
    3   question right now.                                 3         Q. And Mr. Reardon supervised those
    4         A. One of his roles was to make sure          4   27 individuals?
    5   that we, you know, met the regulations.             5         A. Well, he supervised people that
    6         Q. And so one of your roles as his            6   supervised those individuals. He also managed
    7   supervisor was to ensure that his decisions were    7   the -- some of the training activities that we
    8   in line with those regulations?                     8   had, and he also managed our document management
    9             MS. WICHT: Object to the form of          9   system.
   10         the question.                                10         Q. "Document management system,"
   11         A. My role as his supervisor was to          11   meaning what?
   12   supervise his activities and determine whether     12         A. The system that we use to publish
   13   or not he was doing an adequate job or he needed   13   standard operating procedures.
   14   some guidance from me.                             14         Q. I'm sorry. I didn't understand.
   15         Q. Okay. And the question, though,           15   To --
   16   is a slightly different one than what you're       16         A. To manage and distribute standard
   17   answering. So as you're supervising him and his    17   operating procedures.
   18   duties and deciding whether or not he was doing    18         Q. Okay. Any other duties with
   19   well or needed additional guidance from you,       19   regard to anti-diversion for Mr. Reardon at that
   20   part of that supervision was to ensure that his    20   time?
   21   actions and decisions were in line with DEA        21         A. He managed -- he was responsible
   22   regulations?                                       22   for ensuring that we had the proper controls in
   23         A. To supervise --                           23   place at the distribution center to make sure
   24             MS. WICHT: Object to the form of         24   that we don't have internal diversion of product

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    1   and that our carriers were complying with our      1   what was the chain of communication, but it was
    2   expectation in terms of delivering products to     2   somebody in the anti-diversion group.
    3   our customers.                                     3        Q. And whichever somebody that may
    4         Q. So then is it fair to say that            4   have been in the anti-diversion group, that was
    5   between Mr. Moné and Mr. Reardon, they both had    5   someone whose decisions you were also
    6   certain oversight with regard to distribution      6   responsible for, correct?
    7   centers?                                           7            MS. WICHT: Object to the form of
    8             MS. WICHT: Object to the form of         8        the question.
    9         the question.                                9        A. I was responsible for supervising
   10         A. Mr. Moné was responsible for the         10   Michael Moné's team.
   11   anti-diversion program, mainly dealing with our   11        Q. And those anti-diversion personnel
   12   customers, and Mr. Reardon had responsibilities   12   you were talking about are on Michael Moné's
   13   for our internal controls that we had at the      13   team, correct?
   14   distribution center to ensure that we did not     14        A. That's correct.
   15   have internal diversion of product.               15        Q. So decisions that they made,
   16         Q. Okay. So Mr. Reardon -- the              16   Michael Moné was responsible for ensuring that
   17   diversion that Mr. Reardon was most concerned     17   they were proper, correct?
   18   with, then, was internal diversion, so if an      18            MS. WICHT: Object to the form of
   19   employee might steal drugs or lose drugs or       19        the question.
   20   something to that effect? Is that an accurate     20        A. He was responsible for supervising
   21   description?                                      21   people in his group.
   22         A. He had those responsibilities, but       22        Q. And within his responsibilities
   23   he also had responsibility for making sure if     23   for supervising people within his group, that
   24   employees at the distribution center saw an       24   included ensuring that they made proper, lawful
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    1   order that, for them, was of unusual size, that    1   decisions?
    2   they could raise the hand and notify Michael       2            MS. WICHT: Object to the form of
    3   Moné's group for an investigation.                 3        the question.
    4         Q. Okay. So a picker or a checker,           4        A. That they made decisions with --
    5   are those the people you're talking about?         5   in the spirit of complying with our own internal
    6         A. Picker or checker.                        6   expectations and with the regulatory
    7         Q. So if a picker or checker sees an         7   requirements.
    8   order that seems too large to them, they then      8        Q. Okay. You added a bit of a caveat
    9   report to Mr. Reardon, we have an order that's     9   there. So you said "in the spirit of
   10   suspicious because it's just too big,             10   complying." Was that in the spirit of complying
   11   Mr. Reardon then tells Mr. Moné?                  11   with Cardinal's internal, or in the spirit of
   12             MS. WICHT: Object to the form of        12   complying with Cardinal's internal policies and
   13         the question.                               13   in the spirit of complying with the law?
   14         A. Essentially, it's a little bit           14            MS. WICHT: Object to the form of
   15   different than that. It's if a picker or a        15        the question.
   16   checker determined the order was unusual, it      16        A. With the intent of complying with
   17   goes through their supervisor. Supervisor         17   both.
   18   communicates to the compliance officer, which     18        Q. Completely?
   19   then has some communications with personnel in    19            MS. WICHT: Object.
   20   the anti-diversion group.                         20        A. Our intent to comply with
   21         Q. Which personnel in the                   21   regulations.
   22   anti-diversion group?                             22        Q. Completely?
   23         A. Could be a pharmacist in the             23            MS. WICHT: Object to the form of
   24   anti-diversion group. I don't recall exactly      24        the question.

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    1         A. It's our intent always to comply           1   other members of the leadership team.
    2   with regulations.                                   2         Q. And is that the name of that
    3         Q. Okay. The only reason I'm asking           3   group, was the leadership team?
    4   this in this way is because you said "in the        4         A. That's the way that I call it. I
    5   spirit of complying" to start this answer. And      5   don't think that there was a specific name.
    6   so I want to ensure that I know whether or not      6         Q. And you said "we provided that
    7   the job was to comply with regulations and laws     7   information." Who's the "we"?
    8   and policies partially because it's in the          8         A. Michael Moné, myself, Bob
    9   spirit of it or completely because it simply has    9   Giacalone, which was -- he is our senior
   10   to be followed?                                    10   regulatory counsel, and we provided updates on
   11             MS. WICHT: Object to the form of         11   our program to Craig Morford and to Mike
   12         the question.                                12   Kaufmann at that time.
   13         A. Maybe because English is my second        13         Q. Within -- I'm trying to figure out
   14   language, but it's with the intent of complying    14   who's where. So were there -- it sounds like
   15   with the regulations.                              15   Mr. Reardon's compliance personnel that reported
   16         Q. Completely? With your -- it's the         16   to him, they were generally located at the
   17   intent to comply with the regulations              17   distribution centers; is that accurate?
   18   completely?                                        18         A. We have many of them that are --
   19             MS. WICHT: Object to the form of         19   were in distribution centers. Others were
   20         the question.                                20   regional directors that managed those folks.
   21         A. Our intent is always to comply            21   They worked from home or from one of the DCs.
   22   with the regulations.                              22   And we had a few individuals that worked in our
   23         Q. And why is it that you won't say          23   Dublin headquarters.
   24   your intent is to comply with the regulations      24         Q. Did they work in the Dublin
                                                Page 51                                                         Page 53
    1   completely?                                         1   headquarters because they had a particular need
    2            MS. WICHT: Object to the form of           2   to be in Dublin for executive reasons, or it
    3        the question.                                  3   just happened that that's where they worked?
    4        A. Because our intent, that's                  4         A. It could be because they were
    5   implied. If our intent is to comply with the        5   managing the document management system, which
    6   regulations, it means the same thing that you're    6   for standard operating procedures, and we did
    7   saying.                                             7   that out of our headquarters. It could be
    8        Q. And that's why I was asking,                8   because they were managing a region that were
    9   because I wanted to make sure that it does. So      9   near the headquarters.
   10   I was choosing that word carefully, I wanted to    10         Q. Okay. And then with Mr. Moné's
   11   make sure.                                         11   group, you said 16 to 22 people who would
   12            So the intent is to comply with           12   oversee Know Your Customer policies, also
   13   regulations completely?                            13   oversee order monitoring, and decide on
   14            MS. WICHT: Object to the form of          14   customers to terminate or keep, were those
   15        the question.                                 15   people centered in Dublin?
   16        A. Our intent is to always comply             16         A. We have a large portion of those
   17   with federal regulatory requirements.              17   people in Dublin, but we also have some people
   18        Q. Okay. So you just -- okay.                 18   sitting at distribution centers. I'm trying to
   19            Was there also a group of                 19   recall.
   20   executives who met and regularly looked at         20             To the best of my knowledge, most
   21   anti-diversion?                                    21   of them were either in Dublin, distribution
   22            MS. WICHT: Object to the form of          22   centers, or there were field investigators that
   23        the question.                                 23   worked out of their home.
   24        A. We provided updates to my boss and         24         Q. Sure.

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    1             Because the field investigators           1   decisions and ensuring that they were in
    2   had to actually go to various places, so there      2   compliance with Cardinal rules, as well as laws,
    3   was no need for them to be in Dublin?               3   correct?
    4         A. Correct.                                   4             MS. WICHT: Object to the form of
    5         Q. But the other part of Mr. Moné's           5         the question.
    6   team that you oversaw was centered in Dublin,       6         A. As Michael Moné's supervisor, my
    7   sort of an executive group who decided on -- who    7   responsibility is that Michael had the proper
    8   monitored and made decisions about orders,          8   program to execute our anti-diversion program,
    9   monitored and made decisions about customers?       9   to ensure that we meet the regulations, and also
   10             MS. WICHT: Object to the form of         10   meet our own internal procedures.
   11         the question.                                11         Q. With regard to those internal
   12         A. The day-to-day decisions on               12   procedures, were there -- you had a number of
   13   threshold events and shipping orders was not       13   different standard operating procedures within
   14   done by the executive team. It was done by         14   Cardinal, correct?
   15   either analysts and pharmacists that their job     15         A. We have hundreds of standard
   16   was to evaluate threshold events and make          16   operating procedures within Cardinal.
   17   decisions on suspicious orders.                    17         Q. And some of those -- let's focus
   18         Q. And those evaluations and                 18   on the anti-diversion standard operating
   19   decisions on suspicious orders ultimately were     19   procedures. There would be one for how
   20   the responsibility of Mr. Moné, as well,           20   distribution centers are supposed to monitor
   21   correct, in that he was overseeing those people?   21   orders, right?
   22         A. He oversaw the people that made           22         A. I'm assuming so. I don't recall
   23   those decisions.                                   23   all of the procedures that we had.
   24         Q. Because of that, he took -- had to        24         Q. To your knowledge, though, the
                                                Page 55                                                 Page 57
    1   have responsibility for how those decisions were    1   standard operating procedures, the very reason
    2   made?                                               2   that they're called that is because they apply
    3            MS. WICHT: Object to the form of           3   company-wide, correct?
    4        the question.                                  4         A. They applied to more than one
    5        A. He had responsibility for                   5   facility.
    6   supervising, managing, and developing procedures    6         Q. So the distribution centers would
    7   to execute those decisions.                         7   be acting under the same standard operating
    8        Q. And ensuring that those decisions           8   procedures?
    9   were made in compliance with Cardinal rules and     9         A. In most cases.
   10   laws?                                              10         Q. What cases would they not?
   11            MS. WICHT: Object to the form of          11         A. Well, if they do something
   12        the question.                                 12   different. If they don't -- I mean, they have a
   13        A. Can you repeat the question again?         13   different -- for example, if a distribution
   14        Q. In supervising those and                   14   center doesn't have a vault and doesn't
   15   overseeing those decisions, he had to also         15   distribute C2 substances, so that would not be
   16   ensure that those decisions were made in           16   applicable to those.
   17   compliance with Cardinal rules, as well as laws?   17         Q. But then all distribution centers
   18        A. In supervising that group, he was          18   that have a vault and do distribute C2
   19   responsible for having processes in place to       19   substances -- and for the record, controlled
   20   make sure that his people were following our own   20   substance Schedule II -- those would all have
   21   internal procedures, as well as meeting            21   the same operating procedure with regard to how
   22   regulatory requirements.                           22   they handle those drugs?
   23        Q. And as Mr. Moné's supervisor, you          23         A. In the same business units, yes.
   24   were also then, in turn, responsible for those     24         Q. Same business units?

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    1         A. Yeah.                                      1         A. Okay.
    2         Q. Meaning what?                              2         Q. Okay. So the question, then, is:
    3         A. Well, we had other business units          3   Within -- and we can just say The Continental
    4   that we acquired over time. We had bought a         4   United States, I think, to really capture it as
    5   distribution business in China, so they may have    5   well as I need to -- within The Continental
    6   different operating procedures according to         6   United States, the distribution centers all
    7   their regulations in China.                         7   acted under the same standard operating
    8         Q. Sure.                                      8   procedures as one another?
    9             Kind of like the Puerto Rico              9         A. The pharmaceutical distribution
   10   distribution center and some of the issues there   10   centers operate under similar procedure -- under
   11   were different than the United States --           11   the same procedures.
   12         A. Yep. Puerto Rico had some                 12         Q. So, for instance, the facility --
   13   different requirements based on local laws.        13   the distribution center in Auburn, Washington,
   14         Q. But within the United States,             14   has the same standard operating procedures as to
   15   within the -- there were 27 distribution centers   15   pharmaceuticals as the distribution center in
   16   in the United States?                              16   Wheeling, West Virginia?
   17         A. I don't recall the exact number.          17         A. To the best of my knowledge,
   18   I know that it's somewhere between 20 and 30,      18   that's the case.
   19   but it's possible it's 27. I don't recall.         19         Q. And you were supervising those
   20         Q. And to your knowledge, they -- if         20   distribution centers in your role as senior vice
   21   they had a vault, if they were distributing        21   president of QRA?
   22   controlled substances -- Schedule II controlled    22             MS. WICHT: Object to the form of
   23   substances, they would be following the same       23         the question.
   24   standard operating procedures as to those?         24         A. They were -- those distribution
                                                Page 59                                                 Page 61
    1         A. Only if it was noted in a                  1   centers, the compliance officers reported in
    2   procedure that somebody else had a different        2   to -- through the chain of command through -- in
    3   procedure.                                          3   to somebody that reported in to me.
    4         Q. Unless a distribution center said          4         Q. So it ultimately came to you,
    5   they had their own procedure, they followed the     5   those decisions and compliance with those
    6   standard procedure?                                 6   procedures?
    7         A. No. There may be specific reasons          7             MS. WICHT: Object to the form of
    8   why -- like I use the example of China, the         8         the question.
    9   example of Puerto Rico.                             9         A. It is part of my role to ensure
   10         Q. Sure. But I want to stick with            10   that our company complies with our standard
   11   just the United States-based distribution          11   operating procedures and the regulations.
   12   centers. I understand that there may be other      12         Q. Okay. And so just like Auburn
   13   distribution centers across the world that have    13   distribution center and Wheeling distribution
   14   different rules for a variety of reasons. I'm      14   center have the same standard operating
   15   focused solely on, and my question is only         15   procedure with regard to pharmaceuticals,
   16   about, the distribution centers in the United      16   Wheeling distribution center and Lakeland have
   17   States.                                            17   the same standard operating procedures?
   18         A. Including Puerto Rico? Because            18         A. To the best of my knowledge, they
   19   Puerto Rico is part of the United States.          19   have the same standard operating procedures.
   20         Q. It is. It is. And I certainly             20         Q. And that's been true from the day
   21   don't intend to say that it's not. But because     21   you started December 1st, 2009 until today, to
   22   of local laws and local policies in Puerto Rico,   22   your knowledge?
   23   I want to exclude that from this particular        23         A. To the best of my knowledge,
   24   question. Okay?                                    24   that's the case.

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    1             MR. KROEGER: How long have we             1          Q. But you did say, though, that it
    2        been going?                                    2   went -- precedes your time starting there, so
    3             VIDEOGRAPHER: 51 minutes.                 3   it -- you can say that it's at least the time
    4             MR. KROEGER: I don't know if now          4   that you've been there that 25 million capital
    5        is a good time. I know you have a              5   investment has been spent?
    6        scheduled flight. That was the other           6              MS. WICHT: Object to the form of
    7        thing we weren't sure about this               7          the question.
    8        morning. We were trying to remember.           8          Q. That's your testimony so far?
    9        You need to be out of here by when to          9          A. From the time that I've been
   10        catch your flight?                            10   there, I believe -- I don't recall the exact
   11             MS. WICHT: I would say probably          11   amount, but I recall that we have invested
   12        4:30, if that's workable, but we're           12   significant amount of money in our
   13        happy to talk with you about it               13   anti-diversion program.
   14        throughout the day.                           14          Q. Earlier in your testimony, though,
   15             MR. KROEGER: Okay. All right.            15   was that it was around 25 million; that was the
   16        Why don't we go off the record and take       16   number that you said, correct?
   17        a break.                                      17              MS. WICHT: Object to the form of
   18             MS. WICHT: Sure. Thank you.              18          the question. Mischaracterizes.
   19             VIDEOGRAPHER: Time is now 7:56.          19          A. To the best of my knowledge,
   20        Going off the record.                         20   around $25 million have been invested in capital
   21             (Recess taken.)                          21   as part of our anti-diversion program. I cannot
   22             VIDEOGRAPHER: Time is now 8:14.          22   tell you the beginning or the end date of that.
   23        Back on the record.                           23          Q. Okay. And so can you explain to
   24                                                      24   the jury what that capital investment of
                                                Page 63                                                 Page 65
    1   BY MR. KROEGER:                                     1   $25 million was.
    2         Q. Mr. Quintero, I wanted to go back          2             MS. WICHT: Object to the form of
    3   to a couple things that you said. You mentioned     3         the question.
    4   the $25 million in capital investments over your    4         A. We have invested in an electronic
    5   time at Cardinal.                                   5   monitoring system. We invested in an
    6         A. I believe so.                              6   anti-diversion centralization system. We have
    7         Q. So that was 25 million in capital,         7   invested in analytical tools to evaluate
    8   and that was since -- December of 2009, maybe       8   customers. We have invested in software. We
    9   2010?                                               9   have invested in physical security at our
   10         A. I think that was --                       10   distribution centers.
   11             MS. WICHT: Object to the form of         11         Q. When you say "physical security,"
   12         the question.                                12   are you talking about the cages and vaults?
   13         A. I believe that some of those              13         A. Cages, vaults, cameras. Reports
   14   investments were made before I got into Cardinal   14   that we generate for the distribution personnel.
   15   Health, but I cannot tell you the exact time of    15         Q. When you talked about the
   16   that.                                              16   electronic monitoring system, what is that?
   17         Q. So, then, at least, like, 10,             17         A. The electronic monitoring system
   18   maybe 11 or 12 years, that that $25 million        18   that we use to monitor orders.
   19   capital investment has been spent?                 19         Q. So software?
   20             MS. WICHT: Object to the form of         20         A. It is software. It is -- they use
   21         the question. Mischaracterizes his           21   codes.
   22         prior testimony.                             22         Q. Algorithms?
   23         A. I cannot tell you the exact               23         A. Algorithms.
   24   amount. Sorry.                                     24         Q. And is that something you got

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    1   through Deloitte, for instance?                     1         Q. Any. I don't -- I -- I'm trying
    2            MS. WICHT: Object to the form of           2   to learn more about the inner workings of
    3        the question.                                  3   Cardinal so I understand how things function and
    4        A. I don't recall who was the person           4   don't. So to that extent I don't know what kind
    5   who developed the electronic monitoring system.     5   of reports.
    6        Q. Was Deloitte a company that you             6              Let me say it this way: You
    7   believed that $25 million -- part of that $25       7   said -- in a declaration you mentioned at some
    8   million capital investment would have gone to?      8   point that you had a dotted line connection
    9            MS. WICHT: Object to the form of           9   to -- or dotted line reporting, dotted line
   10        the question.                                 10   relationship to Mike Kaufmann.
   11        A. We have used Deloitte in parts of          11         A. I don't believe I said that today.
   12   our anti-diversion program.                        12         Q. Not today, no, no, no. I think it
   13        Q. Which parts?                               13   was a dec -- the declaration that you have in
   14        A. The parts that I can talk to is            14   front of you. I can find it. But do you think
   15   the part where I used them. I used them for        15   that you've never had a dotted line
   16   project management on some improvements that we    16   relationship --
   17   wanted to our anti-diversion program.              17         A. I --
   18        Q. And how much do you think that             18              MS. WICHT: Go ahead. Sorry. I
   19   Cardinal spent on Deloitte's services?             19         was looking at the document. Maybe you
   20        A. I don't recall.                            20         can repeat the question so we know what
   21        Q. Do you have a ballpark that you --         21         it is.
   22            MS. WICHT: Object to the form of          22         Q. Currently, are you saying that
   23        the question.                                 23   you've never previously had a dotted line
   24        A. I don't recall.                            24   relationship to Mike Kaufmann?
                                                Page 67                                                 Page 69
    1        Q. Have you ever had to send those             1         A. I don't believe I said that.
    2   numbers to anyone else in Cardinal?                 2         Q. Okay. So you have had a dotted
    3            MS. WICHT: Object to the form of           3   line relationship to Mike Kaufmann?
    4        the question.                                  4         A. I had a dotted line to Mike
    5        A. Trying to recollect, but I don't            5   Kaufmann.
    6   recall.                                             6         Q. And what does that mean?
    7        Q. Ever send the numbers or                    7         A. That I was supposed to give him
    8   expenditures for Deloitte to Mike Kaufmann, for     8   updates on our quality programs and provide him
    9   instance?                                           9   advice on quality and regulatory compliance to
   10        A. It's possible, but I don't                 10   him.
   11   recollect.                                         11         Q. And was he the chief financial
   12        Q. You sent -- you did send                   12   officer at the time you had that dotted line
   13   expenditures to Mike Kaufmann, though, over your   13   connection?
   14   time there, didn't you?                            14         A. No.
   15            MS. WICHT: Object to the form of          15         Q. What was his position when you had
   16        the question.                                 16   that?
   17        A. My expenditures were approved by           17         A. He was the chief executive officer
   18   my boss, Craig Morford, not by Mike Kaufmann.      18   of the pharmaceutical segment. I have never
   19        Q. Did you ever have an opportunity           19   reported to anybody in the finance organization.
   20   to send reports of any sort to Mike Kaufmann?      20         Q. Aside from what you mentioned
   21            MS. WICHT: Object to the form of          21   already about Deloitte sometimes helping you
   22        the question.                                 22   with presentations and the like -- is that what
   23        A. What kind of reports are you               23   you said?
   24   talking here?                                      24         A. I didn't say "presentations." I

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    1   said "project management."                         1   that that pharmacy fills.
    2         Q. Project management.                       2         Q. So it could be oxycodone, but it
    3             What else did Deloitte do for            3   also could be albuterol?
    4   Cardinal?                                          4         A. It could be oxycodone. It could
    5             MS. WICHT: Object to the form of         5   be albuterol. It could be a beta-blocker. It
    6         the question.                                6   could be a Lipitor.
    7         A. During the time that I was there,         7         Q. And then with regard to the
    8   their primary role was project management. They    8   national average, rather than me assuming I
    9   also provided, you know, labor that could help     9   know, what did Deloitte help you with in terms
   10   us, either do calculations or evaluate certain    10   of the national average, or how was that
   11   things.                                           11   employed?
   12         Q. Do you recall which projects             12             MS. WICHT: Object to the form of
   13   Deloitte worked on?                               13         the question.
   14         A. Not all. I recall they worked for        14         A. Deloitte didn't provide the
   15   me in some of the improvements that I wanted to   15   national average. I got that information from
   16   make on the anti-diversion program.               16   other sources.
   17         Q. Okay. So within the                      17         Q. What sources?
   18   anti-diversion program, what were the projects    18         A. IMS.
   19   they worked on for you?                           19         Q. Okay. Any other sources?
   20         A. We were working on developing a          20         A. We got additional information on
   21   threshold methodology using additional            21   national averages from Symphony.
   22   information that we had collected.                22         Q. Symphony, is that a consulting
   23         Q. Can you explain that to me? I            23   firm? I don't know what Symphony is.
   24   don't -- what is the threshold methodology you    24         A. Symphony is the data -- as I know
                                               Page 71                                                 Page 73
    1   and Deloitte were able to come up with? What       1   them, it's a data collection firm. I do not
    2   was it?                                            2   know all the businesses that they have, but they
    3         A. Well, I don't think Deloitte came         3   provide data to customers.
    4   up with. I mean, we provided the information --    4        Q. What data do they provide to
    5   some of the information to Deloitte and they       5   Cardinal?
    6   helped us develop some of the principles of our    6        A. They provided data on script
    7   threshold methodology.                             7   counts, on average dispensing of controlled
    8         Q. Which principles?                         8   substances for different drug families.
    9         A. Is that we are using script counts        9        Q. Anything else?
   10   from the pharmacy and national averages and       10        A. Not that I recall at this point in
   11   standard deviations to establish thresholds.      11   time.
   12         Q. What's a script count? I think I         12        Q. So you talked about the script
   13   know what a national average is, but what's a     13   counts, the national average that Deloitte
   14   script count?                                     14   helped you bring into a new threshold
   15         A. Is when you go to a pharmacy with        15   methodology; is that accurate?
   16   a script, that's one script. If a hundred         16        A. The primary role of Deloitte was,
   17   people go to a pharmacy to fill the script,       17   you know, project management and they provided
   18   that's a hundred scripts.                         18   additional resources as we required them. But
   19         Q. And script counts for all                19   they work under our direction.
   20   prescriptions that a pharmacy fills or for a      20        Q. What other projects do they work
   21   particular section of scripts, such as for        21   on?
   22   controlled substances?                            22        A. Projects on different aspects of
   23         A. The script count is the total            23   our anti-diversion program, but if you ask me
   24   script count, which is all of the prescription    24   the details at this point in time, I don't

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    1   recall all of the products that they worked. I      1         A. I believe it is a different
    2   can tell you --                                     2   person.
    3         Q. Can you tell me the ones you do?           3         Q. Do you recall who?
    4         A. The one that are most significant          4         A. I don't recall his name. I mean,
    5   to me was our project of establishing a new         5   most of the dealings with that college professor
    6   threshold methodology.                              6   was done by our anti-diversion team.
    7         Q. And when was that new threshold            7             We also hired a company called
    8   methodology?                                        8   Healthcare Advising.
    9         A. It was a process that probably             9         Q. Who are they?
   10   started in -- sometime in 2012, but I don't        10         A. They're an outfit out of San
   11   remember the exact date.                           11   Antonio, Texas.
   12         Q. And when did that project get             12         Q. What do they do?
   13   completed?                                         13         A. They do -- they advise the company
   14         A. We're continuously looking at how         14   on healthcare, and they had some capabilities on
   15   to improve our system, so I cannot tell you        15   statistics.
   16   after my departure in 2015 if other changes were   16         Q. When did you first work with
   17   made.                                              17   Healthcare Advising?
   18         Q. So at the time you shifted anti --        18         A. The exact period of time, I don't
   19   at the time that anti-diversion was no longer      19   recall. It had to be between '12 -- '07 and '12
   20   under you in 2015, was Deloitte still assisting    20   or '07 and '13, in that period of time.
   21   with the threshold methodologies?                  21         Q. And do you recall for how long you
   22         A. I don't believe so.                       22   worked with Healthcare Advising?
   23         Q. Any other projects you recall             23         A. I don't recall the exact
   24   Deloitte working on?                               24   engagement period that they worked for us.
                                                Page 75                                                 Page 77
    1       A.     Not that I recall.                       1        Q. Any other projects that Deloitte
    2       Q.     Who did your algorithms?                 2   worked on?
    3             MS. WICHT: Object to the form of          3        A. I believe you asked me that
    4         the question.                                 4   question already, and I don't recall any other
    5         A. Can you elaborate on that?                 5   projects.
    6         Q. You talked about algorithms                6        Q. Did you ever work with Dendrite?
    7   briefly. Did you come up with the algorithms        7        A. We used their services.
    8   yourself?                                           8        Q. What services of theirs did you
    9             MS. WICHT: Object to the form of          9   use?
   10         the question.                                10        A. To the best of my knowledge, we
   11         A. No, we did not come up with the           11   used them to do field inspections.
   12   algorithms ourselves. It was a combination --      12        Q. Can you explain that to me,
   13   it was an evolution. We used some internal         13   please.
   14   statisticians in our department. We also hired     14        A. Inspections or reviews of
   15   a mathematician.                                   15   pharmacies in the field. Customers.
   16         Q. Do you recall who that was?               16        Q. So Dendrite would send individuals
   17         A. Her first name was Jen Marie. She         17   out to do a site visit; is that what you mean?
   18   is no longer with the company. She moved out of    18        A. Yes.
   19   state.                                             19        Q. What kind of oversight did
   20             We also used -- we validated some        20   Cardinal have of Dendrite personnel?
   21   of our models through a college professor at       21             MS. WICHT: Object to the form of
   22   Ohio State.                                        22        the question.
   23         Q. Is that the same college professor        23        A. Those people were supervised by
   24   who worked on Generation Rx?                       24   one of their supervisors, but they provided
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    1   different work of site visits.                     1         the question.
    2         Q. Framework of -- I'm sorry. I              2         A. The word "delegation" is probably
    3   didn't understand.                                 3   not the right -- we used their services to help
    4         A. Of the site visits.                       4   us complete a number of visits. We didn't
    5         Q. Of the site visits, okay.                 5   delegate. We used their services.
    6             So they would provide the                6         Q. Was it Cardinal personnel that was
    7   framework of the site visits?                      7   performing the site visits, or was it Dendrite
    8         A. (Nods head.)                              8   personnel?
    9         Q. What does that mean? Does that --         9         A. We had both. We have our own
   10             MS. WICHT: Object to the form of        10   personnel, and we used the services from
   11         the question.                               11   Dendrite at that time, I believe, to help us
   12             Sorry. Go ahead.                        12   perform some of the visits.
   13             I don't know who -- you said            13         Q. And was that because Cardinal
   14         "they" in your question, and it's not       14   didn't have sufficient personnel to do all the
   15         clear to me that we're all talking about    15   site visits needed on their own?
   16         the same person.                            16             MS. WICHT: Object to the form of
   17             MR. KROEGER: Yeah.                      17         the question.
   18   BY MR. KROEGER:                                   18         A. It was because we were reacting to
   19         Q. You were talking about Dendrite,         19   changes in the regulatory environment, and there
   20   and the role -- and I was asking about the role   20   were some additional visits that we wanted to
   21   that they played in site visits. I was also       21   perform in a short period of time, so we used
   22   asking about what oversight Cardinal had of       22   outside resources to assist us with that.
   23   Dendrite personnel and what specifically          23         Q. Okay. So the first question I
   24   Dendrite personnel did with regard to site        24   have about that is: What period of time are we
                                               Page 79                                                 Page 81
    1   visits. And so my understanding is that you        1   talking about that Dendrite was assisting you,
    2   said that Dendrite employees would provide a       2   Cardinal, with site visits?
    3   framework for the site visits. Is that             3         A. To the best of my knowledge, they
    4   accurate?                                          4   were involved with some of our site visits from
    5         A. No, I did not say that.                   5   sometime in 2012 and sometime in 2013, but I
    6         Q. Okay.                                     6   don't recall the exact dates.
    7         A. They provide the services of doing        7         Q. And you said this was due to
    8   the site visit. We provided the forms that they    8   changes in the regulatory environment. What
    9   had to complete during site visits and we          9   were the changes in the regulatory environment
   10   provided the list of the customers that we        10   that led Cardinal to decide we need to hire or
   11   wanted them to visit.                             11   bring on Deloitte -- or Dendrite personnel to
   12         Q. When you say you provided the            12   assist us in site visits?
   13   forms, you mean physical forms, Cardinal would    13         A. Where we follow, you know, what's
   14   provide paper forms that Dendrite personnel       14   going on in the public media, so we understand
   15   would then go to a pharmacy and fill out?         15   there's, you know, an increase in use of certain
   16         A. It could be paper, it could be           16   drugs in certain markets. We may ask our team
   17   electronic forms.                                 17   to go to those markets and review the stores
   18         Q. But a questionnaire of sorts that        18   that we have as customers or that we have
   19   they would have to answer?                        19   concerns.
   20         A. They would be the forms that we          20         Q. Maybe I missed it, but I don't
   21   use to document our customer visits.              21   understand where in your answer you talked about
   22         Q. And when is it that Cardinal began       22   changes in the regulatory environment.
   23   to delegate site visits to Dendrite personnel?    23         A. Well, there's changes in -- have
   24             MS. WICHT: Object to the form of        24   been changes in the expectations in the

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    1   regulatory environment over time. So -- and         1        A.     When we terminated the customer.
    2   expectations of pharmacies, expectations of         2             MS. WICHT: Object to the form of
    3   distributors.                                       3         the question.
    4         Q. And what were the changes?                 4         Q. Say again?
    5         A. There have been changes over time.         5         A. Is when the termination of that
    6         Q. Okay. But specific to what we're           6   particular customer, they wanted us, based on
    7   talking about right at this moment, is there's a    7   the communications between my staff and the DEA,
    8   point in time, you think it's in 2012 to            8   that's the information that they wanted us to
    9   sometime in 2013 -- you're not certain of the       9   communicate as suspicious order. Later in time,
   10   dates -- but in that two-year period, you said     10   we learned that the agency had changed their
   11   that Cardinal enlisted assistance from Dendrite    11   expectations and they wanted to know every
   12   to do site visits because there were changes in    12   single order that hit a threshold event after a
   13   the regulatory environment. So those are the       13   small investigation, had to be communicated to
   14   specific changes I'm asking about right now.       14   them.
   15             What were those changes in 2012          15         Q. So it's the every single threshold
   16   and '13 that you're talking about?                 16   event after a small investigation has been
   17             MS. WICHT: Object to the form of         17   communicated to the DEA, that's the change that
   18         the question.                                18   occurred in 2012 and '13?
   19         A. Some of the changes is the                19         A. That's the -- yes.
   20   expectations that the agency had with us and       20         Q. And what was the small
   21   other registrants.                                 21   investigation that would have to occur after a
   22         Q. The agency, being the DEA?                22   threshold event?
   23         A. DEA.                                      23         A. Is like a quick review of the
   24         Q. Drug Enforcement Agency of the            24   customer order to determine whether the customer

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    1   United States?                                      1   was likely due to a typographical error, and we
    2         A. (Nods head.)                               2   were, you know, expected to make a decision very
    3         Q. Is that a yes?                             3   quickly. And if we could not resolve that order
    4         A. Yes.                                       4   in a short period of time, we had to report it
    5         Q. Sorry. That's just for the                 5   to the DEA and continue our investigation in
    6   record. Sometimes we have the nods of the head,     6   regards to the customer, because that takes a
    7   which the camera will catch it but the              7   longer period of time.
    8   transcript won't.                                   8         Q. And this review, this short
    9            So what were the changes in                9   investigation, where did that occur?
   10   expectations that the agency had with Cardinal     10             MS. WICHT: Object to the form of
   11   and other registrants in 2012 and '13?             11         the question.
   12         A. One of the changes that I recall,         12         A. That review of investigation
   13   we had an understanding with the DEA that we       13   occurs as part of our electronic monitoring
   14   will investigate threshold events, and if we       14   system with the personnel that is responsible
   15   found that those threshold events resulted in      15   for that.
   16   customer that had the potential for diversion,     16         Q. And so do you recall, who at the
   17   that they wanted us to communicate those to        17   DEA communicated this change to Cardinal?
   18   them.                                              18         A. The initial agreement between
   19         Q. So your testimony today is that           19   Cardinal Health and the DEA occurred between --
   20   sometime in 2012 or 2013, the DEA, for the first   20   to the best of my knowledge, between Michael
   21   time, said that Cardinal and other registrants     21   Moné, Barbara Boockholdt, Sue Langston, and Nick
   22   need to investigate threshold events, and if       22   Rausch, I believe, was at that meeting, too.
   23   they find that a customer has a potential for      23         Q. But you were not?
   24   diversion, they need to report that to the DEA?    24         A. I was not. That was before I

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    1   joined Cardinal Health.                             1   that met the regulatory requirements.
    2         Q. So there was a meeting with those          2         Q. And that was at a meeting prior to
    3   four individuals you just named. Nick Rausch        3   you joining Cardinal?
    4   and Michael Moné are the two Cardinal               4         A. That was the meeting that occurred
    5   representatives?                                    5   before I joined Cardinal Health.
    6         A. That is my understanding.                  6         Q. And did you ever see any agreement
    7         Q. And when you started, was it               7   in writing between the DEA and Cardinal with
    8   conveyed to you that this is a new change we        8   regard to that meeting?
    9   have?                                               9         A. I did not see any agreement in
   10         A. My understanding was these are the        10   writing, but I got a consistent message from
   11   expectations from the agency, that we evaluate     11   Michael, from Bob Giacalone, from Mr. Morford
   12   orders, determine if the customer had the          12   that that was our agreement with the agency, so
   13   potential to divert the order, and our practice    13   we needed to make sure that we keep compliant
   14   was: Terminate the customer and communicate        14   with that agreement.
   15   that termination to the DEA.                       15         Q. And as the supervisor of
   16         Q. And so what I'm confused about now        16   anti-diversion, you didn't confirm that in
   17   is that you're talking about a meeting prior to    17   writing?
   18   you joining Cardinal between Michael Moné, Nick    18             MS. WICHT: Object to the form of
   19   Rausch and the DEA, correct?                       19         the question.
   20         A. Correct.                                  20         A. I believe the information that was
   21         Q. And that is in response to me             21   provided by my staff, by our senior legal
   22   asking you about the regulatory changes that       22   regulatory counsel, and by my boss.
   23   took place in 2012 and '13 that required           23         Q. And what I'm still trying to
   24   Cardinal Health to employ Dendrite to assist in    24   understand is, this meeting occurred before you
                                                Page 87                                                 Page 89
    1   site visits?                                        1   joined Cardinal on December 1st, 2009. And in
    2         A. Well, we had --                            2   that meeting was conveyed to Cardinal that the
    3             MS. WICHT: Object to the form of          3   DEA had additional expectations with regard to
    4         the question.                                 4   reporting threshold events after a small
    5         A. -- we had a regulatory action from         5   investigation, correct?
    6   the agency in 2012. So that was definitely --       6            MS. WICHT: Object to the form of
    7   there was a change in the expectation from the      7        the question.
    8   agency from what we had done before, which had      8        A. My understanding of what occurred
    9   been reviewed in numbers of time, not only by       9   in the meeting was we provided a presentation to
   10   the meeting the DEA had at our corporate           10   two members of the Drug Enforcement
   11   headquarters, but also during dozens of cyclical   11   Administration. That presentation was an
   12   inspections. We did not express concern until      12   overview of our anti-diversion program and our
   13   we received the administrative action from the     13   suspicious order monitoring program. And the
   14   agency.                                            14   agency didn't have any objections, didn't have
   15         Q. So Cardinal Health was                    15   any concerns with the way that we were executing
   16   communicated changes -- regulatory changes that    16   our program.
   17   the DEA expected in -- prior to December 1st,      17        Q. But I thought you said that this
   18   2009, when Michael Moné and Nick Rausch meets      18   meeting -- we're talking about one meeting that
   19   with the DEA, correct?                             19   happened before you got there, just to be clear,
   20         A. We presented the program that we          20   there's only one meeting we're talking about
   21   had for anti-diversion, our intent on how to       21   between Michael Moné, Nick Rausch, as
   22   execute the program. And my understanding was      22   representatives of Cardinal, and the DEA.
   23   that there was an agreement that the program       23            I thought your testimony earlier
   24   fulfilled the expectations of the agency and       24   was that at that meeting the DEA conveyed to

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    1   Cardinal regulatory changes, in particular, that    1   meeting with DEA. Members of my staff did.
    2   upon a threshold event, Cardinal would do a         2   Michael Moné, I believe, was in routine
    3   small investigation and then report to the DEA      3   communication with Barbara Boockholdt and other
    4   if a customer had to be terminated?                 4   members of the DEA. I also attended, you know,
    5             MS. WICHT: Object to the form of          5   presentations from the DEA but never had
    6         the question.                                 6   personal interaction with the agency.
    7         A. That's incorrect. I didn't say             7            Michael had most of those
    8   that.                                               8   interactions, and Steve Reardon and some other
    9         Q. Okay.                                      9   members of my staff.
   10         A. I didn't say that. I think as a           10        Q. How about above you? Did Craig
   11   result of the regulatory action that we had in     11   Morford ever have conversations or contact with
   12   2012, those were new expectations that were        12   the DEA, to your knowledge?
   13   communicated to us.                                13        A. I would speculate if I say yes or
   14         Q. Okay. So you're testifying that           14   no. I don't know that.
   15   in 2009 -- well, I'm sorry. Before you joined      15        Q. So you're not aware of any time
   16   Cardinal in 2009, there was a meeting between      16   that he did?
   17   Michael Moné, Nick Rausch and the DEA, and at      17            MS. WICHT: Object to the form of
   18   that meeting, there weren't new expectations --    18        the question.
   19   new regulatory changes that were conveyed to       19        A. During that period of time, I
   20   Cardinal. That's your testimony now?               20   would not be able to recall.
   21             MS. WICHT: Object to the form of         21        Q. All right. Well, during the
   22         the question.                                22   period of time that you've been with Cardinal,
   23         A. That is not what I said. What I           23   from December 1st, 2009, are you aware of any
   24   said was, there was a meeting between              24   time that Craig Morford had contact with the
                                                Page 91                                                 Page 93
    1   representative from DEA and Cardinal Health,        1   DEA?
    2   where Cardinal Health presented our suspicious      2        A. I have personally not been in any
    3   order monitoring program to the agency. As we       3   of the meetings that either Craig or somebody
    4   were executing the program at that time, the        4   else may have with personnel from the DEA.
    5   agency appeared to be satisfied with our            5        Q. Okay. And maybe you weren't
    6   execution of the program, did not express any       6   present, but I'm asking right now if you're
    7   concern.                                            7   aware of any meetings between Craig Morford and
    8            Also, that program has been                8   the DEA.
    9   presented to the agency during multiple             9        A. I believe there was a meeting --
   10   inspections of our distribution centers. And to    10   one meeting between Cardinal Health and DEA
   11   the best of my knowledge, there has not been a     11   where we made another presentation of our
   12   single concern about that until we got the         12   program. And my understanding was Craig may
   13   administrative action in 2012.                     13   have been there. I'm not 100 percent sure. I
   14        Q. And so between your start date of          14   know Todd Cameron was there.
   15   December 1st, 2009 and the action in 2012 --       15        Q. And when was that?
   16   early February, 2012, does that sound --           16        A. I cannot tell the date, but it
   17        A. Sounds about right.                        17   could be '15 to '17. But I don't even recall if
   18        Q. -- sounds about right?                     18   I was involved with the program at that time or
   19            Between December 1, 2009 and early        19   not.
   20   February 2012, did you ever have any contact       20        Q. And do you know who from the DEA
   21   with the DEA to determine if the suspicious        21   was involved?
   22   order monitoring program of Cardinal was in line   22        A. I'm trying to recollect if I
   23   with their expectations?                           23   remember. I'm not very good with names. But I
   24        A. I personally did not have a                24   do not recall from the top of my head.

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    1          Q. Is it fair to say, then, if you           1         Q. Could potentially also signal that
    2   can't recall, that at least it wasn't Barbara       2   a number of people have decided they want to buy
    3   Boockholdt?                                         3   a bunch of oxycodone for a party on the weekend,
    4              MS. WICHT: Object to the form of         4   couldn't it?
    5          the question.                                5             MS. WICHT: Object to the form of
    6          A. I don't recall. I mean -- or they         6         the question.
    7   didn't tell me who was there, or I don't recall     7         A. Not necessarily.
    8   if Barbara was there or not.                        8         Q. Not necessarily, but it could,
    9          Q. Okay. That's fair.                        9   couldn't it?
   10              So we -- I want to go back because      10             MS. WICHT: Object to the form of
   11   I still don't think I have a full understanding    11         the question.
   12   of what it was in 2012 that was communicated to    12         A. Not necessarily. Everything is
   13   Cardinal that led Cardinal to employ the           13   possible, but it's not necessarily. So we want
   14   services of Dendrite to assist with site visits.   14   to do an investigation on that customer to look
   15          A. Our understanding was that the           15   at the fact on why there was an increase in
   16   agency expectations and definition on suspicious   16   order, and we want -- that takes time. But with
   17   orders had changed.                                17   our current system and the current expectations
   18          Q. In what way?                             18   of the agency, we report those as suspicious.
   19          A. In the past, the program that we         19         Q. You said you want to investigate
   20   presented to the agency, which the agency had no   20   those but that takes time. I don't understand.
   21   objection, was that when we had a threshold        21   What kind of time does it take to find out if a
   22   event, we had to investigate the threshold event   22   threshold event is suspicious or not?
   23   if we concluded that the customer had posed a      23         A. It takes -- to determine if the
   24   risk for diversion or we couldn't conclude         24   order is likely to be diverted, it takes time.
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    1   that -- at that point in time, after an             1   It takes some time, customer visit. It takes
    2   investigation, that we should report that           2   time interacting with the customer. It takes
    3   customer as suspicious.                             3   time maybe having a salesperson drive by to get
    4             The expectations changed in 2012          4   additional information.
    5   were the time frame that we were allowed to do      5             It takes time to evaluate an order
    6   an investigation, and the agency decided that       6   and determine whether Cardinal Health feels
    7   each threshold event, after a quick                 7   comfortable either filling that order or we
    8   investigation -- when I say "quick                  8   decide to -- not to longer do business with that
    9   investigation," is a very short period of time      9   particular customer because it poses a risk of
   10   to be communicated to them as a suspicious         10   diversion.
   11   order, even though that threshold event not        11         Q. And in order to meet that
   12   necessarily met all of the requirements of a       12   requirement, Cardinal employed Dendrite to
   13   suspicious order.                                  13   assist with site visits?
   14         Q. So what kind of threshold events          14             MS. WICHT: Object to the form of
   15   would not meet the requirements of a suspicious    15         the question.
   16   order?                                             16         A. We used Dendrite to help us to --
   17             MS. WICHT: Object to the form of         17   more site visits so we can have more recent
   18         the question.                                18   information on our customer.
   19         A. For example, we're reporting them         19             MR. KROEGER: There's someone on
   20   as suspicious, but is a pharmacist going on        20         the phone who is not muted. If you
   21   holiday weekend and he ordered twice as many       21         could please mute.
   22   drugs because he's not going to be at the site     22         Q. But prior to 2012, you did not use
   23   to order the drugs the next week? I mean, that     23   Dendrite to assist with site visits, correct?
   24   will -- potentially could hit a threshold event.   24         A. During the time that I was there

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    1   in 2009 to 2012, I don't recall us using            1   and every single suspicious order was reported
    2   Dendrite. That doesn't necessarily mean that we     2   to the agency, based on the understanding that
    3   had not used them, but I don't recall.              3   we had at the time.
    4         Q. But your testimony is that, to             4        Q. What was that understanding?
    5   your knowledge, Dendrite was employed by            5        A. I already explained to you the
    6   Cardinal in order to assist with this new           6   understanding that we had of investigating the
    7   requirement from the DEA that threshold events      7   order, investigating the customer, and if we
    8   get a fast investigation?                           8   deemed that a customer had the potential for --
    9             MS. WICHT: Object to the form of          9   to pose a risk for diversion to -- the agency
   10         the question.                                10   wanted to know that suspicious order and that
   11         A. Not -- not for that. It was to            11   suspicious customer that was terminated.
   12   assist us to do -- we wanted to have more site     12        Q. But suddenly in 2012 Cardinal had
   13   visits done. We wanted to refresh all of our       13   a greater desire to do site visits than it had
   14   files, so we used Dendrite to help us do           14   in 2010 and '09 -- or 2010 and '11; is that
   15   additional visits.                                 15   right?
   16         Q. And you say you wanted, but in            16        A. Well, we had --
   17   2012, didn't the DEA tell you that you had to do   17            MS. WICHT: Object to the form of
   18   those site visits within 120 days?                 18        the question.
   19         A. I don't recall the terms of the           19        A. We had a regulatory action, so to
   20   agreement. It could be in the agreement, but I     20   me, the agency had changed the expectations on
   21   would have to review the agreement to say if       21   how we executed the program. So we wanted to
   22   that was the case.                                 22   make sure that we cover all the bases. We do
   23         Q. Okay. We can do that.                     23   not want another regulatory action against
   24             But your testimony so far is that        24   Cardinal Health, and we employ not only internal
                                                Page 99                                                Page 101
    1   you, Cardinal, that Cardinal employed Dendrite      1   resources, but external resources to make sure
    2   to assist with these site visits because you        2   that we not only met the expectations of the
    3   wanted to do more of them; is that correct?         3   agency, but that we exceeded those.
    4         A. I believe that we wanted to do             4         Q. But Cardinal didn't have the same
    5   more site visits.                                   5   desire to avoid that regulatory action or exceed
    6         Q. And you think that this is                 6   expectations of the DEA in 2010 or '11?
    7   something that Cardinal decided on its own, its     7             MS. WICHT: Object to the form of
    8   own accord, to do more site visits in 2012; is      8         the question.
    9   that your testimony?                                9         A. That's not what I said.
   10             MS. WICHT: Object to the form of         10         Q. But Cardinal decided to wait until
   11         the question.                                11   2012 to ask Dendrite to assist with site visits
   12         A. I can tell you as a member of the         12   across the country?
   13   management team, we wanted to do more site         13         A. Cardinal always had the same
   14   visits. And even today, we continue to do a lot    14   desire to comply with all regulatory
   15   of site visits.                                    15   requirements. That desire has never changed as
   16         Q. And why is it -- strike that.             16   far as I know. At least since I joined the
   17             In 2010 and 2011, why is it that         17   company. I can attest to that. Our management
   18   Cardinal didn't have the same desire to visit      18   team has to have -- wants to have a good
   19   all the sites to which they sold controlled        19   regulatory record, which we have demonstrated
   20   substances that they did in 2012?                  20   over many, many years.
   21             MS. WICHT: Object to the form of         21             These regulatory actions that we
   22         the question.                                22   got in 2012 was a surprise to us because, to the
   23         A. We did plenty of site visits. We          23   best of my knowledge, we were meeting the
   24   investigated every single suspicious customer      24   expectations of the agency.

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    1             MS. WICHT: And if you would note          1   customers being cut, which most of them today
    2        my objection to the form of the last           2   still have a DEA license to dispense product.
    3        question. I didn't want to interrupt,          3         Q. How many customers does Cardinal
    4        Mr. Quintero. Thank you.                       4   distribute controlled substances to?
    5   BY MR. KROEGER:                                     5         A. I will speculate. I'm not
    6        Q. But, again, just to be clear, it            6   involved with that particular group now, so I
    7   wasn't until 2012 when the regulatory action        7   would be speculating on a number.
    8   commenced against Cardinal that Cardinal            8         Q. Prior to 2012?
    9   decided, we want to and need to employ Dendrite     9         A. There were thousands of customers.
   10   to assist with site visits across the country?     10         Q. Thousands. Tens of thousands?
   11   That's your testimony, correct?                    11             MS. WICHT: Object to the form of
   12             MS. WICHT: Object to the form of         12         the question.
   13        the question.                                 13         A. I wouldn't know the exact number.
   14        A. My testimony is that since I got           14   So if I tell you a number, I would be
   15   to Cardinal Health on December 1st, 2009, the      15   speculating. I would have to go and ask
   16   company intended to comply with all regulatory     16   somebody in the sales department to tell me the
   17   requirements, including DEA regulations, and       17   exact number of customers that we have.
   18   that we executed a program that was presented to   18         Q. Okay. Aside from assisting with
   19   the agency, that the agency accepted as a good     19   site visits in 2012, what else did Dendrite do
   20   program, we executed according to those            20   for Cardinal?
   21   expectations.                                      21         A. I'm trying to recollect.
   22             We did hundreds of visits. We cut        22             To the best of my knowledge, that
   23   hundreds of customers during that period of time   23   was their primary services that they were
   24   before 2012. To the best of my knowledge, we       24   providing to Cardinal Health.
                                               Page 103                                                Page 105
    1   cut over 300 customers during that period of        1          Q. And to the best of your knowledge,
    2   time.                                               2   did that -- did those services end in 2012, '13,
    3        Q. And yet it wasn't until 2012 that           3   or do they continue?
    4   you -- that Cardinal realized it needed             4          A. I think we have used them after
    5   assistance to conduct appropriate site visits?      5   that, but since I was removed from the -- I
    6            MS. WICHT: Object to the form of           6   mean, I'm not in the department anymore managing
    7        the question. Foundation.                      7   that particular area, I couldn't tell. But I
    8        Mischaracterizes.                              8   know that we have used them occasionally.
    9        A. We were always conducting                   9          Q. So we've talked about Deloitte.
   10   appropriate visits. We decided to increase the     10   Dendrite. Health Advisory.
   11   number of site visits that we did because the      11          A. Uh-huh.
   12   expectations of the agency appeared to have        12          Q. What other outside organizations
   13   changed and we were adapting to the changes in     13   has Cardinal used for anti-diversion assistance?
   14   expectations from the agency.                      14          A. We used IBM Watson.
   15            But in terms of whether or not we         15          Q. What do you use IBM Watson for?
   16   were doing inspections according to the            16          A. We use IBM Watson to help us
   17   expectations of the agency at that time, we were   17   develop our anti-diversion -- it's called ADC.
   18   doing hundreds of inspections. We dedicated        18   It's --
   19   personnel to do those inspections. We used our     19          Q. It's called what? I'm sorry.
   20   compliance officers to do inspections, too. And    20          A. ADC.
   21   we required our salespeople to notify us of any    21          Q. ADC.
   22   concerns that they had with any customer.          22          A. ADC. Centralized system. I'm
   23            And those inspections were                23   trying to recall the meaning of each one of
   24   conducted and they resulted in over 300            24   those words.

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    1         Q. And what is that system?                   1   they performed for us.
    2         A. It is a centralized system where           2        Q. Any other outside agencies or
    3   we have information about customers, we see         3   corporations, companies that Cardinal has
    4   threshold events that they had in the past. We      4   employed for anti-diversion?
    5   can even have a street view of where the            5        A. We had Avantha.
    6   pharmacy is located to see the surroundings.        6        Q. What's Avantha do for Cardinal?
    7         Q. And that system -- the one benefit         7        A. What Avantha did for Cardinal
    8   of a centralized system such as that is so that     8   Health, they provided an expert in the field
    9   people who are at corporate headquarters in         9   that will advise us on anti-diversion and any
   10   Dublin can determine if there are suspicious       10   other trends that were going on in the
   11   customers who may need to be shut down in Texas,   11   regulatory environments regarding to DEA.
   12   right?                                             12        Q. During what time period did
   13             MS. WICHT: Object to the form of         13   Avantha provide such services?
   14         the question.                                14        A. I don't recall the exact time. I
   15         A. It is used to review customers and        15   will have to go back and look at the engagement.
   16   also to review customers' orders.                  16   It could have been '12, '13, '14 and '15. I
   17         Q. But the -- is it true, though,            17   don't recall the exact time frame.
   18   that having a centralized system in Dublin,        18        Q. What other outside organizations
   19   Ohio, or a system that's accessible in Dublin,     19   or companies?
   20   Ohio, the capital -- the headquarters of           20        A. We use Healthcare Advising.
   21   Cardinal, allows the executives at Cardinal to     21        Q. What do they do?
   22   see what might be going on at distribution         22        A. They provided assistance with
   23   centers around the country?                        23   developing a new threshold methodology with some
   24             MS. WICHT: Object to the form of         24   of the information that we received from other

                                               Page 107                                                     Page 109
    1        the question. Foundation.                      1   sources.
    2        A. First, I mean, the activity of              2        Q. What other sources?
    3   review of customers is done by different levels     3        A. Symphony or IMS or our own
    4   of employees. The executive -- like, I don't        4   internal data.
    5   know what you call. I consider myself an            5        Q. What other outside organizations
    6   executive. We generally are not involved in the     6   do you recall?
    7   day-to-day review of those threshold events.        7        A. We use also another organization,
    8        Q. But you have access to that                 8   use Pharmacy Services or Pharmacy Solutions. I
    9   information through the centralized system?         9   don't recall the name.
   10        A. I can ask one of the analysts in           10        Q. What services did they provide
   11   the group or one of the members of that team to    11   Cardinal?
   12   provide me with that information that is there.    12        A. They provided resources to do --
   13        Q. And that's one of the many ways            13            VIDEOGRAPHER: Counsel on the
   14   that you supervise the anti-diversion programs     14        phone, could you put yourself on mute,
   15   within Cardinal?                                   15        please.
   16            MS. WICHT: Object to the form of          16   BY MR. KROEGER:
   17        the question.                                 17        Q. I'm sorry. Could you repeat that
   18        A. One of the ways that I inquired            18   answer, please.
   19   about information that I may be interested at a    19        A. I don't recall the exact name, but
   20   particular time.                                   20   it was Pharmacy Services or Pharmacy Solutions,
   21        Q. Okay. What else, besides the ADC,          21   one of the two. They provided resources,
   22   did IBM provide Cardinal?                          22   investigators, to do field visits.
   23        A. To the best of my knowledge --             23        Q. Was this also in 2012 and '13?
   24   they may have done other things -- that's what     24        A. It was during 2012, '13. Could

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    1   have been '14, too.                                 1 2012, was to report suspicious customers when
    2         Q. Any other outside services                 2 Cardinal deemed appropriate to terminate them,
    3   Cardinal received?                                  3 and then a handful of other suspicious orders
    4         A. There could be others, but those           4 that you just couldn't figure out?
    5   are the ones that I recall, to the best of my       5            MS. WICHT: Object to the form of
    6   knowledge.                                          6        the question.
    7         Q. Okay.                                      7        A. Based on the agreement that we
    8             MR. KROEGER: I think this is              8   have with the agency, our practice was, you
    9         probably a good time for a quick break.       9   know, customer would have threshold events,
   10             MS. WICHT: Okay.                         10   we'll investigate those threshold events, do an
   11             VIDEOGRAPHER: Time is now 9:11.          11   in-depth investigation, determine if the
   12         Going off the record.                        12   customer posed a risk of diversion, and if we
   13             (Recess taken.)                          13   determine that there was a potential for that,
   14             VIDEOGRAPHER: Time is now 9:33.          14   then we communicated that to the agency, we
   15         Back on the record.                          15   reported that.
   16   BY MR. KROEGER:                                    16        Q. Reported the customer?
   17         Q. Mr. Quintero, I just wanted to            17        A. We reported the customer that had
   18   clarify something that we were going through, I    18   that order placed, that triggered the reason for
   19   think, a number of times.                          19   us to look at the customer.
   20             You were talking about the change        20        Q. When you started at Cardinal, did
   21   in regulations -- the changing expectations of     21   anyone show you the Memorandum of Agreement with
   22   the DEA.                                           22   regard to the 2007-2008 events for Cardinal?
   23         A. Yeah. I never have spoken about           23        A. I don't recall. I don't recall.
   24   changes in regulations. The regulations were       24   Could have. Could have not, but I don't recall

                                               Page 111                                                       Page 113
    1   established in 1971 and still basically the same    1   whether or not they show it to me.
    2   regulations.                                        2        Q. Are you aware of what happened for
    3        Q. Right. But there was -- your                3   Cardinal in 2007-2008?
    4   testimony was that there was a change in the        4        A. I believe --
    5   expectations of the agency with regard to           5            MS. WICHT: Object to the form of
    6   Cardinal and other distributors, correct?           6        the question.
    7        A. That was my testimony, yes.                 7        A. I believe I read, before joining
    8        Q. And prior to that change, Cardinal          8   Cardinal, that had something to do with sales to
    9   had been reporting to the DEA when there was a      9   Internet pharmacies.
   10   suspicious customer that Cardinal had determined   10        Q. And distribution centers having
   11   they needed to terminate; is that right?           11   the registration suspended?
   12        A. Yes. And --                                12        A. That's my understanding.
   13            MS. WICHT: Object to the form of          13        Q. But then when you started in
   14        the question.                                 14   December of 2009, no one, to your recollection,
   15            Go ahead.                                 15   showed you the Memorandum of Agreement as to
   16        A. Yes. And in some examples also             16   what Cardinal's duties were?
   17   where we couldn't collect enough information to    17            MS. WICHT: Object to the form of
   18   determine whether or not, you know, the customer   18        the question.
   19   was suspicious -- there was no reason to believe   19        A. I requested an overview of, you
   20   the customer was suspicious, but we didn't have    20   know, what happened in 2008 and what were the
   21   enough information. So we reported some of         21   actions that Cardinal took to address the
   22   those orders, too.                                 22   concerns that the agency had. That overview was
   23        Q. Okay. But generally speaking, the          23   provided to me by members of my staff, as well
   24   suspicious order policy of Cardinal, prior to      24   as our senior legal regulatory counsel, as well

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    1   as my boss.                                         1   if you'll turn to Page 4 --
    2             And the communication that I got          2              MS. WICHT: So this copy came --
    3   from each one of them was very consistent with      3        is -- this copy is Appendix B to some
    4   the agreement that had been made with the agency    4        other document?
    5   and the program that we've put in place that was    5              MR. KROEGER: Yes.
    6   deemed acceptable by the agency after the agency    6              MS. WICHT: But you're not asking
    7   had reviewed our program.                           7        right now about whatever that other
    8                ---                                    8        document is or what --
    9      (Cardinal-Quintero Exhibit 3 marked.)            9              MR. KROEGER: I'm asking about a
   10                ---                                   10        very specific part of this MOA that I
   11   BY MR. KROEGER:                                    11        have from this appendix, which is
   12        Q. I'm going to hand you what I'm             12        attached to the 2012 action, but...
   13   marking as Exhibit 3. It's Document 3813.          13              MS. WICHT: Okay.
   14             MR. HUNTER: Can you give the             14              MS. ANDERSON: For clarification,
   15        Bates number for that document?               15        which page number are you on?
   16             MR. KROEGER: I can for this one.         16              MR. KROEGER: 4. P1, top right,
   17        It's CAH_MDL2804_02309017.                    17        P1, 4.
   18        Q. Mr. Quintero, if you would turn to         18   BY MR. KROEGER:
   19   Page 4 --                                          19        Q. Most importantly, Mr. Quintero, do
   20             MS. WADHWANI: Sorry. 014.                20   you see Roman numeral II, Number 1, Paragraph A,
   21             MR. KROEGER: Sorry. Thank you.           21   "Obligations of Cardinal"?
   22        Neelum corrected it. It's 014.                22        A. Uh-huh.
   23   BY MR. KROEGER:                                    23        Q. Can you read that to us, please.
   24        Q. If you'll turn to Page 4 of this.          24        A. "Cardinal agrees to maintain a

                                               Page 115                                                   Page 117
    1         A. This is the top of the page, that          1   compliance program designed to detect and
    2   4 here or 4 --                                      2   prevent diversion of controlled substances as
    3         Q. Correct, 4 top right.                      3   required under the CSA and applicable DEA
    4         A. Okay.                                      4   regulations. This program shall include
    5         Q. And if you want to look, I mean            5   procedures to review orders for controlled
    6   obviously you're more than welcome to look at       6   substances, orders that exceed established
    7   this document, look at the first page to see        7   thresholds and criteria will be reviewed by a
    8   what it is, but I'll represent to you that it's     8   Cardinal employee trained to detect suspicious
    9   the memorandum of understanding -- of agreement     9   orders for the purpose of determining whether,
   10   between Cardinal and the DEA that we were just     10   (I) such orders should not be filled and
   11   talking about.                                     11   reported to the DEA based on a detailed review,
   12             If you go to -- because I see what       12   the order is for a legitimate purpose and the
   13   you're looking at. If you go --                    13   controlled substances are not likely to be
   14         A. What does it mean -- I mean, just         14   diverted into other than legitimate medical,
   15   a question because I'm reading, and it's           15   scientific, and industrial channels.
   16   different to what you read. It says "2008 MOA      16             "Orders identified as suspicious
   17   Reference in Background." What does that mean?     17   will be reported to the DEA as discussed in
   18         Q. So this was an appendix, and this         18   Subsection II(1)(c). This compliance program
   19   document, if you turn to what is actually Page 2   19   shall apply to all customers and future Cardinal
   20   of the exhibit itself, you will see the title of   20   distribution centers registered with the DEA in
   21   the document that we're going to be talking        21   the United States and its territories and
   22   about.                                             22   possessions.
   23         A. Where is it?                              23             "Cardinal acknowledges and agrees
   24         Q. It is in Appendix B. Okay? And            24   that the obligations undertaken in this

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    1   subparagraph do not fulfill the totality of its     1         Q. -- and that was a new
    2   obligations to maintain effective controls          2   understanding?
    3   against the diversion of controlled substances      3              MS. WICHT: Object to the form of
    4   or to detect and report the suspicious orders       4         the question. Foundation.
    5   for controlled substances."                         5         Mischaracterizes.
    6         Q. So, Mr. Quintero, this is the              6         A. My position is that the
    7   agreement that Cardinal signed after a number of    7   interpretation and the expectations of the
    8   its distribution centers were investigated,         8   agency of what was suspicious order had changed
    9   suspended, et cetera?                               9   over time; that to the best of my knowledge,
   10         A. (Nods head.)                              10   Cardinal Health, every time, reported suspicious
   11         Q. And identifying suspicious orders         11   orders, from the time that I was there in 2009
   12   and reporting those to the DEA is a baseline       12   until recent, based on the interpretation that
   13   that Cardinal agreed to; isn't that true?          13   it had other regulations and the understanding
   14             MS. WICHT: Object to the form of         14   that we had from the agency.
   15         the question.                                15              MS. WICHT: I'm sorry to
   16         A. Yeah, but there's additional              16         interrupt.
   17   language here, you know, which says, you know,     17              Madam Court Reporter, the -- this
   18   established threshold criteria and --              18         is indicating it has a low battery. It
   19         Q. Show me in that paragraph where           19         is below 10 percent. Is it possible to
   20   Cardinal agreed to report customers when they      20         have a charger that connects to this?
   21   decided to terminate those customers?              21              MR. KROEGER: We can go off the
   22         A. As I told you, we reported                22         record for a moment.
   23   suspicious orders as the agreement that was        23              VIDEOGRAPHER: Time is now 9:45.
   24   reached between Cardinal Health and senior         24         Going off the record.
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    1   members from the DEA based on the program and       1             (Discussion held off the record.)
    2   the interpretation of the agreement.                2             VIDEOGRAPHER: Time is now 9:46.
    3         Q. So you're saying that the DEA              3        Back on the record.
    4   allowed Cardinal, after a meeting, to supplement    4                  ---
    5   this Memorandum of Agreement and do less than       5      (Cardinal-Quintero Exhibit 4 marked.)
    6   what it says here?                                  6                  ---
    7             MS. WICHT: Object to the form of          7   BY MR. KROEGER:
    8         the question. Foundation.                     8        Q. I'm going to hand you what I've
    9         Mischaracterizes.                             9   marked as Exhibit 4. We talked earlier about
   10         A. I don't believe that's what I             10   the fact that you sometimes would attend HDMA
   11   said. I said that Cardinal had an                  11   events, sometimes had a voice in the company for
   12   interpretation of the agreement. That              12   HDMA.
   13   interpretation of the agreement was shared with    13             If you would read this e-mail. Do
   14   senior members of the DEA and DEA was in           14   you know a Bill de Gutierrez-Mahoney?
   15   agreement with that definition.                    15             MS. WICHT: May I -- while the
   16             And it was reviewed in the 2009          16        witness is looking at the document, may
   17   meetings, and also it was reviewed during dozens   17        I just inquire, since it's a -- this is
   18   of cyclic inspections and we were never found to   18        a McKesson highly confidential document,
   19   be in noncompliance with the agreement.            19        whether permission has been granted to
   20         Q. And -- but it's still your                20        show it and use it in this document?
   21   position that it was in 2012 that the DEA          21             MR. KROEGER: It has been noticed
   22   suddenly wanted Cardinal to report all             22        and used at previous Cardinal
   23   suspicious orders --                               23        depositions.
   24             MS. WICHT: Object to --                  24             MS. WICHT: Okay. Thank you.

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    1              MS. MONAGHAN: I would like to            1   reporting suspicious orders?
    2         note for the record --                        2              MS. WICHT: Objection to form.
    3              MR. HUNTER: Excuse me. Do you            3         Foundation.
    4         mind just reading the Bates numbers when      4         A. This is not true. I don't know
    5         you're entering exhibits because we need      5   why -- who is this -- Bill de Gutierrez-Mahoney
    6         to know which document it is, who is on       6   wrote that, because that's not the fact.
    7         the phone.                                    7         Q. You started reporting suspicious
    8              MS. MONAGHAN: I would like to            8   orders in 2012 when the DEA amended their
    9         note for the record that we agreed to         9   expectations of Cardinal?
   10         allow the use of this document in Steve      10         A. We reported --
   11         Reardon's deposition. We did not permit      11              MS. WICHT: Object to form.
   12         it in this deposition and we were not        12         Foundation. Mischaracterizes prior
   13         asked permission for this deposition.        13         testimony.
   14              MS. QUEZON: Are you objecting to        14         A. We reported -- if you look at the
   15         the use of it?                               15   record and the number of suspicious orders to
   16              MS. MONAGHAN: You can proceed.          16   DEA, we reported thousands of orders in 2012 and
   17         I'm just noting our objection for the        17   thousands of orders in 2013, '14, '15 as
   18         record.                                      18   suspicious orders.
   19   BY MR. KROEGER:                                    19         Q. So the years you just chose to
   20         Q. Mr. Quintero, did you have a              20   list are '12, '13, '14, and '15, correct?
   21   chance to look at this document I've handed you?   21         A. Yes. Because you're giving me a
   22         A. I've reviewed Page 1 and I'm              22   document that is dated 2013.
   23   starting to read Page 2.                           23         Q. Did you report thousands of
   24         Q. I'm only going to ask you about           24   suspicious orders in 2011?
                                               Page 123                                                Page 125
    1   Page 1.                                             1        A. We reported suspicious orders, as
    2        A. Okay.                                       2   defined by our program and as agreed by DEA, in
    3        Q. This is an e-mail. Do you                   3   2009, '10, and '11.
    4   recognize the names at the top: Bill                4        Q. So the answer is no?
    5   Gutierrez-Mahoney, and Donald Walker, Bruce         5            MS. WICHT: Objection to the form.
    6   Russell, Gary Hilliard?                             6        Mischaracterizes.
    7        A. I remember Gary Hilliard.                   7        A. The answer is no to what?
    8            I remember Gary and Don. The               8        Q. That Cardinal reported thousands
    9   other two names are not that familiar to me.        9   of suspicious orders in 2011.
   10        Q. And this e-mail is from March of           10        A. We -- the answer is we reported
   11   2013. Do you see that?                             11   suspicious orders, as defined by our program, as
   12        A. Yep.                                       12   defined with agreement with DEA in 2009, '10,
   13        Q. And apparently there had been a            13   and '11.
   14   conference the week before, an HDMA conference,    14        Q. Mr. Quintero, are you aware of an
   15   that Gary and Bill had attended.                   15   opioid epidemic in this nation?
   16            And would you read the second             16        A. I'm aware that there's an opioid
   17   paragraph of the e-mail, please.                   17   epidemic in this nation.
   18        A. It says, "Gary and I attended the          18        Q. And to your knowledge, what does
   19   HDMA conference last week. These are my notes.     19   that mean?
   20   Perhaps the most surprising revelation was Steve   20        A. That means that there are
   21   Reardon and Gilberto Quintero saying that          21   individuals in society that are using opiates
   22   Cardinal Health does not report to DEA --          22   for other than legitimate medical use.
   23   suspicious orders to DEA. No upside."              23        Q. A few, or thousands?
   24        Q. So as of 2013, you were still not          24        A. I believe thousands.

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    1         Q. Hundreds of thousands?                              1   pharmacies that fill the scripts, and the
    2         A. I could not say that. If I had                      2   wholesale distributors who supply pharmacies
    3   documents in front of me that -- from healthcare             3   without appropriate due diligence (including
    4   professionals that have done the studies, but I              4   Respondent), have caused and continue to cause
    5   do not recollect what the number is.                         5   millions of dosage units of oxycodone and other
    6         Q. And to your knowledge, what role                    6   controlled substances to be diverted and pose an
    7   did Cardinal play in causing that opioid                     7   imminent threat to public health and safety.
    8   epidemic in the United States?                               8            "According to the Florida Medical
    9         A. We did not --                                       9   Examiner's Office, they have seen a 345.9
   10             MS. WICHT: Object to the form of                  10   percent increase in the number of overdose
   11         the question and on the basis that I                  11   deaths associated with oxycodone between 2005
   12         believe Special Master Cohen has ruled                12   and 2010. For 2010, their data showed that
   13         that's an inappropriate area for                      13   approximately 4,091 persons died in Florida
   14         questioning in depositions in this case.              14   alone from an overdose caused by just five
   15             But I'll allow you to answer,                     15   drugs: Methadone, oxycodone, hydrocodone,
   16         Mr. Quintero.                                         16   benzodiazepines, or morpheme.
   17         A. I do not believe Cardinal Health                   17            "This is an average of 11.2
   18   played a role in the opioid epidemic. We had a              18   persons dying in the state of Florida every day
   19   program in place that was designed to prevent --            19   from just these five drugs alone."
   20   to -- we had the proper controls against                    20            Clearly the government,
   21   diversion of drug products other than for                   21   Mr. Quintero, disagrees with your position that
   22   legitimate medical uses, as demonstrated by the             22   Cardinal had no role in causing the opioid
   23   actions that we have taken, as demonstrated by              23   epidemic.
   24   the hundreds of pharmacies that we have                     24            MS. WICHT: Object to the form of
                                                         Page 127                                               Page 129
    1 terminated, not because we know they are                       1         the question.
    2 diverting. It's because we may have the                        2         Q. Do you believe that illicit pain
    3 suspicion that they may engage in practices that               3   clinics are responsible for the opioid epidemic?
    4 they are not consistent with the expectations                  4             MS. WICHT: Object to the form of
    5 that we have.                                                  5         the question.
    6                  ---                                           6         A. There are many reports from
    7       (Cardinal-Quintero Exhibit 5 marked.)                    7   different healthcare professionals that have
    8                  ---                                           8   theories on how the epidemic was initiated, why
    9   BY MR. KROEGER:                                              9   we still have an epidemic. And so there are
   10         Q. I'm going to hand you what is                      10   healthcare professionals out there still
   11   marked as Exhibit 5,                                        11   debating what is the cause. I still do not have
   12   CAH_MDL_PRIORPROD_DEA12_000001. We have it                  12   a firm position on who initiated this, what is
   13   listed as P1.4085. And I'd ask you to turn to               13   the cause of this.
   14   Page 4 of that, Mr. Quintero. You're welcome to             14         Q. I'm talking about a cause. A
   15   take a look at the document and familiarize                 15   cause.
   16   yourself with it, but I'm going to ask you about            16         A. I couldn't say that we are a
   17   Page 4 to start.                                            17   cause, because we have the proper controls in
   18         A. Is this our document or the                        18   place to prevent diversion, and we do not sell
   19   government document?                                        19   products to pharmacies that we believe are
   20         Q. It's the government's document.                    20   dispensing products for other than legitimate
   21             So if you turn to Page 4. If I                    21   medical use.
   22   could get you to -- well, I'll read it for you.             22         Q. Would you agree that illicit pain
   23   The first full paragraph.                                   23   clinics, as mentioned here, are part of a cause
   24             "The illicit pain clinics, the                    24   of the opioid epidemic?

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    1             MS. WICHT: Object to the form of          1            MS. WICHT: Object to the form of
    2         the question. Asked and answered.             2        the question.
    3         A. To be honest with you, without             3        A. Can you repeat that question
    4   having a conclusion that can be reached, a          4   again?
    5   consensus among healthcare professionals, that      5        Q. What were the expectations of the
    6   what is the cause of this epidemic, it will be      6   agency, prior to 2012, in terms of Cardinal
    7   very difficult for me to have a clear position      7   reporting chain pharmacies?
    8   for that because the issue is still being           8            MS. WICHT: Object to the form.
    9   debated.                                            9        A. My understanding on the agreement
   10         Q. So sitting here today, as the             10   that we had with the agency is that we could
   11   person who has been overseeing anti-diversion at   11   rely on the investigation from the
   12   Cardinal Health from 2010 until 2015, you can't    12   anti-diversion program from the chain pharmacies
   13   say whether you think illicit pain clinics are a   13   to make our decisions in terms of -- in terms of
   14   problem in the -- or a cause in the opioid         14   suspicious orders and whether or not we should
   15   epidemic?                                          15   continue the sales to those pharmacies.
   16             MS. WICHT: Object to the form of         16        Q. Okay. I'm going to ask you to
   17         the question.                                17   return to Exhibit 3, if you would. P1.3813.
   18         A. It could but it could not. I              18            And if you'll go to Page 4, and
   19   mean, I would have to have more in-depth studies   19   will you show me under the "Obligations of
   20   done by people that are experts in the field for   20   Cardinal," the paragraph we've already read,
   21   me to reach that conclusion.                       21   where it says that Cardinal can rely on chain
   22         Q. Do you understand --                      22   pharmacies to do their due diligence and
   23         A. There are still debates on that           23   Cardinal doesn't have to report chain pharmacies
   24   issue.                                             24   to the DEA?
                                               Page 131                                                Page 133
    1         Q. Do you understand that illicit             1             MS. WICHT: Object to the form of
    2   pain clinics are clinics in which there is no       2         the question. Mischaracterizes his
    3   real or actual doctor/patient relationship?         3         testimony.
    4             MS. WICHT: Object to the form of          4         A. I just can tell you about the
    5         the question.                                 5   agreements that were reached between the agency
    6         A. I'm not --                                 6   and Cardinal Health, which I was not there but
    7             MS. WICHT: Foundation.                    7   those agreements were communicated to me by
    8         A. I'm not an expert in the field. I          8   members of my staff, by Bob Giacalone, which was
    9   wouldn't know that.                                 9   our senior regulatory counsel at that time, by
   10         Q. And yet, December 1st, 2009,              10   my boss, and that we were meeting all the
   11   Cardinal tasked you with overseeing their          11   expectations of the agency at that point in
   12   anti-diversion programs?                           12   time.
   13             MS. WICHT: Object to the form of         13             Now, one of the agreements that
   14         the question.                                14   was made is that we relied on investigations
   15         A. Cardinal asked me in December 1st,        15   done by the headquarters of chain pharmacies
   16   2009 to oversee a number of programs, while the    16   when we have threshold events that needed to be
   17   regulatory compliance program, including           17   investigated.
   18   anti-diversion. And it's my belief that we had     18         Q. Can you show me in the document
   19   a good program in place that was agreed with the   19   that I handed you where it says that, under
   20   agency and that we were meeting the expectations   20   Cardinal's obligations?
   21   of the agency at that particular time.             21         A. What I'm communicating to you
   22         Q. What were the expectations of the         22   is --
   23   agency at that time, prior to 2012, with regard    23         Q. I'm just -- I'm asking if you can
   24   to Cardinal reporting chain pharmacies?            24   show it to me. It's a yes or no, either you can

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    1   and you do, or you can't.                           1   Cardinal may rely on the due diligence done by
    2            MS. WICHT: Object to the form.             2   chain pharmacies to determine suspicious orders?
    3        Q. Can you show me, Mr. Quintero,              3             MS. WICHT: Object to the form of
    4   where, under the "Obligations of Cardinal," it      4         the question.
    5   says that Cardinal may rely on the due diligence    5         A. (Witness reviews document.)
    6   done by a chain pharmacy to determine if a          6             Repeat the question again so I
    7   suspicious order has been placed?                   7   can -- now that I've read the paragraph again, I
    8        A. What I can tell you is, we reached          8   can answer your question.
    9   the agreement. That agreement was reviewed          9         Q. Okay. Is there anywhere in that
   10   during many years between 2012, including the      10   document in front of you, a spot where it says,
   11   meeting between Barbara Boockholdt, Sue            11   Cardinal may rely on the due diligence done by
   12   Langston, Michael Moné and Nick Rausch. We         12   chain pharmacies to determine suspicious orders?
   13   never got a single call from the FDA saying,       13             MS. WICHT: Object to the form.
   14   hey, by the way, Gilberto, I have concerns that    14         A. There's not that language, but
   15   you guys are not meeting the spirit of the MOA     15   there's no language that says that we could not
   16   during the cyclic inspection. We never got that    16   rely on that either.
   17   indication.                                        17         Q. Okay. So your position is that
   18        Q. Can you show me in the document in         18   because you don't see anything that says you
   19   front of you where that is?                        19   can't rely on someone else's due diligence, that
   20        A. I cannot show you that, but I can          20   it's okay?
   21   show you the discussions between -- I can tell     21             MS. WICHT: Object to form.
   22   you about the discussions that --                  22         Foundation. Calls for a legal
   23        Q. Would you agree --                         23         conclusion.
   24        A. -- that occurred between --                24         A. No. That's -- you're not
                                               Page 135                                                Page 137
    1         Q. You've told me about the                   1   characterizing my testimony appropriately. What
    2   discussions. But would you agree that under the     2   I said, there's not language here either that
    3   Memorandum of Agreement that was signed by          3   says that we cannot rely on other sources as
    4   Cardinal Health and the United States               4   part of our due diligence process. And in
    5   Government, through the DEA, that that is not in    5   communications with the agency, when we told
    6   here?                                               6   them we designed our program, they were in
    7         A. The interpret --                           7   agreement with that.
    8             MS. WICHT: Object to the form of          8         Q. If you would turn to Exhibit 5
    9         the question.                                 9   again. And you may want to keep that one aside
   10         A. The interpretation of this                10   because we're going to talk about that one quite
   11   agreement was discussed with members of the        11   a bit today.
   12   agency, which have found it to be -- which was     12             MS. WICHT: 3, you mean?
   13   found at that time to be satisfactory with the     13             MR. KROEGER: 5.
   14   spirit of the agreement or the language of the     14             MS. WICHT: 5.
   15   agreement.                                         15             MR. KROEGER: It's P1.4085.
   16         Q. And there's that word again, "the         16   BY MR. KROEGER:
   17   spirit" of the agreement. You said that earlier    17         Q. If you could turn to Page 12.
   18   with regard to your supervision of                 18   Down towards the bottom of the full paragraph,
   19   anti-diversion, making sure that people are        19   have you heard the name Mike Arpaio before?
   20   acting within the spirit of the rules and the      20         A. No.
   21   laws.                                              21         Q. I'm going to read this for you.
   22             What I have asked and you have not       22   "DEA staff coordinator Mark -- Mike Arpaio
   23   answered still is: Is there anywhere in that       23   communicated to Mr. Moné" -- that would be
   24   document in front of you a spot where it says,     24   Michael Moné, wouldn't you imagine?

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    1         A. Yes.                                       1   recall the conversation -- Michael having a
    2         Q. -- "that due diligence                     2   conversation with Mark Arpaio. I was not a
    3   investigations must be performed on all             3   party in that conversation.
    4   customers, chain pharmacies included, when it       4         Q. You do supervise Michael Moné or
    5   appears that suspicious high volume orders are      5   you did at this time, didn't you?
    6   requested of controlled substances and              6         A. Yes, I did.
    7   questionnaires should be sent to these chains.      7         Q. Part of your job, within Cardinal,
    8              "Mr. Moné stated in turn that QRA        8   was to ensure that he was following DEA
    9   is unable to look at chain pharmacy systems in      9   regulations, correct?
   10   order to identify problem areas when there is      10             MS. WICHT: Object to the form of
   11   not an order of interest or their threshold is     11         the question.
   12   not exceeded."                                     12         A. My job is to make sure that we
   13              So from this, DEA staff                 13   have a system that will have programs to ensure
   14   coordinator Mark -- Mike Arpaio communicated to    14   that we comply with regulatory requirements.
   15   Cardinal prior to 2012 that chain pharmacies and   15         Q. And you've talked a bit about the
   16   retail -- independent retail pharmacies should     16   fact is that it was in 2012 that the DEA
   17   be treated alike, correct?                         17   suddenly changed their expectations in terms of
   18              MS. WICHT: Object to form.              18   what Cardinal and other distributors had to do;
   19         Foundation.                                  19   is that right?
   20         A. I was not a party to that                 20         A. I think it was a surprise to us
   21   conversation. I don't have that knowledge of       21   that we got an administrative action against
   22   that that particular conversation occurred, the    22   Cardinal Health, because to the best of our
   23   time that it occurred. I don't know what role      23   knowledge, at that time, we were complying, not
   24   Mark [sic] Arpaio had in the agency. So I mean,    24   only with the regulations, but also with the
                                               Page 139                                                Page 141
    1   I would be speculating if I gave you an answer.     1   expectations of the agency.
    2         Q. So if -- if the government has             2         Q. So that surprise came in 2012; is
    3   pled in this that Mike Arpaio communicated that     3   that what you're saying?
    4   to Mr. Moné, are you sitting here today             4         A. That surprise came in 2012. Late
    5   disagreeing with that?                              5   2011, when we had an investigational warrant.
    6            MS. WICHT: Object to the form.             6   We were surprised that we got one because, to
    7         A. I wasn't a party of the                    7   the best of our knowledge, at that time we were
    8   communication between the both of them. You         8   complying with the expectations of the agency
    9   would have to ask Mark Arpaio and Michael Moné.     9   and we were meeting our regulatory requirements.
   10         Q. Did Michael Moné communicate to           10         Q. Will you turn to Page 13 of
   11   you that Cardinal, based on communications with    11   Exhibit 5. Same one you're on, 4085. Page 13.
   12   the DEA, was able to treat chain pharmacies        12   Middle of the page, it was in July, July 7th,
   13   different than independent retail pharmacies?      13   2011, that DEA representatives from DEA
   14         A. My understanding from Michael,            14   headquarters met with Cardinal. And moving
   15   from the time that I came here, is that we have    15   down, "DEA representatives further advised
   16   reached an agreement with the agency and senior    16   Cardinal Health that, with respect to their due
   17   members of the agency on how we were to manage     17   diligence responsibilities, Cardinal Health
   18   our program. We provided a description of our      18   should examine their Florida customers,
   19   program, which includes the reliance of            19   particularly Cardinal Health's retail pharmacy
   20   investigations from chain pharmacy as part of      20   chain customers."
   21   our due diligence process.                         21            So in July, you were notified --
   22            And to the best of my knowledge,          22   Cardinal was notified of an issue in Florida,
   23   that agreement was in place in 2012. So I do       23   and specifically about chain customers; isn't
   24   not recognize Mark Arpaio's name. I do not         24   that correct.

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    1              MS. RANJAN: Object to form.              1   these locations and suggested that if you have
    2         A. I was not a party of that                  2   sold controlled substances to any of these
    3   conversation. I don't know. It doesn't say          3   pharmacies, you consider conducting an on-site
    4   between who in DEA and who at Cardinal Health,      4   audit as part of your suspicious order
    5   so I don't know the facts behind this statement     5   monitoring program."
    6   dated July 7th, 2011.                               6             Do you recall receiving that
    7         Q. So do you dispute that the letter          7   letter from Mallinckrodt?
    8   was sent from the DEA warning Cardinal about the    8         A. I remember Cardinal Health
    9   chain retail pharmacies in Florida, or do you       9   having -- communications with Cardinal Health,
   10   just say that as the senior vice president of      10   including several letters that they sent.
   11   QRA, you were unaware of that warning from the     11         Q. Warning you of particular
   12   DEA?                                               12   customers?
   13              MS. WICHT: Object to form.              13             MS. WICHT: Object to the form.
   14         Foundation. Mischaracterizes the             14         A. Which in every single case, those
   15         document.                                    15   customers were investigated and decisions were
   16              MR. KROEGER: Counsel, can we keep       16   made whether or not to continue doing business
   17         it as object to form, please, as             17   with those customers. The particular one that
   18         protocol requires.                           18   is mentioned in this letter, Cardinal Health
   19         A. That there was a letter? I mean,          19   terminated that customer.
   20   I don't see here there was a letter.               20         Q. And what investigations did
   21         Q. I apologize. They advised                 21   Cardinal Health do before Mallinckrodt told them
   22   Cardinal. The letter came later.                   22   that they were going to cut off their
   23              Do you deny that DEA                    23   chargebacks if they didn't investigate Gulf
   24   representatives advised Cardinal in July of 2011   24   Coast?
                                               Page 143                                                Page 145
    1   of their -- with respect to their due diligence     1         A. We --
    2   responsibilities that Cardinal should examine       2             MS. WICHT: Object to the form.
    3   their Florida customers, particularly Cardinal      3         A. We -- I think, for this particular
    4   Health's retail pharmacy chain customers?           4   customer, recall, we had multiple site visits
    5         A. I cannot --                                5   and investigations.
    6             MS. WICHT: Object to form.                6         Q. None of which led to termination
    7         A. I cannot confirm or deny that              7   until after Mallinckrodt's letter?
    8   particular statement, but I can tell you, me        8         A. I'm not sure if we cut them before
    9   personally, if I was DEA and they were having       9   Mallinckrodt letter or after Mallinckrodt
   10   problems with a compliance program, it would       10   letter, but I can tell you, we investigated
   11   have taken a single call for them to tell me       11   every time that Mallinckrodt had a concern
   12   that they had concern. They never did that.        12   because they had better visibility than us on
   13   And I called DEA more than once, and those calls   13   the purchases of drugs from pharmacies.
   14   were never returned to me.                         14             And every time, every single time
   15         Q. And then on -- if you move down           15   that we were told that they had a concern about
   16   the next paragraph, after a meeting that DEA had   16   a pharmacy, we investigated the pharmacy and we
   17   with Mallinckrodt, Mallinckrodt sent a letter to   17   made a conclusion whether or not we should
   18   43 distributors, including Cardinal Health.        18   continue doing business with that pharmacy
   19   "The letter stated that it was no longer           19   because that pharmacy represented a potential
   20   processing chargebacks from distributor sales of   20   for diversion.
   21   Mallinckrodt's product to certain pharmacies,      21         Q. And I want to go back to 2010,
   22   including Gulf Coast Pharmacy."                    22   because you had additional notice of the issues
   23             Moving down that they "made our          23   in Florida besides the DEA communication to
   24   decision based on our recent site visits to        24   you -- to Cardinal, the letter from

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    1   Mallinckrodt.                                       1         Somebody objected?
    2            You yourself were aware of some            2             MS. WICHT: Yes. She objected to
    3   issues that CVS in particular had in Florida,       3         the form. I think he's just asking you,
    4   weren't you?                                        4         as I understand it, to read the text
    5            MS. WICHT: Object to the form of           5         that's on the page.
    6        the question.                                  6         A. Oh, the text, okay.
    7        A. I was concerned about some of the           7   BY MR. KROEGER:
    8   trends that we were seeing in some of the CVS       8         Q. Yes. "The underlying reasons for
    9   Florida pharmacy.                                   9   increase include," and then if you could read
   10                ---                                   10   after that.
   11      (Cardinal-Quintero Exhibit 6 marked.)           11         A. So jumping to the third bullet,
   12                ---                                   12   "Underlying reasons for the increase include:
   13   BY MR. KROEGER:                                    13   Increased number of SOM events within national
   14        Q. I'm going to hand you what has             14   chain segment, specifically CVS; increase in
   15   been marked as Exhibit 6. It's P1.3778.            15   demand of oxycodone products (reformulation of
   16            MR. HUNTER: Can you provide the           16   Oxycontin); AAP, which is a GPO, continued
   17        Bates number, please?                         17   increase in controlled substances demand;
   18            MR. KROEGER: Yes. It's                    18   competitive pricing, changes drove increased
   19        CAH_MDL2804_00704499 the underscores          19   demand; increased demand in Florida -- Lakeland
   20        between CAH, MDL, and then 280400.            20   had twice the number of SOM events as any other
   21        A. (Witness reviews document.)                21   distribution center."
   22        Q. Mr. Quintero, have you had a               22         Q. So as of September of 2010, you
   23   chance to look at the document?                    23   were aware, based on this slide sent from Nick
   24        A. Yes.                                       24   Rausch to you, that there were increased SOM
                                               Page 147                                                Page 149
    1         Q. Do you recognize that?                     1   events and that in particular, Lakeland had
    2         A. I recognize as a document that             2   twice the number of SOM events as any other
    3   Nick Rausch may have sent to me. Do not recall      3   distribution center in Cardinal's centers?
    4   all of the details of it.                           4         A. I was aware of this, yes. I was
    5         Q. September 19th, 2010 is when               5   aware of this document.
    6   Mr. Rausch sent this to you, correct?               6         Q. Okay. And because of this
    7         A. Yes. From Nick Rausch to me and            7   agreement you think that you had with the DEA,
    8   Michael Moné, yes.                                  8   there was no additional due diligence you needed
    9         Q. Yes. And if you'll turn to Page 4          9   to do with regard to CVS because they were a
   10   of the document, it's an analysis of SOM events.   10   chain pharmacy, correct?
   11   And "SOM" is suspicious order monitoring?          11             MS. WICHT: Object to form.
   12         A. Yes. Threshold events, yes.               12         Foundation. Mischaracterizes.
   13         Q. Can you read the first bullet             13         A. I disagree with that. Something
   14   point for me, please.                              14   that is not included in this is that in -- I
   15         A. "August 2010 experienced a                15   don't believe -- I don't recall it was 2009,
   16   19 percent increase in the number of SOM events    16   2010, Florida didn't allow prescribing
   17   when compared to previous four months."            17   physicians to dispense C2 products in the
   18         Q. And the underlying reasons for the        18   doctor's office, so that volume went to some
   19   increase include -- can you read the next?         19   pharmacies, including some national pharmacies,
   20             MS. RANJAN: Object to form.              20   some retail pharmacies.
   21             MR. KROEGER: Who's objecting?            21             However, I will have to say that
   22             MS. RANJAN: Brandy.                      22   we took this seriously and we increased our
   23         Q. You can go ahead.                         23   scrutiny of Florida stores, including chains.
   24             THE WITNESS: Do I go ahead?              24         Q. And when you say that Florida

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    1   prohibited doctors from prescribing and             1          A. I wouldn't say that all of that
    2   dispensing the drugs at the same time --            2   volume went to pharmacies. Actually, in a
    3          A. They could prescribe, but I               3   deposition made by Joe Rannazzisi to Congress,
    4   believe they were not allowed to dispense           4   he said 99 percent of the pharmacies do good
    5   drugs -- controlled substances that are C2s. I      5   business and they fill prescriptions for
    6   don't recall the schedules that were included,      6   legitimate medical use.
    7   but I remember C2 were one of them.                 7          Q. That's not my question in the
    8          Q. And those --                              8   slightest.
    9              MS. WICHT: Mr. Quintero, I'm             9          A. What was your question?
   10          sorry, could you -- the videographer is     10          Q. As the senior vice president of
   11          asking if you could move your microphone    11   QRA, would you agree, and in your role -- many
   12          up just a little bit, please, because I     12   roles you've had overseeing anti-diversion,
   13          think it's rubbing when you're sitting.     13   would you agree that those pain clinics where
   14              THE WITNESS: A little bit more?         14   there was a doctor prescribing and dispensing
   15          Can you hear me okay? Okay.                 15   and they were shut down, would you agree that
   16   BY MR. KROEGER:                                    16   those were a large contributor to the
   17          Q. What you're talking about are the        17   illegitimate opioid products getting into the
   18   illicit pain clinics we were talking about         18   country?
   19   earlier today that you said you're not an expert   19             MS. WICHT: Object to form.
   20   so you can't say whether or not they were a        20          A. I wouldn't know what the
   21   cause of the opioid epidemic?                      21   percentage of the pain clinics were doing
   22          A. Well, I wouldn't say --                  22   illicit business versus doing business that were
   23              MS. WICHT: Object to the form of        23   not in the best interests of patient. I
   24          the question.                               24   couldn't tell you that number.
                                               Page 151                                                Page 153
    1         A. I would be speculating it was in           1         Q. And since you couldn't tell me
    2   at least the pain clinic. I think that law          2   that number, you also couldn't tell me how many
    3   applied to all physicians.                          3   of those illegitimate patients were now getting
    4         Q. And as the person who was brought          4   their drugs from CVS, could you?
    5   in by Cardinal to help improve and make a more      5            MS. WICHT: Object to form.
    6   robust system for anti-diversion, you would         6         Foundation.
    7   agree, wouldn't you, that the reason, or one of     7         A. There's no way for us to know the
    8   the reasons, that Florida may have enacted such     8   reasons why patients are getting their
    9   a law would be because a lot of people were         9   medications -- I mean, there is government
   10   illegitimately getting controlled substances       10   regulations that prevent us from having access
   11   through those pain clinics, wouldn't you?          11   to individuals' medical records.
   12             MS. WICHT: Objection to form.            12                 ---
   13         Foundation. Speculation.                     13       (Cardinal-Quintero Exhibit 7 marked.)
   14         A. I don't know the reason why the           14                 ---
   15   Florida legislature implemented that. We had to    15   BY MR. KROEGER:
   16   adapt to that reality. I'm assuming that that      16         Q. I hand you Exhibit 7. It's 3786.
   17   also limited the ability of oncologists to         17   The Bates is CAH_MDL2804_01103874.
   18   dispense pain medication to cancer patients.       18         A. Uh-huh.
   19         Q. Okay. But as the senior vice              19         Q. If you would take a look at that
   20   president of QRA brought in, you would agree       20   document for me, please.
   21   that a tremendous amount of illegitimate           21         A. (Witness reviews document.)
   22   controlled substances were gained through those    22            Yep.
   23   pain clinics, wouldn't you?                        23         Q. And this is another e-mail sent
   24             MS. WICHT: Object to the form.           24   from Nick Rausch to you in 2010; is that right?

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    1        A. Correct.                                   1   sure we're on the same page.
    2        Q. October 22nd, 2010, Nick sent this         2         A. Yes, we're on the same page.
    3   to you?                                            3         Q. And this is in regard to CVS 219
    4        A. Correct.                                   4   and an e-mail dated September 30th, 2010.
    5        Q. And on Page 2, you see a specific          5   Skipping down to the middle of the paragraph,
    6   pharmacy that this is in relation to, don't we?    6   the e-mail stated that, "At that time, CVS
    7        A. Yeah. It's pharmacy -- CVS                 7   experienced an increase in sales of oxycodone
    8   Pharmacy 219.                                      8   due to the DEA closing stores in the area.
    9        Q. That's a familiar number, right?           9   Again earlier this week, because of our request,
   10        A. Yep.                                      10   he sent another e-mail to LP (loss prevention)
   11        Q. So as early as October of 2010,           11   asking them to take a fresh look. He received a
   12   you had asked for and received information        12   response yesterday and they have reviewed the
   13   specific to this one pharmacy in Sanford,         13   store's activities and they have been closely
   14   Florida, correct?                                 14   monitoring store 219 for a couple of weeks.
   15        A. Uh-huh.                                   15             "None of these stores show
   16             MS. WICHT: Object to the form.          16   significant growth or shrink issues. They
   17        Q. And that pharmacy, as you'll see          17   acknowledge that Florida has been cracking down
   18   on Page 2, had high quantities when compared to   18   on 'pill mills' and that is driving more
   19   other CVS stores, high quantities of oxycodone,   19   legitimate traffic to CVS stores."
   20   correct?                                          20             Is this the response you're
   21        A. Correct.                                  21   talking about?
   22        Q. In fact, they had 2800 percent            22             MS. WICHT: Object to form.
   23   more than average CVS store over the past three   23         A. This is some of the language that
   24   months, 725,000 units of oxycodone compared to    24   was used in -- I believe in a memo that was sent
                                              Page 155                                                Page 157
    1   average of 25,000. Correct?                        1   back to us.
    2        A. Correct.                                   2         Q. What's a "pill mill"?
    3        Q. So when you received this                  3         A. My understanding of a pill mill is
    4   information in 2010, did you report 219 to the     4   a pharmacy that may fill some of their
    5   DEA?                                               5   prescriptions for other than legitimate medical
    6        A. No. We requested to have the               6   use. But that there's a language here that it
    7   meeting with CVS to better understand why this     7   was driving legitimate traffic to the CVS
    8   particular pharmacy had an increase in the         8   stores.
    9   purchase of some controlled substances. CVS        9         Q. So Florida cracks down on pill
   10   committed to do a thorough investigation on the   10   mills, which you acknowledge are places where
   11   reasons why, and they provided us with a          11   illegitimate pills may be sold, right?
   12   statement on why those particular stores were     12         A. Could be part of the sales of that
   13   buying more than the average CVS store.           13   particular store maybe for legitimate medical
   14        Q. Okay. If you'll go back to                14   reasons and not for legitimate medical reasons.
   15   Exhibit 5 for me. It's the 4085. And you'll       15         Q. Florida cracks down on those pill
   16   turn to Page 27, please. It's the large one       16   mills and then suddenly CVS has a growth in
   17   we've been doing.                                 17   business?
   18        A. Uh-huh.                                   18             MS. WICHT: Object to the form.
   19        Q. If you will turn to Page 27, I            19         A. If there's less pharmacies in the
   20   think we can find the text of that response.      20   area, I'm assuming that some of that will drive
   21        A. 27?                                       21   legitimate traffic to the CVS stores.
   22        Q. Yes, sir.                                 22         Q. So if the flow of opioids going to
   23            You see at the top how it says,          23   pill mills is diverted by the government
   24   "Carter will also testify"? I just want to make   24   shutting them down, then that flow is going to

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    1   go to CVS? Would you agree?                         1   day did he go?
    2             MS. WICHT: Object to the form of          2         A. I don't recall the time. I cannot
    3         the question.                                 3   tell you from the top of my head.
    4         A. I wouldn't say that would be the           4         Q. Morning, afternoon, evening?
    5   case. I'm assuming the pharmacists at CVS were      5             MS. WICHT: Object to form.
    6   doing their correspondence responsibility in        6         A. I cannot remember from the top of
    7   determining whether or not those particular         7   my head when he go, but when he went there --
    8   scripts were for legitimate medical purposes and    8   and he was there for a period of time -- he did
    9   that the traffic -- that additional traffic that    9   not observe a single sign of diversion. So I
   10   they were getting was as a result of other         10   mean, I trust his judgment, I -- that his
   11   stores in the area that had been closed. That      11   opinion, with the language that we got from CVS,
   12   may have had legitimate traffic as well as         12   led me to believe that that store at that
   13   traffic that is illegitimate.                      13   particular time was operating as any good
   14         Q. So you're agreeing, then, that            14   pharmacy should operate.
   15   there may be illegitimate traffic that had gone    15         Q. A store that had a 2800 percent
   16   to CVS as a result of the pill mills?              16   more oxycodone over three months than the
   17         A. No, I never said that.                    17   average CVS, and you as the senior vice
   18             MS. WICHT: Object to the form of         18   president of QRA for Cardinal Health took CVS's
   19         the question.                                19   word and one site visit to determine that it was
   20         A. I never said that. I said that,           20   all legitimate traffic?
   21   you know, my understanding at that time was that   21             MS. WICHT: Object to the form.
   22   the pharmacist at CVS was doing their              22         Mischaracterizes.
   23   corresponding responsibility, and according to     23         A. Based on the information that I
   24   the text, is that they -- if the traffic that      24   received from CVS, as well as our own site
                                               Page 159                                                Page 161
    1   was getting to the CVS stores were legitimate       1   visit, we did not have a reason to believe that
    2   traffic, as stated here by -- this document, I      2   CVS 219 was filling prescriptions other than for
    3   think, came from Ruth Carter.                       3   legitimate medical purposes.
    4         Q. So as a senior vice president of           4         Q. And who did the site visit?
    5   QRA, responsible for the entire anti-diversion      5         A. Chris Forst.
    6   program of Cardinal Health, is it your testimony    6         Q. And you don't know what time of
    7   that when Florida shuts down these pill mills       7   day Chris Forst went?
    8   that you acknowledge are a source of                8         A. Don't recall.
    9   illegitimate opioids, that the resulting flow of    9         Q. Are you aware that this CVS was
   10   opioid patients, people getting opioids, only      10   selling so much oxycodone that they regularly
   11   the legitimate people go to CVS?                   11   ran out before noon?
   12             MS. WICHT: Object to the form.           12            MS. WICHT: Object to the form.
   13         A. The illegitimate?                         13         A. I don't know that.
   14         Q. The legitimate.                           14         Q. Okay. As senior vice president of
   15         A. Well, I couldn't tell -- I                15   QRA, shouldn't you?
   16   couldn't answer that question, but I can answer    16            MS. WICHT: Object to form.
   17   that, in addition to this document that we got     17         A. I don't monitor when drugs are
   18   from CVS, I sent one member of my staff to park    18   being dispensed. I don't think that that is
   19   in front of store 219 and determine whether        19   possible to do.
   20   there were obvious signs of diversion, like cars   20         Q. To be clear, are you saying it's
   21   with license plates from out of states, long       21   not possible for Cardinal to monitor when drugs
   22   lines. And when he came back to me, he said, I     22   are being sold? Is that what you just said?
   23   did not see anything unusual in 219.               23         A. You will have to have --
   24         Q. What time did he go? What time of         24            MS. WICHT: Object to form.

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    1         A. You will have to have somebody in          1   the e-mail.
    2   front of the store 24/7 to see when the drugs       2         Q. Okay. And that's -- I wanted to
    3   are being filled. If you want me to tell you,       3   try to clarify. So if you could stay on the
    4   you know, my assumption is, customer goes to        4   first page real quick. Just -- I want to make
    5   pharmacies throughout the day, not only at one      5   clear what this is.
    6   particular time. I don't even remember if these     6             It says, "Gilberto, per your
    7   are 24-hour stores or not. Could be. But it         7   request, attached please find the presentation
    8   would require having a member of my staff in        8   prepared for the December 2010 meeting with
    9   front of each single pharmacy in the United         9   CVS."
   10   States to see the dispensing patterns of all       10         A. Okay. So it's likely that it was
   11   those stores.                                      11   for a presentation that we made to CVS in 2010.
   12         Q. Or it might just require some due         12         Q. Do you remember that meeting in
   13   diligence; would you agree?                        13   2010 that you had with CVS?
   14              MS. WICHT6: Object to the form.         14         A. Yes, I remember that meeting.
   15         Is that a question?                          15         Q. And the purpose of that meeting
   16              MR. KROEGER: It is. I said              16   was what?
   17         "would you agree."                           17         A. Was to discuss with CVS our -- I
   18              MS. WICHT: Object to the form.          18   need to -- can I go over the slides just to
   19              Why don't you answer that before        19   refresh my mind first?
   20         you -- or --                                 20         Q. Absolutely.
   21         A. We did our due diligence.                 21         A. (Witness reviews document.)
   22                  ---                                 22             (Pause in proceedings.)
   23       (Cardinal-Quintero Exhibit 8 marked.)          23         A. Yes.
   24                  ---                                 24         Q. Do you recall this presentation?
                                               Page 163                                                Page 165
    1   BY MR. KROEGER:                                     1          A. Yeah, I remember this presentation
    2        Q. I've handed you 3782,                       2   now.
    3   CAH_MDL2804_01087475.                               3        Q. And this was from a meeting that
    4             THE WITNESS: Is that this one?            4   you were personally at with CVS in 2010?
    5             MS. WICHT: Yes, that's this               5        A. I was with Michael Moné and some
    6        document. That was the number that he          6   of the members of the CVS management team.
    7        read in, I believe.                            7        Q. But you were personally there?
    8             THE WITNESS: Okay.                        8        A. I was there.
    9   BY MR. KROEGER:                                     9        Q. Okay. And it was December of 2010
   10        Q. Do you have 3782 at the top?               10   that you had the meeting?
   11        A. Yep.                                       11        A. It appears that was the date. I
   12        Q. Okay. We can walk through this.            12   don't have any reason to believe that it did not
   13   This is -- can you tell who this e-mail is from?   13   occur during December 2010.
   14        A. This is from Nick Rausch.                  14        Q. If you turn to Page 5 of this.
   15        Q. When did he send it to you?                15        A. You asked me first, and I didn't
   16        A. Sent it to me in -- on March 22,           16   answer your question, which I don't know if I
   17   2012.                                              17   should, is what was the purpose of the meeting.
   18        Q. And what is it exactly that he is          18        Q. Go ahead.
   19   sending you?                                       19        A. Do you want me to answer that
   20        A. Sending me a PowerPoint                    20   question?
   21   presentation of CVS stores that were being         21        Q. Sure.
   22   reviewed.                                          22        A. Should we -- sorry about that.
   23        Q. When were they being reviewed?             23            MS. WICHT: I won't object to the
   24        A. I'm assuming in -- when he sent me         24        witness' own question. That's okay.

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    1            Go ahead.                                  1         Q. November of 2010, quantity is 537
    2        A. The purpose of the meeting was to           2   percent above CVS store monthly average of 8300
    3   go over our program with CVS and provide them       3   dosage units.
    4   with a few of -- some stores that we needed more    4         A. Uh-huh.
    5   information.                                        5         Q. That caused concern?
    6        Q. Okay. And on Page 5, CVS stores             6              MS. WICHT: Object to the form.
    7   created 468 suspicious order monitoring events      7         Q. That caused Cardinal some concern,
    8   in 2010.                                            8   didn't it?
    9        A. Uh-huh.                                     9         A. That caused, you know, us being
   10        Q. How many of those were resolved            10   concern of wanting to have more information
   11   with the order being released?                     11   about that particular store.
   12        A. I could not say that.                      12         Q. And if that had been an
   13        Q. If you look down the slides, you           13   independent retail pharmacy, would you have
   14   can.                                               14   asked that independent retail pharmacy the
   15        A. I guess, according to this                 15   reason, or would you have done your own due
   16   document, it's 90 percent of them were reviewed    16   diligence?
   17   and resolved and the order was released.           17              MS. WICHT: Object to form.
   18        Q. So that means that there was a             18         A. We would have first called the
   19   suspicious order monitoring event and -- 468 of    19   pharmacy to try to understand the reason.
   20   them, and 90 percent of the time those orders      20         Q. And if they gave you any reason at
   21   were reviewed and released, correct?               21   all, would you just accept it?
   22        A. According to this document, that's         22              MS. WICHT: Object to form.
   23   what it says, yes.                                 23         A. Depending on the reason that it is
   24        Q. And 6 percent of the 468                   24   and whether or not it seems credible or not.
                                               Page 167                                                Page 169
    1   suspicious order monitoring events were             1         Q. What's a credible reason for 537
    2   confirmed order entry errors; is that right?        2   percent above the monthly average of 8300 dosage
    3         A. That's what it says there.                 3   units?
    4         Q. So then, does that mean that only          4             MS. WICHT: Object to form.
    5   4 percent of the 468 suspicious order monitoring    5         A. There could be many valid reasons.
    6   events had any issue at all that was suspicious?    6   I don't know for this particular one, but I can
    7              MS. WICHT: Object to the form of         7   tell you that sometimes, pharmacies take over
    8         the question.                                 8   hospices to provide drugs to cancer patients
    9         A. I wouldn't say that the event              9   that are about to die and they have a new
   10   itself, just by hitting the threshold was          10   account with a hospice, or there may be a new
   11   suspicious, it required the analysts or the        11   hospital opening nearby. There are many -- it
   12   investigators to do additional evaluation and do   12   could be they bought, you know, the script
   13   that determination.                                13   from -- the account from other pharmacies that
   14         Q. Do you know what evaluation they          14   closed in the nearby area.
   15   did?                                               15         Q. Okay.
   16         A. I don't recall. This was -- this          16         A. So there are many reasons for
   17   happened in 2010, so I don't recall exactly what   17   that. And these particular reasons, I do not
   18   was going on. I recall that we requested CVS       18   recall from the top of my head.
   19   additional information about the stores that are   19         Q. As senior vice president of QRA at
   20   listed in this document.                           20   the time, is that something you would like to
   21         Q. So if we turn to Page 11, CVS             21   have known?
   22   pharmacy 1136, November of 2010.                   22             MS. WICHT: Object to form.
   23              Do you see that?                        23         A. Our process, as I described
   24         A. Uh-huh.                                   24   before, and during this deposition, is we had an

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    1   agreement with DEA that we will use the             1   in their stores. But they do not have a vault,
    2   investigations from the chain pharmacies to help    2   so we are their primary supplier of controlled
    3   us reach our own conclusions.                       3   substances, at least for those stores in that
    4             In this particular case, I                4   region of the country.
    5   remember asking the members of the CVS staff to     5         Q. So because they don't have a
    6   do an investigation of all these particular         6   vault, a nearly 7,000 percent over monthly
    7   stores and to get to me back in writing the         7   average isn't concerning?
    8   conclusions of their investigations, which they     8         A. That was --
    9   did at a future date.                               9             MS. WICHT: Object to form.
   10         Q. Okay. To try to summarize what I          10         A. That wasn't the question that you
   11   think you just said -- I want to be clear -- it    11   asked me. You asked me if 60 percent of the
   12   sounds to me as if you're saying that you          12   purchases, if that was concerning that they were
   13   believed the DEA had told Cardinal that you        13   controlled substances. And I said, probably not
   14   could rely on CVS to do the due diligence as to    14   because we had the agreement with CVS because
   15   these kinds of suspicious orders, and because of   15   they don't a vault, we supply all of their C2.
   16   that agreement with the DEA, CVS gave you a        16   They supply most of their other drugs out of
   17   reason that you found sufficient, then you         17   their own warehouses.
   18   needed to do nothing more?                         18         Q. Including, at that time,
   19             MS. WICHT: Object to form.               19   hydrocodone?
   20         A. I'm not saying that. In many              20         A. I don't recall at that time if
   21   cases we did more investigation, our own           21   that particular warehouse that CVS was using had
   22   investigations, like what I showed you in 219.     22   a vault.
   23   CVS gave us a reason. I wanted to confirm that     23         Q. And if you'll turn to Page 13.
   24   the reason was credible, so I sent my own          24   Again, another CVS with, this time, 453 percent
                                               Page 171                                                Page 173
    1   investigator to CVS 219 to do a surveillance        1   above CVS store monthly average of dosage units
    2   inspection of that particular pharmacy, and he      2   of oxycodone. Right?
    3   didn't find a single sign of diversion at that      3         A. Yep. That's what it says in the
    4   time.                                               4   document.
    5        Q. Okay. If you turn to Page 12 for            5         Q. And that caused you concern, is
    6   me, please. This is another CVS. CVS Pharmacy       6   Cardinal Health distributing that much oxycodone
    7   0174. And another November 2010 quantity. This      7   to a single CVS store?
    8   one is 6977 percent above CVS store monthly         8         A. The increase gave us concern.
    9   average of 700. And that causes Cardinal some       9   That's why we met with CVS. We expressed our
   10   concern, doesn't it?                               10   concerns, and we requested an investigation of
   11             MS. WICHT: Object to form.               11   these stores that are listed in this document.
   12        A. It gave us concern and we wanted           12         Q. And on Page 14, CVS 3639 had a 244
   13   to know the reasons why the store had an           13   percent above CVS monthly average of 8,300; is
   14   increased volume for particular controlled         14   that right?
   15   substances. We wanted an explanation --            15         A. Correct. That's what it says in
   16   investigation and an explanation in writing from   16   the document.
   17   CVS, which they submitted at a later time.         17         Q. And again, that caused Cardinal
   18        Q. And in this particular case, store         18   concern?
   19   174, over 60 percent of purchases are for          19         A. All the stores that are presented
   20   controlled substances.                             20   in this document we highlighted as stores that
   21             Would that be a red flag to you?         21   we needed more information from CVS.
   22        A. Not necessarily, because CVS               22         Q. Okay.
   23   warehouses all their noncontrolled substances.     23         A. So the answer is the same for all
   24   We only sell a fraction of what CVS store sells    24   the stores. We wanted to have additional

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    1   information from CVS. Our system were to            1         A. I cannot tell you whether or not
    2   identify stores that we needed additional           2   we documented every single conversation that we
    3   information, and according to our process and       3   had with CVS.
    4   the agreement that we had with the agency, we       4         Q. Can you tell me that Cardinal
    5   executed that. And on top of that, we sent          5   documented the due diligence that you did with
    6   people with some of the stores to do                6   regard to these stores?
    7   surveillance inspections.                           7         A. We documented, you know --
    8         Q. And some of these stores in                8             MS. WICHT: Object to the form.
    9   particular?                                         9         A. -- the outcome of our presentation
   10         A. Well, I don't know if this store,         10   to CVS and also the conclusion of their
   11   but some of the CVS stores we have performed       11   investigation. I know that for a fact, because
   12   surveillance inspections.                          12   I remember seeing those documents. Anything
   13         Q. Well, these are the stores that in        13   else, I'm not into the day-to-day execution of
   14   December of 2010 you thought suspicious enough     14   the program, so you're asking me for questions
   15   that you wanted to bring it to CVS's attention     15   that are based on day-to-day execution, and I'm
   16   directly, right?                                   16   not the best person to answer those.
   17         A. Yep. And --                               17         Q. No. But you, at this time,
   18             MS. WICHT: Object to the form of         18   oversaw all of those people and were responsible
   19         the question.                                19   for them following the law, weren't you?
   20         A. -- these were stores that the data        20         A. I over --
   21   provided here gave -- an analysis that we did      21             MS. WICHT: Object to the form of
   22   highlighted these stores as stores that we         22         the question.
   23   needed additional information and that we          23         A. I oversee over 2,000 people in my
   24   requested additional information from CVS. We      24   department. I don't have intimate knowledge of
                                               Page 175                                                Page 177
    1   requested for them to do an investigation of        1   what each one of those members in my department
    2   each one of those stores and to provide us with     2   execute on a daily basis.
    3   the conclusion of their investigation.              3        Q. Ultimately, the responsibility
    4        Q. And for any of these stores, did            4   comes all the way up to you for them doing their
    5   Cardinal do any of its own due diligence, aside     5   job correctly, though, doesn't it?
    6   from asking CVS?                                    6        A. I have responsibility --
    7            MS. WICHT: Object to the form.             7            MS. WICHT: Object to the form.
    8        A. Right now, I recall me asking               8        A. I have responsibility for having
    9   about going to 219, but I'm not in a position to    9   programs to help Cardinal Health meet all of the
   10   say whether or not we went to any of these         10   regulatory requirements.
   11   stores. Michael Moné may have made that            11        Q. Okay. And so you said for each of
   12   request. Nick Rausch may have made that            12   these stores, you -- the purpose of this meeting
   13   request. I do not remember that. I do not          13   was to have CVS look into these stores and then
   14   know.                                              14   they would let you know what they found?
   15        Q. Anything besides site visits that          15        A. Correct.
   16   you can recall for any of these stores that        16        Q. And that was the due diligence you
   17   Cardinal did with regard to due diligence?         17   were going to do for these particular stores, to
   18        A. I know there were conversations            18   your knowledge?
   19   between Michael and members of the CVS             19            MS. WICHT: Object to form.
   20   anti-diversion program.                            20        A. Based on the agreement that we had
   21        Q. And all of that would be                   21   with DEA in 2009, the process was, when we had a
   22   documented in the due diligence files for each     22   concern about a chain store is to have the chain
   23   of these stores?                                   23   stores perform an investigation on any pharmacy
   24            MS. WICHT: Object to the form.            24   that belonged to them that we had, you know, the

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    1   need for additional information.                   1              MS. WICHT: Object to form.
    2        Q. Okay. And after that December              2         A. I know information that goes into
    3   2010 meeting, CVS got back to you with the         3   the due diligence file, but you were asking me
    4   results of their investigation, correct?           4   if every single document goes into due diligence
    5        A. CVS wrote us a memo.                       5   file, and I couldn't tell you that.
    6                 ---                                  6         Q. So you know what goes into it but
    7      (Cardinal-Quintero Exhibit 9 marked.)           7   you don't know what doesn't go into it?
    8                 ---                                  8              MS. WICHT: Object to the form.
    9   BY MR. KROEGER:                                    9         Q. I'm unclear.
   10        Q. I'm going to hand you what's been         10         A. Unclear about what?
   11   marked as Exhibit 9. It's 4334. It is             11         Q. About what you mean when you say
   12   CAH_MDL_PRIORPROD_DEA12_00011853.                 12   you know what goes into the due diligence files
   13        A. Uh-huh.                                   13   but you don't know if this would have gone into
   14        Q. If you would look at that,                14   it or not.
   15   Mr. Quintero. Is this the memo that you're        15         A. I know about the content of some
   16   talking about that CVS got back to you?           16   due diligence files because I have seen some of
   17        A. (Witness reviews document.)               17   the due diligence files. Can I tell you that I
   18            (Pause in proceedings.)                  18   know every single document that goes into a due
   19        A. Yes, this is the -- one of the            19   diligence files? I don't think that I can tell
   20   memos that I'm talking about.                     20   you that.
   21        Q. Were there any other memos that           21         Q. And after you had this
   22   they may have sent?                               22   presentation -- or Cardinal had this
   23        A. I wouldn't know, but I remember           23   presentation with CVS in December of 2010, CVS,
   24   seeing this particular one.                       24   as we go down to the last two paragraphs of this
                                              Page 179                                                Page 181
    1         Q. And if they had sent any other,           1   page, Page 1, they let you know that they --
    2   would those go in the due diligence files for      2   that teams interviewed pharmacy staff, reviewed
    3   those particular stores?                           3   controlled substance ordering, receiving and
    4             MS. WICHT: Object to the form.           4   dispensing procedures, controlled substance
    5         A. I'm assuming they are in the              5   records and reports and security. The teams
    6   possession of somebody at Cardinal Health. I       6   also audited certain drugs.
    7   would assume that.                                 7            Do you know which drugs?
    8         Q. But this isn't something that             8         A. No, I don't know what drugs they
    9   would go into a due diligence file for store       9   were referring to.
   10   174, for instance?                                10         Q. Okay. But CVS let you know that
   11         A. It will go to -- it will be filed.       11   they audited certain drugs?
   12   But like I told you before, I don't have an       12         A. They did that.
   13   intimate knowledge of what -- every single        13         Q. Do you know which pharmacy staff
   14   activity that is done out of the 2000 people      14   they interviewed?
   15   that report into my organization. So my           15         A. In the previous paragraph that you
   16   assumption is they have some kind of filing       16   are not reading, it says they met with CVS
   17   system, and I recall this document. This          17   stores 0174, Daytona Beach; 1136 in Homestead;
   18   document was important to me because I was part   18   2732 Hollywood; 2848 in Pompano Beach; and
   19   of that meeting, so I requested to see this       19   3939 -- 36 -- pardon me, 3639 in Bushnell.
   20   document.                                         20            I'm assuming -- the assumption is
   21         Q. And as senior vice president of          21   that they visited those stores and they talked
   22   QRA for Cardinal at this time, you don't know     22   to personnel from those stores, including
   23   what goes into the due diligence files?           23   pharmacy staff, according to the previous
   24         A. I know --                                24   paragraph.

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    1         Q. Right. But you don't know which            1         A. My assumption, when reading the
    2   pharmacy staff at those various stores that they    2   letter, is that the team interviewed pharmacy
    3   talked to?                                          3   staff included pharmacists, because they're the
    4         A. It indicates pharmacy staff.               4   one dispensing the product.
    5         Q. And my question to you is: Do you          5         Q. But you don't know that based on
    6   know which pharmacy staff they spoke to at those    6   what CVS told you, do you?
    7   stores?                                             7         A. I think that would be a good
    8         A. I could not tell you. I would be           8   assumption to make, based on this memo.
    9   speculating if I tell you which pharmacy staff.     9         Q. So when you take the time to meet
   10         Q. But you're aware there are                10   with CVS, present to them a number of stores
   11   multiple different types of jobs and roles and     11   that cause Cardinal concern, you as a senior
   12   positions in a pharmacy, right?                    12   vice president of QRA feel comfortable basing
   13             MS. WICHT: Object to the form.           13   your decision to continue shipping to these
   14         A. In a pharmacy, there may be               14   stores on an assumption that they must have
   15   different people at the pharmacy.                  15   talked to the pharmacist?
   16         Q. Pharmacists in charge, or                 16              MS. WICHT: Object to form.
   17   pharmacist tech; any number of different           17         Mischaracterizes.
   18   positions in a pharmacy, right?                    18         A. It is not -- not on the
   19         A. Uh-huh.                                   19   assumption. This is based on the facts that CVS
   20         Q. But you can't say which of those          20   conducted an investigation of those particular
   21   staff members CVS may or may not have spoken to    21   pharmacies and that they deemed that those
   22   at these stores?                                   22   pharmacies were dispensing product for
   23             MS. WICHT: Object to the form.           23   legitimate medical purpose.
   24         A. Or in the previous paragraph, two         24         Q. What receiving --
                                               Page 183                                               Page 185
    1   paragraphs before that, they talk about meeting     1       A.    As stated in the last paragraph of
    2   with the pharmacist at the site to make sure        2   Page 1.
    3   that they understood, you know, the                 3       Q.     We'll get there.
    4   dispensing --                                       4             What receiving and dispensing
    5          Q. Go ahead and read directly from           5   procedures did CVS review with -- in this
    6   it, if you don't mind.                              6   investigation?
    7          A. "Since our meeting, CVS has               7        A. I don't know the details of that.
    8   undertaken action to address your concerns about    8   I wasn't there during the investigation.
    9   those specific pharmacies to address suspicious     9        Q. No, you weren't.
   10   ordering and dispensing generally. CVS has         10             What controlled substance records
   11   distributed guidelines that reinforce the          11   and reports did they review?
   12   company's position that pharmacists use their      12        A. I wasn't there during the
   13   professional judgment when determining whether     13   investigation, so I cannot tell you that.
   14   to fill prescriptions.                             14        Q. What security did they review?
   15              "The guidelines identify                15        A. I cannot tell you that because I
   16   inappropriate prescription-seeking behavior and    16   was not part of the investigation.
   17   advise pharmacists how to minimize risk of         17        Q. But CVS told you that they did
   18   dispensing for other than legitimate               18   some sort of a review of all of these things,
   19   prescriptions."                                    19   but you don't know what specifically they
   20          Q. So this paragraph doesn't say that       20   reviewed, do you?
   21   CVS went and interviewed pharmacists; it says      21             MS. WICHT: Objection. Asked and
   22   that it sent guidelines to those pharmacists,      22        answered.
   23   correct?                                           23        A. Can you repeat the question again?
   24              MS. WICHT: Object to the form.          24        Q. CVS told you that they reviewed a
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    1   number of different things, but you don't           1   the proportion of opiates that is their business
    2   actually know what specifically they reviewed.      2   versus other business.
    3   You don't know which pharmacy staff they            3         Q. Would you agree, though, that
    4   interviewed, do you?                                4   whatever proportion it is, it could be directly
    5             MS. WICHT: Objection. Asked and           5   impacted by Cardinal deciding not to sell
    6         answered.                                     6   opioids to CVS?
    7         A. Here it's stated on Paragraph --           7             MS. WICHT: Object to form. Calls
    8   "The teams interviewed pharmacy staff, reviewed     8         for speculation.
    9   controlled substances ordering, receiving,          9         A. That would be speculating if I
   10   dispensing procedures, controlled substances       10   give you a specific answer. I do not know that.
   11   records and report and security. The teams also    11         Q. And counsel has done a good job of
   12   audited certain drugs."                            12   guiding you into that answer. But would you
   13             But it chose that they did an            13   agree that CVS, as a public corporation that has
   14   investigation, including those elements listed     14   a profit motive, would lose some profits if it
   15   in -- in Paragraph 4.                              15   was no longer able to sell opioids that Cardinal
   16         Q. And again, the question, though,          16   distributed?
   17   is: The specifics of those reviews, you don't      17             MS. WICHT: Object to form. Calls
   18   know anything more than what's right here, do      18         for speculation.
   19   you?                                               19             MR. KROEGER: Can you keep it to
   20         A. Again, I have --                          20         object to form, please?
   21             MS. WICHT: Objection. Asked and          21             MS. WICHT: I understand you're
   22         answered.                                    22         accusing me of coaching. You're asking
   23         A. I have told you that I was not a          23         the witness to testify about the profit
   24   party in the audit, so I cannot tell you the       24         structure and the income of an entirely
                                               Page 187                                                Page 189
    1   specifics of it, but I trust that CVS did what      1          separate company.
    2   they committed to us, which was to do an            2              MR. KROEGER: All objections are
    3   investigation based on the data that we             3          to be as to form only.
    4   presented to them and that the investigation was    4              MS. WICHT: Object to form. Calls
    5   valid.                                              5          for speculation.
    6         Q. Do you know if CVS has any sort of         6          A. You know, if -- I don't even know
    7   profit motive in their business model?              7   if -- there are sometimes that you have to carry
    8             MS. WICHT: Object to the form.            8   products in a supermarket that makes no profit,
    9         A. I don't understand --                      9   but you have to have it in order for the -- to
   10             MS. WICHT: And speculation.              10   be a complete offering. I don't know if they
   11         A. I don't understand the question.          11   sold -- I mean, what are the profits of opioids
   12         Q. Do you think that CVS is a                12   for CVS? I don't work there.
   13   corporation that seeks to make profits?            13              And even if I work there, I'm a
   14             MS. WICHT: Object to the form.           14   quality professional, not a salesperson or in
   15         A. I believe CVS is a public company,        15   the finance department to determine what is the
   16   that like all the public companies, seek to make   16   profit margin on opioids that they made. I
   17   a profit.                                          17   don't know that. I don't even know if that will
   18         Q. And would you agree that if CVS           18   stop other customers from going to the store. I
   19   doesn't receive opioids from Cardinal, they will   19   do not know that. I would be speculating.
   20   lose some of those profits because they can't      20   You're asking me to answer something that I have
   21   sell them?                                         21   no knowledge of.
   22             MS. WICHT: Object to form. Calls         22          Q. You were the senior vice president
   23         for speculation.                             23   of QRA at Cardinal Health, correct?
   24         A. I wouldn't -- I couldn't tell you         24          A. I am.

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    1         Q. And in that role, a primary duty           1   Cardinal; is that right?
    2   was to ensure a robust anti-diversion program       2             MS. WICHT: Object to the form.
    3   from Cardinal, correct?                             3         A. And there's more language in there
    4         A. It requires us to meet our                 4   on the second page, too.
    5   regulatory requirements, yes.                       5         Q. But that paragraph, is that
    6         Q. And the only reason -- well,               6   correct?
    7   you're now also saying that you don't know if       7         A. That paragraph that you read is in
    8   opioids are profitable for CVS?                     8   the letter, yes, correct.
    9         A. I don't know the profit structure          9         Q. So based on some sort of a review
   10   of -- CVS has on opioids. I cannot tell you        10   that you weren't a part of, so you don't know
   11   that.                                              11   the details of, CVS has told you that they found
   12         Q. You won't even go so far as to say        12   no evidence of controlled substance diversion or
   13   that you believe, as someone who has worked with   13   significant losses?
   14   CVS and who has worked in the business world,      14         A. That's the information --
   15   you won't even go so far as to say that CVS        15             MS. WICHT: Object to the form.
   16   likely profits off of opioids?                     16         A. That's the information that was
   17             MS. WICHT: Object to the form.           17   provided to us by CVS.
   18         A. I cannot tell you the answer to           18         Q. And then if we turn to the last
   19   that because I would be speculating. I don't       19   paragraph that you were -- based on that review
   20   know how much money they make in opioids, what     20   that you don't know the details of, CVS is
   21   are the investment that they have to do to be      21   telling you, "CVS is comfortable with Cardinal
   22   able to sell opioids. So I cannot tell you         22   continuing to ship controlled substances to
   23   that. I mean, you're asking me to answer a         23   these pharmacies and look forward to continuing
   24   question that is beyond my understanding about     24   to work with you to address matters of mutual
                                               Page 191                                                Page 193
    1   CVS business model.                                 1   concern. Please let me know if you still have
    2         Q. I'm asking you to answer a real            2   concerns about these pharmacies or if you have
    3   world question about the fact that opioids are      3   concerns about others."
    4   profitable for corporations.                        4         A. Uh-huh.
    5             MS. WICHT: Is that a question?            5         Q. So after a meeting with CVS in
    6             MR. KROEGER: Yeah.                        6   December of 2010, where you outlined a number of
    7             MS. WICHT: What's the question?           7   pharmacies that had anywhere from 200 percent
    8   BY MR. KROEGER:                                     8   over the average to 6,799 percent over the
    9         Q. Can you tell me if they are?               9   average, this is the result of CVS's due
   10             MS. WICHT: Object to the form.           10   diligence, correct?
   11         Calls for speculation.                       11            MS. WICHT: Object to the form.
   12         A. Yeah. I would be speculating,             12         A. This is a summary of the
   13   so...                                              13   conclusion of their investigation.
   14         Q. Okay. So then, let's move down to         14         Q. And it's based on this summary of
   15   the final paragraph on Page 1. CVS's conclusion    15   their conclusion of their investigation that
   16   that they sent to you, "The teams found no         16   Cardinal determined it was appropriate to
   17   evidence of controlled substance diversion or      17   continue shipping to these individual CVS
   18   significant losses. CVS is confident that          18   stores, correct?
   19   pharmacists and their staff at these pharmacies    19            MS. WICHT: Object to the form.
   20   understand how to minimize the risk of             20         A. We didn't have any reason to
   21   dispensing controlled substances, particularly     21   believe that the information provided to us was
   22   opioids for pain management for nonlegitimate      22   not valid.
   23   purposes."                                         23         Q. What reason did you have to
   24             That's the conclusion CVS sent to        24   believe that it was valid?

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    1         A. Is that representations that they          1   at one point.
    2   make to us, the meeting that we had with them,      2         Q. And one of the things that was
    3   they expressed, you know, concerns that we were     3   requested is in Paragraph c -- 2c, do you see
    4   concerned about these stores, and they committed    4   that, "To inspect all records, files, papers,
    5   to do thorough investigations on these              5   processes, controls, facilities appropriate for
    6   particular pharmacies.                              6   verification of the records, reports and
    7         Q. And at no point did Cardinal do            7   documents required to be kept under the
    8   any of its own due diligence on these               8   provisions of the act and regulations
    9   pharmacies?                                         9   promulgated thereunder."
   10             MS. WICHT: Object to the form.           10             Do you see that?
   11         Mischaracterizes his prior testimony.        11         A. Correct.
   12         A. Like I told you, you know, we, you        12         Q. Now, this is a warrant served on
   13   know, kept looking at trends of pharmacies. We,    13   Cardinal with regard to Lakeland Distribution
   14   on occasion, visited CVS pharmacy. I cannot        14   Center, correct?
   15   tell you which specific one. The only one that     15         A. Correct.
   16   I recall from the top of my head is 219. It is     16         Q. And this is the DEA telling
   17   possible that we went to some other stores.        17   Cardinal that we want more information about
   18         Q. Later in 2011 --                          18   Lakeland Distribution Center, correct?
   19             MS. WICHT: Would it be a good            19             MS. WICHT: Object to the form.
   20         time for a short break?                      20         A. This is an inform -- I mean, a
   21             MR. KROEGER: Now is fine.                21   warrant for inspection, which some of the
   22             VIDEOGRAPHER: Time is now 11:14.         22   requirements have to inspect records and they
   23         Going off the record.                        23   ask for records.
   24             (Recess taken.)                          24         Q. And they're looking
                                               Page 195                                                Page 197
    1            VIDEOGRAPHER: Time is now 11:33.           1   specifically -- at least one part of what
    2        Back on the record.                            2   they're looking for are the records that are
    3   BY MR. KROEGER:                                     3   required to be kept under the act, the
    4        Q. Mr. Quintero, we have talked a bit          4   Controlled Substances Act, correct?
    5   about what happened in terms of the DEA action      5        A. Correct.
    6   against Cardinal in late 2011, early 2012 today.    6        Q. And if Cardinal has an agreement
    7            The first thing that happened,             7   with the DEA and an understanding in terms of
    8   though, was that an administrative investigative    8   what their obligations are to -- as to what to
    9   warrant was served?                                 9   record and report, then Cardinal should have
   10        A. (Nods head.)                               10   what the DEA's looking for under the provisions
   11        Q. Do you recall that being served?           11   of the act. Wouldn't you agree?
   12        A. Yes, I do.                                 12             MS. WICHT: Object to the form.
   13        Q. Did you see a copy of it?                  13        Calls for a legal conclusion, I think,
   14        A. I saw a copy of that at that time.         14        if I'm understanding it.
   15                ---                                   15        A. We should have the records that
   16      (Cardinal-Quintero Exhibit 10 marked.)          16   are required. Per the regulations, we should
   17                ---                                   17   have that.
   18   BY MR. KROEGER:                                    18        Q. Okay. And was Cardinal or was
   19        Q. This will be Exhibit 10. It's              19   Cardinal not keeping proper records of its due
   20   3776. And the Bates is                             20   diligence during -- prior to October 26, 2011?
   21   CAH_MDL_PRIORPROD_DEA12_00003808.                  21             MS. WICHT: Object to the form.
   22            So this is the warrant for                22        A. My understanding is Cardinal
   23   inspection. Did you receive this at some point?    23   Health has always kept all the records required
   24        A. Yes, we did. I got a copy of this          24   per the regulations.

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    1         Q. And was Cardinal Health, prior to          1   provided all of those records that you did keep
    2   October 26th, 2011, doing all of the due            2   because you were required to, that showed you
    3   diligence that had been required of it?             3   did the due diligence that you were required to,
    4             MS. WICHT: Object to the form.            4   that if you had provided that to the DEA, this
    5         A. What was the question again?               5   investigation would likely end?
    6         Q. Was Cardinal, prior to                     6             MS. WICHT: Object to the form.
    7   October 26th, 2011, doing all of the due            7         Foundation. Speculation.
    8   diligence required of it with regard to             8         A. I need to hear the question again.
    9   controlled substances?                              9         Q. Sure. And I know it's -- it's --
   10             MS. WICHT: Object to the form.           10   would you agree that because Cardinal was doing
   11         A. We were executing according to the        11   what it was supposed to do under its due
   12   regulatory requirement stated in the act.          12   diligence requirements and keeping records of
   13         Q. And you were keeping records of           13   all such actions, that if Cardinal provided all
   14   such due diligence actions, correct?               14   of those records to the DEA in response to this
   15             MS. WICHT: Object to the form.           15   warrant, that the investigation would likely
   16         A. We were keeping records that are          16   end?
   17   required by the act to be kept.                    17             MS. WICHT: Object to the form.
   18         Q. So when you received this warrant         18         Foundation. Speculation.
   19   to inspect from the DEA, you should be able to     19         A. I would be speculating if I say
   20   comply and show them that Cardinal has done its    20   that. I know that we kept all the records that
   21   due diligence, correct?                            21   were required by the regulations, and we
   22             MS. WICHT: Object to the form.           22   provided all the records that the regulations
   23         A. We should provide the agency with         23   required to the agency.
   24   all the records that are required, per the         24         Q. Okay. So in your mind -- and your
                                               Page 199                                                Page 201
    1   regulations.                                        1   testimony is that Cardinal had complied
    2         Q. Are there records required of              2   completely with the regulations, both with
    3   Cardinal that are not in the regulation?            3   regard to due diligence and recordkeeping as to
    4         A. That are required of Cardinal?             4   that due diligence, correct?
    5         Q. Yeah.                                      5             MS. WICHT: Object to the form.
    6         A. The only records that are required         6         Foundation.
    7   are the ones that are in the regulation, right?     7         A. I mean, I keep stating that we
    8         Q. I would imagine. And so I'm                8   provided all the records that are required by
    9   asking -- because you said, we kept all of the      9   the regulation. To the best of my knowledge, we
   10   records that were required of the regulation,      10   did that, and there's not missing records that
   11   correct?                                           11   we did not provide to the agency that are
   12         A. Yeah. And we filed those with the         12   required by regulations.
   13   DEA, like the ARCOS report.                        13         Q. Okay. And you have no reason,
   14         Q. Okay. And you did all of the due          14   sitting here today, as having been the senior VP
   15   diligence that was required of the act, as well,   15   of QRA back in October of 2011, to believe that
   16   correct?                                           16   Cardinal didn't do its due diligence, do you?
   17            MS. WICHT: Object to the form.            17             MS. WICHT: Object to the form.
   18         Foundation. Calls for a legal                18         A. I do not have any reason to
   19         conclusion.                                  19   believe that we did not meet the requirements of
   20         A. We -- what I'm telling you, we did        20   the regulations in 2011, as you stated.
   21   everything that was required per the regulation    21         Q. Okay.
   22   that we had to do.                                 22                  ---
   23         Q. So, then, wouldn't the                    23       (Cardinal-Quintero Exhibit 11 marked.)
   24   conclusion -- logical conclusion be that if you    24                  ---

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                                               Page 202                                                Page 204
    1   BY MR. KROEGER:                                     1             MS. WICHT: Object to the form.
    2        Q. I'm going to hand you what's been           2          A. What was the date the warrant was
    3   marked as Exhibit 11. It's 3773.                    3   served?
    4             (Pause in proceedings.)                   4          Q. October 26th, 2011.
    5        A. Yes.                                        5          A. I see October 25. I see it signed
    6        Q. So, Mr. Quintero, per the e-mail,           6   on 25. I don't see when it was served.
    7   you can see that this document is from Monday,      7          Q. Okay. 25, 26.
    8   October 31st, 2011, correct?                        8          A. Okay.
    9        A. Correct.                                    9          Q. Within a week of the warrant being
   10        Q. If we go to Page 3 of the exhibit,         10   served on Cardinal.
   11   we see the actual release that was sent as an      11             And Cardinal's response -- well,
   12   attachment to that e-mail?                         12   first, Cardinal -- is this -- this is something
   13             MS. WICHT: Object to the form.           13   that would have been put out for the employees,
   14        Q. Correct?                                   14   correct?
   15        A. What date are you referring to?            15          A. I don't think this message was
   16   October 31st?                                      16   intended to the general employees. I see in the
   17        Q. Yes, sir.                                  17   "to" list members of the legal team and some
   18        A. I'm assuming that's the date this          18   members of -- that reported in to either Jon
   19   version was approved.                              19   Giacomin or Mike Kaufmann.
   20        Q. Correct. Because it says,                  20          Q. And you had a chance to review
   21   "Approved version, October 31st, 4:00 p.m.         21   this document, the talking points document?
   22   eastern."                                          22          A. I can glance through it if you
   23        A. Yeah. I don't know when it was             23   could give me a little bit of time.
   24   sent out.                                          24          Q. We'll read it together.
                                               Page 203                                                Page 205
    1        Q. If you look back -- we can go               1             "The prescription drug abuse
    2   through it -- the initial e-mail from Jon           2   problem."
    3   Giacomin -- is that how you pronounce it?           3         A. Uh-huh.
    4        A. Jon Giacomin.                               4         Q. "The prescription drug abuse
    5        Q. Jon Giacomin was sent Monday,               5   problem has continued to grow throughout the
    6   October 31st, 2011 at 9:43 a.m., correct?           6   United States. One of the most problematic
    7        A. Yes, on the 31st, 2011.                     7   areas of the country is Florida, where pill
    8        Q. And later in that day, we see Kara          8   mills are prevalent."
    9   Forester has attached a document, "Support Team     9             Do you agree that that's what it
   10   Talking Points," correct?                          10   says?
   11        A. They have -- they are talking              11         A. That's what is in the document.
   12   points on -- this says -- does it say talking      12         Q. "Last week, Drug Enforcement
   13   points?                                            13   Administration (DEA), alongside with state and
   14        Q. If you look at the PDF -- if you           14   local authorities, announced increased measures
   15   look at the screen, if you don't mind, or you      15   to combat the prescription drug abuse problem in
   16   can go to Page 1 of the document, you'll see the   16   Florida, Operation Pill Nation II."
   17   Support Team Talking Points.LA.                    17             Do you agree with that?
   18        A. I see talking points, yes.                 18             MS. WICHT: Agree that's what --
   19        Q. And that's the document that's             19         A. I agree that that's the language
   20   attached as Page 3 to this exhibit.                20   that is in the document.
   21        A. Okay.                                      21         Q. This is the language that's in the
   22        Q. So this document was approved five         22   document that Cardinal agreed or approved on
   23   days after the DEA served the warrant on           23   October 31st, 2011 at 4:00 p.m., correct?
   24   Lakeland; is that correct?                         24             MS. WICHT: Object to the form.

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    1         A. That's the language that is in             1   by regulation?
    2   this document that somebody in Cardinal approved    2             MS. WICHT: Object to the form.
    3   on October 31st. The approval, I don't              3         Foundation.
    4   believe, was my approval.                           4         A. What I told you is that Cardinal
    5         Q. And "These measures included a             5   Health retained all the records required by the
    6   number of arrests of pharmacists and                6   regulations.
    7   physicians"?                                        7         Q. Okay. And in response to the DEA
    8         A. That's in the third bullet of this         8   serving a warrant on Cardinal asking for those
    9   document.                                           9   records to show it had done its due diligence,
   10         Q. Okay. And it talks -- the next            10   Cardinal decides to create a business continuity
   11   section is about -- it says, "What Cardinal        11   plan. You can read along.
   12   Health is doing."                                  12             "Due to the increased DEA activity
   13             And I want you to read the second        13   in Florida, we have decided to ready our
   14   bullet. It's, "Our suspicious order monitoring     14   business continuity plans for Lakeland, Florida.
   15   system evaluates pharmacy orders to determine if   15   Part of this preparation includes steps that we
   16   the orders are unusually large, unusually          16   need to take to be ready to transfer customers
   17   frequent, or deviate from the normal pattern."     17   from Lakeland to the designated secondary
   18         A. Correct.                                  18   distribution center, Jackson or Greensboro."
   19         Q. Skipping to the -- skipping one,          19             What does that mean?
   20   "Since 2008, Cardinal Health has conducted         20             MS. WICHT: Object to the form.
   21   hundreds of on-site pharmacy inspections, ceased   21         Foundation.
   22   distribution to more than 300 pharmacies we        22         A. It means that we have business
   23   believe presented a significant risk of            23   continuity plans for many different reasons,
   24   diversion, and in the last two years, we have      24   including hurricanes, potential closure of
                                               Page 207                                                Page 209
    1   denied the applications from over 40 pharmacies     1   sites. So we were initiating a business
    2   seeking to have a controlled substance              2   continuity plan.
    3   relationship with us."                              3          Q. Okay.
    4         A. Yes, I see that statement there.           4          A. For Jackson and Greensboro.
    5         Q. Do you agree with that statement?          5          Q. So -- well, the business
    6         A. I believe that statement is likely         6   continuity plan was for Lakeland, Florida,
    7   accurate.                                           7   right?
    8         Q. "We believe in the foundational            8          A. For Lakeland, but --
    9   elements of our SOM program and are continuously    9          Q. And so --
   10   working to improve it. We have also partnered      10          A. Service centers were out of
   11   with the Ohio State University College of          11   Lakeland.
   12   Pharmacy on a Generation RX outreach initiative,   12          Q. Do you remember October of 2011?
   13   a free program designed to create awareness        13          A. Yes, I do.
   14   about the dangers of prescription drug abuse and   14          Q. Were you expecting any hurricanes
   15   diversion."                                        15   in Florida in October of 2011?
   16             Do you agree with those statements       16          A. No. I don't know -- I don't
   17   in terms of what Cardinal Health is doing?         17   know -- I mean, I don't remember.
   18         A. I agree that we were executing all        18          Q. Do you think --
   19   of the stuff that is in the -- in that             19          A. October is hurricane season, but
   20   particular section of this document.               20   I -- I do not know if there was hurricanes in
   21         Q. And earlier, you also said that           21   that time.
   22   with regard to Lakeland and the due diligence,     22          Q. But that's the first reason you
   23   Cardinal has done its due diligence and has the    23   chose to give in terms of why a continuity plan
   24   proper records of that due diligence as required   24   would be --

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    1        A. No. I told you there are many               1   for the information over the phone. Barbara had
    2   reasons for it.                                     2   a good line of communication between her and
    3        Q. And the first you chose to list             3   Michael. Why she didn't do that and they went
    4   was hurricane?                                      4   directly to an inspection warrant, we could not
    5        A. Because that's the primary reason           5   understand that, but we have an obligation to
    6   that we have business continuity plans, is for      6   serve patients that need this medications in all
    7   natural disasters.                                  7   parts of the United States. So we were caught
    8        Q. And in this particular case of              8   off guard and we were concerned of why.
    9   Lakeland in October of 2011, was it a natural       9         Q. If the DEA is going to suspend a
   10   disaster that Cardinal was concerned about?        10   distribution center, as they did, Cardinal
   11        A. We were concerned --                       11   initiates a business continuity plan to ensure
   12             MS. WICHT: Object to the form of         12   that all of the drugs that were going to be
   13        the question.                                 13   shipped out of that suspended facility get
   14        A. We were concerned about the                14   shipped, correct?
   15   administrative action of the inspection warrant    15             MS. WICHT: Object to the form.
   16   that we received from DEA, which surprised us,     16         A. We try to serve all our customers
   17   because to the best of our knowledge at that       17   that need drugs for legitimate medical purposes
   18   particular time, we felt that we were complying    18   out of any facility that we have.
   19   with the regulatory requirements of the            19         Q. So in response to a DEA warrant
   20   Controlled Substances Act.                         20   and this business continuity plan, is there
   21             So we were completely caught off         21   anywhere in this business continuity plan where
   22   guard when we got this inspection warrant and we   22   Cardinal says, we need to reevaluate the orders
   23   could not understand why the agency was having     23   out of Lakeland that landed us in getting a
   24   any concerns about the Lakeland facility,          24   warrant?
                                               Page 211                                                Page 213
    1   especially because Michael has been in              1             MS. WICHT: Objection to --
    2   continuous contact with Barbara Boockholdt and      2         Q. Is that part of the business
    3   have never shown an indication in which she was     3   continuity plan?
    4   concerned about the way that we were executing      4             MS. WICHT: Objection to the form.
    5   our program and also meeting the regulatory         5         A. The business continuity plan is
    6   requirements of the Controlled Substances Act.      6   separate from what we do in our anti-diversion
    7        Q. So Cardinal Health believes it's            7   program. It's completely different.
    8   done all its due diligence, has the proper          8         Q. This plan is just to make sure
    9   records of having done that due diligence,          9   that all the opioids and everything else just
   10   believes that they have an agreement with the      10   keeps getting shipped?
   11   DEA that all such due diligence and records are    11             MS. WICHT: Objection to form.
   12   appropriate and what is required, and yet in       12         Foundation. Mischaracterizes.
   13   response to a warrant asking for that              13         A. The plan is to ensure that
   14   documentation, Cardinal decides to initiate a      14   customers that need drugs, all kind of drugs,
   15   business continuity plan for Lakeland              15   for legitimate medical use, they can have those
   16   Distribution Center?                               16   drugs available to serve their patients.
   17        A. Like I --                                  17             VIDEOGRAPHER: Counsel on the
   18            MS. WICHT: Object to the form.            18         phone, could you put yourself on mute.
   19        Foundation. Mischaracterizes the              19   BY MR. KROEGER:
   20        testimony on the document.                    20         Q. If you go back to Exhibit 5, it's
   21            Sorry. Go ahead.                          21   the 4085 document, and if you can turn to
   22        A. We were caught off guard, and we           22   Page 16 of that document.
   23   could not understand why DEA was giving us an      23             The first full paragraph there,
   24   inspection warrant. They could have asked us       24   "Based on its review of the documents Cardinal

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    1   Health provided in response to the October 26,           1   of our anti-diversion program and the agreements
    2   2011 AIW and the November 8th, 2011                      2   that were made between the agency and Cardinal
    3   administrative subpoena, the investigation at            3   Health. I was updated on the visit that Barbara
    4   respondent revealed a persistent failure to              4   Boockholdt and Sue Langston had in our building,
    5   exercise due diligence to ensure that controlled         5   and the review of the presentation that was
    6   substances were not being diverted."                     6   given to them. And there was not a single sign
    7            So that's the conclusion the DEA                7   out there, not even from that meeting or from
    8   reached in reviewing the documents Cardinal              8   other interactions with the agency, that our
    9   Health provided in response to the warrant and           9   agreement was not valid and that they had some
   10   the subpoena. Do you disagree with the DEA's            10   concerns about us.
   11   conclusion?                                             11        Q. But you, as the senior vice
   12            MS. WICHT: Objection to form.                  12   president of QRA in charge of anti-diversion,
   13        A. I disagree with that conclusion                 13   never saw such an agreement in writing, did you?
   14   because my understanding is that we were                14        A. I don't believe I requested to see
   15   retaining all the documents that were required          15   the agreement in writing, and I requested to
   16   by regulation.                                          16   have the information that was agreed by not only
   17        Q. Do you have that additional                     17   Michael Moné, but I verified that information
   18   requirement in writing anywhere?                        18   from Bob Giacalone and also from my boss.
   19        A. Additional requirement of what?                 19        Q. From your boss, Mr. Corford?
   20        Q. Well, several times today you've                20        A. Mr. Craig Morford.
   21   talked about this agreement that Cardinal Health        21        Q. Morford.
   22   had with the DEA that was separate and apart            22            So Craig Morford also acknowledged
   23   from the 2008 Memorandum of Agreement. Because          23   to you that the DEA had agreed to this with
   24   we looked at that document and you couldn't show        24   Cardinal Health?
                                                   Page 215                                                 Page 217
    1   me anywhere where these different requirements           1             MS. WICHT: Object to the form.
    2   were.                                                    2         A. There was a consistent message
    3            So is there anything in writing                 3   between Craig Morford and myself, Michael Moné
    4   that Cardinal Health has from the DEA saying,            4   and myself, Bob Giacalone and myself, that DEA
    5   Cardinal Health, these requirements, on top of           5   had reviewed our program as it was in 2009 when
    6   or below the Memorandum of Agreement, apply to           6   I got there, and that they have found our
    7   Cardinal?                                                7   program satisfactory and that they had not
    8            MS. WICHT: Object to the form.                  8   expressed any concerns.
    9        A. The agreement -- the agreement's                 9         Q. Okay. And obviously we know from
   10   not the regulation. That's citing the                   10   what happened to Lakeland in 2012 that the DEA
   11   regulations, not the agreement.                         11   concluded otherwise in 2012, correct?
   12        Q. I'm asking if you have anything in              12             MS. WICHT: Object to the form.
   13   writing. Does Cardinal have anything in writing         13         Calls for speculation.
   14   to support that this agreement had been made            14         A. We were completely surprised by
   15   with Cardinal Health and the DEA, outside of the        15   the inspection warrant that we got in 2012,
   16   Memorandum of Agreement?                                16   because all the -- in 2011, because all the
   17        A. I don't know if we have anything                17   indications that we had up to that point was
   18   in writing.                                             18   that we were meeting the expectations of the
   19        Q. As the senior vice president of                 19   agency. And it's my understanding, and I
   20   QRA for Cardinal Health, shouldn't you know?            20   believe so, that we were meeting all of the
   21            MS. WICHT: Object to the form of               21   regulatory requirements.
   22        the question.                                      22         Q. Okay. We'll continue on Page 16.
   23        A. Like I told you before, when I                  23   Just following along where we were already.
   24   came to Cardinal Health, I was given an overview        24             "The DEA concluded that over a

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    1   period of approximately three years, November       1   agreement that we had with the agency and
    2   2008 to December 2011, respondent's                 2   meeting all the regulatory requirements.
    3   anti-diversion controls were inadequate to meet     3        Q. And do you also disagree with
    4   their due diligence responsibilities. This          4   factor number 2, that there was a low number of
    5   conclusion was based on the totality of several     5   suspicious orders reported?
    6   factors.                                            6            MS. WICHT: Object to the form.
    7             "Some of the most important               7        A. Again, what I -- I go back to the
    8   factors were: Exceedingly large increasing          8   meeting that we have in 2009 on how our program
    9   volume of shipments of oxycodone to its largest     9   was executed and the agreement that the agency
   10   Florida retail customers, which volumes were       10   made with our personnel, and there were, you
   11   supported by inadequate documentation."            11   know, high levels of DEA at that meeting,
   12             Do you disagree with that                12   Barbara Boockholdt and Sue Langston, and both of
   13   conclusion by the DEA that --                      13   them agreed that our execution of the program
   14             MS. WICHT: Object to -- I'm              14   was appropriate.
   15         sorry.                                       15        Q. So I don't know if that means you
   16         Q. -- Cardinal had an exceedingly            16   agree or disagree with the fact that there may
   17   large increasing volume of shipments of            17   have been a low number of suspicious orders
   18   oxycodone to its largest Florida retail            18   reported.
   19   customers and that those volumes were not          19            Do you agree or disagree that
   20   supported by -- or were supported by inadequate    20   there was a low number of suspicious orders
   21   documentation?                                     21   reported?
   22         A. I disagree --                             22        A. I will agree that --
   23             MS. WICHT: Object to the form.           23            MS. WICHT: Object to the form of
   24         A. I disagree that we were not               24        the question.
                                               Page 219                                                Page 221
    1   meeting our regulatory requirements and that we     1         A. I will agree that we reported the
    2   were not meeting the agreement that we had with     2   number of suspicious orders as our program was
    3   the agency in 2009.                                 3   designed in 2009.
    4         Q. Okay. And you have made that               4         Q. And was that number low or high?
    5   abundantly clear today. What I'm asking right       5             MS. WICHT: Object to the form of
    6   now is if you disagree with the DEA's conclusion    6         the question.
    7   that one of the factors was that exceedingly        7         A. That number was adequate based on
    8   large increasing volume of shipments of             8   the program that we had at that time.
    9   oxycodone to its largest Florida retail             9         Q. And do you agree or disagree that
   10   customers, which volumes were supported by         10   there was a low number of on-site visits to
   11   inadequate documentation, was part of the reason   11   these top retailers and no site visits to retail
   12   that they concluded you were not meeting your      12   chain pharmacy customers?
   13   due diligence responsibilities?                    13             MS. WICHT: Object to the form.
   14         A. That was the conclusion of the            14         A. I know that we have visited
   15   agency --                                          15   hundreds of pharmacies. I cannot tell you the
   16            MS. WICHT: Objection to form.             16   distribution of -- I don't recall the number of
   17         A. -- not my conclusion.                     17   store visits that we did in Florida, so I could
   18         Q. So you disagree with the agency's         18   not agree with that statement because I don't
   19   conclusion?                                        19   have those facts in front of me.
   20            MS. WICHT: Object to the form.            20         Q. Well, do you put site visits into
   21         A. I disagree with the fact that the         21   the due diligence files? Is that -- let me
   22   agency agreed with us in 2009 on the execution     22   rephrase that.
   23   of our anti-diversion program, and we were         23             When Cardinal -- when someone from
   24   executing according to our understanding of the    24   Cardinal does a site visit, does that then go

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    1   into the due diligence file for the store to       1             MS. WICHT: Object to the form.
    2   which they did the site visit?                     2         A. I'm not aware that DEA has taken
    3         A. They go into a system that we call        3   action against all of those pharmacies that we
    4   Content Manager.                                   4   have terminated. Maybe a fraction of them they
    5         Q. Is that system that's called              5   have, but most of those pharmacies continue to
    6   Content Manager, is that a system that tracks      6   have their license. I'm not aware that DEA has
    7   the due diligence and on-site visits per store?    7   taken an action against those pharmacies.
    8         A. It stores the visits that we do to        8         Q. Are you familiar with the numbers
    9   stores.                                            9   of opioids that were sent to the two CVSs that
   10         Q. And when the DEA served a warrant        10   were at issue in Lakeland?
   11   and a subpoena on you asking for those -- for     11         A. I don't recall.
   12   all such due diligence files, did you give them   12         Q. If you turn to Page 18 of this
   13   the contents of that?                             13   Exhibit 5. Do you see the paragraph starting
   14         A. My assumption is that we gave all        14   with "Publix"?
   15   the information that was asked by the agency at   15         A. I'm on the wrong page.
   16   that time.                                        16         Q. 18 on the top right.
   17         Q. So if there were site visits, they       17             Do you see the paragraph that
   18   would have received those?                        18   starts with "Publix"?
   19         A. They received --                         19         A. Yep.
   20            MS. WICHT: Object to the form.           20         Q. "Publix Pharmacy Number 0641,
   21         A. They received all the information        21   located at 5240 West State Road 46, Sanford,
   22   that they requested from us.                      22   Florida 32771, is within two miles of CVS 5195.
   23         Q. And in that information that they        23   In 2011, CVS 5195 purchased 1.2 million dosage
   24   received, there were no site visits to retail     24   units of oxycodone, while Publix Pharmacy 0641
                                              Page 223                                               Page 225
    1   chain pharmacy customers?                          1   purchased only 25,700 units of oxycodone."
    2             MS. WICHT: Object to the form.           2             Do you dispute those numbers?
    3        A. I don't recall that. I don't               3             MS. WICHT: Objection.
    4   recall the document production for that            4         A. Those are the numbers that are in
    5   particular time, so I cannot say that.             5   the document. I don't have any reason to
    6        Q. Okay. Lastly, do you agree or              6   dispute the numbers.
    7   disagree that there's evidence -- there was        7         Q. Do you have any reason to believe
    8   evidence that respondent's due diligence           8   that in response to those numbers, Cardinal did
    9   practices were inconsistent with both the 2008     9   even a site visit to CVS 5195?
   10   MOA and Cardinal Health's own policies, the       10             MS. WICHT: Objection to the form.
   11   purpose of which was to reduce diversion?         11         A. I don't recall if we did a visit
   12             MS. WICHT: Object to the form.          12   or we didn't do a visit.
   13        A. I completely disagree with that as        13         Q. Well, according to what we read
   14   shown by the fact that we have terminated over    14   just a moment ago, the DEA received no
   15   300 pharmacies at that point in time, and most    15   documentation of any site visits to any chain
   16   of those pharmacies continue to have a DEA        16   pharmacies, correct?
   17   license today and they're still in business.      17             MS. WICHT: Object to the form.
   18        Q. Cardinal still has a DEA license          18         A. We may have done a visit, but I
   19   and is still in business, correct?                19   don't know that.
   20        A. We regained our DEA license for           20         Q. In order for you to have done a
   21   Lakeland.                                         21   visit, you would have had to do it and then not
   22        Q. So that doesn't necessarily prove         22   document it. Is that fair given that the DEA
   23   or disprove due diligence at any given time,      23   never received any documentation of it?
   24   does it?                                          24             MS. WICHT: Object to the form.

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    1         A. I wouldn't know that. If somebody                 1   on CVS 219. I personally requested a visit to
    2   did a surveillance visit and they didn't put it            2   that -- the pharmacy to see if there was obvious
    3   in the file, I mean that could happen, but I               3   signs of diversion, and the conclusion of that
    4   don't know that.                                           4   visit was provided to me by the person that did
    5         Q. Were you -- were people at                        5   the visit.
    6   Cardinal in the practice of doing site visits to           6          Q. Did you review the due diligence
    7   CVSs and not putting it in the file?                       7   file for CVS store 219 at any point in 2010 or
    8         A. We did some site visits to some                   8   '11?
    9   CVS stores. I don't -- I was not running the               9          A. I reviewed information that was
   10   day-to-day of activities of the program, so I'm           10   provided to me by Nick Rausch.
   11   not a good person to say that every single site           11          Q. Was that the due diligence file of
   12   visit was included in Content Manager. I cannot           12   CVS 219?
   13   attest to that.                                           13          A. That was information that Nick
   14         Q. The next paragraph, "Two                         14   Rausch provided to me. I don't know what was in
   15   pharmacies are located within one mile of CVS             15   the due diligence file for any of those stores.
   16   219. Walgreens 6970, located at 3803 South                16   It's the day-to-day execution of the program.
   17   Orlando Drive, Sanford, Florida, and Walmart              17          Q. But this was a store that you took
   18   Pharmacy number 10-0857, located at 3653 Orlando          18   a personal interest in.
   19   Drive, Sanford, Florida. In 2011, CVS 219                 19          A. I did.
   20   purchased 1.8 million dosage units of oxycodone,          20          Q. You directed a site visit. That's
   21   while the Walgreens 6970 purchased 176,500                21   not something you do on a daily basis, is it?
   22   dosage units of oxycodone and Walmart Pharmacy            22          A. No.
   23   10-0857 purchased 30,500 dosage units of                  23          Q. And yet you still didn't look at
   24   oxycodone."                                               24   the due diligence file for that store?
                                                     Page 227                                                 Page 229
    1             Do you dispute those numbers?                    1            MS. WICHT: Object to form.
    2             MS. WICHT: Objection. Asked and                  2        Mischaracterizes.
    3          answered.                                           3        A. I didn't. I rely on my staff to
    4          A. I think those numbers are what is                4   review the diligence files, and for this
    5   quoted in there.                                           5   particular one, I was provided some additional
    6          Q. And after selling 1.8 million                    6   information from Nick Rausch, and I believe that
    7   dosage units of oxycodone to a single CVS in               7   it was appropriate to conduct a site visit of
    8   Sanford, Florida, was there a site visit in the            8   219 to confirm that information that CVS had
    9   due diligence file for that store?                         9   given us was credible.
   10             MS. WICHT: Object to the form.                  10            And the report that I got back for
   11          A. I'm sure there was a site visit                 11   219 is that the visit resulted in no obvious
   12   because I requested a site visit for that store           12   signs of diversion when our investigator was
   13   and I was provided with a summary of the site             13   doing a surveillance audit of that particular
   14   visit.                                                    14   pharmacy.
   15          Q. And since you were directly in                  15        Q. Do you agree that selling 1.8
   16   contact with the person who did the site visit,           16   million dosage units of oxycodone to a single
   17   directly requested it, certainly you would have           17   CVS in Sanford, Florida should cause concern?
   18   also ensured that it made it into the due                 18            MS. WICHT: Object to the form.
   19   diligence file for CVS 219, wouldn't you?                 19        A. I think selling large amounts of
   20             MS. WICHT: Object to the form.                  20   controlled substances to any pharmacy is a good
   21          A. Like I told you below -- before, I              21   reason to review that pharmacy, and we did.
   22   don't run the details of the program on a                 22        Q. And based on a single site visit
   23   day-to-day basis. I was interested on                     23   and CVS saying, we've done our own internal
   24   information -- asking for additional information          24   investigation, you felt comfortable continuing

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    1   to sell 1.8 million dosage units of oxycodone to    1             MS. WICHT: Okay.
    2   a single CVS in Sanford, Florida?                   2   BY MR. KROEGER:
    3             MS. WICHT: Object to the form.            3         Q. But as part of your suspicious
    4         A. We believed that all of the sales          4   order monitoring SOP, you set thresholds, didn't
    5   to that store were for legitimate medical use,      5   you?
    6   and we didn't have any reason to believe            6         A. We set thresholds.
    7   otherwise based on the information that we had      7         Q. Okay. And Paragraph i says,
    8   obtained.                                           8   "Respondent set monthly thresholds for oxycodone
    9         Q. And if you had reason to believe           9   distributions to each of its stores. But from
   10   that there might be a risk of diversion, what      10   April 2009 to August 2011, respondent
   11   would you have done?                               11   disregarded the oxycodone thresholds for its top
   12             MS. WICHT: Object to the form.           12   four retailers at least 44 times. Sometimes by
   13         A. We would have -- if we had a              13   a few thousand pills, and sometimes by tens of
   14   reason to believe that was suspicious or likely    14   thousands. This unexplained disregard for its
   15   of those drugs to be sold or prescription be       15   own thresholds suggests that respondent did not
   16   filled for orders not legitimate medical use, we   16   take its own policies seriously."
   17   would have stopped shipment for that particular    17             Do you disagree with that
   18   store and we would have reported that store to     18   statement from the DEA?
   19   DEA, as we did in many, many occasions.            19         A. I completely disagree with that
   20         Q. Would you agree that one of the           20   statement. Threshold is a reason for us to
   21   ways to determine if there's a likelihood of       21   evaluate an order, and the analyst reviews the
   22   diversion is to follow Cardinal Health's own       22   information that they have available to them and
   23   suspicious order monitoring plan?                  23   they make decisions whether or not to release
   24             MS. WICHT: Object to the form.           24   the order or not. So we didn't disregard these
                                               Page 231                                                Page 233
    1         A. It's following the regulation and          1   threshold events. Every one of them was
    2   executing according to our standard operating       2   evaluated. The system doesn't allow for
    3   procedures.                                         3   thresholds to be released without somebody
    4         Q. Sorry. I said "plan." I should             4   evaluating the threshold.
    5   have said "standard operating procedures." So       5         Q. Okay. So you disagree with that
    6   let me say that again.                              6   conclusion the DEA reached with regard to --
    7            You would agree, wouldn't you,             7         A. Completely disagree with that
    8   that a key to stopping diversion, spotting          8   conclusion.
    9   stores that might be the source of diversion, is    9         Q. Okay. If you'll turn to Page 21,
   10   to follow the suspicious order monitoring          10   Paragraph i. "According to DEA review, Cardinal
   11   standard operating procedure that Cardinal has     11   Health's SOM policies do not exclude chain
   12   in place?                                          12   retailers from the site visit requirement.
   13            MS. WICHT: Object to the form.            13   Indeed, the written policies made available to
   14         A. It is following the regulations           14   DEA do not indicate any company policy of
   15   and agree -- adhering to the program that we had   15   treating chain retailers differently than
   16   in place at that time.                             16   independent retailers in terms of the diligence
   17         Q. Okay. If you'll turn to Page 19           17   Cardinal Health's distribution centers are
   18   of this Exhibit 5. This is part of Cardinal's      18   required to conduct."
   19   suspicious order monitoring program.               19             Do you disagree with that
   20            It says --                                20   statement?
   21            MS. WICHT: No. This is the                21         A. I disagree with that statement. I
   22         government's --                              22   believe that our agreement with the agency in
   23            MR. KROEGER: This is the                  23   2009 was very clear, and explained how we were
   24         government's finding.                        24   going to treat chain pharmacies.

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    1         Q. So, then, this is talking about            1   pharmacy was potentially engaging in practices
    2   the -- Cardinal's own SOM policy. So based on       2   that were not consistent with filling legitimate
    3   what you're saying, then, if we went back to the    3   prescriptions or that we couldn't get enough
    4   2009, 2010, 2011 suspicious order monitoring        4   information to make that assessment, that we
    5   program standard operating procedure that           5   would report them as suspicious orders. As it
    6   Cardinal had in place, it would clearly outline     6   happened, out of those 41 customers, 19 of those
    7   that chain pharmacies are to be dealt with          7   customers we terminated.
    8   differently than independent retail pharmacies?     8         Q. Right.
    9         A. I will have to --                          9             Once you terminate a customer, you
   10             MS. WICHT: Object to the form.           10   can no longer profit from them anyway, so
   11         A. I will have to look at the SOP. I         11   reporting their orders doesn't really hurt the
   12   don't have the SOP available to determine if       12   profit of Cardinal, does it?
   13   that's the case or not.                            13             MS. WICHT: Object to the form of
   14         Q. Well, this conclusion that you            14         the question.
   15   just disagreed with in Paragraph i is the DEA      15         A. I don't even -- I don't understand
   16   saying that you -- that Cardinal Health failed     16   the question.
   17   to follow its own SOM policies.                    17             MS. WICHT: Is that a serious
   18         A. My understanding is that the              18         question?
   19   program that we put in place in 2009 was           19             MR. KROEGER: Yeah, it is.
   20   consistent with the expectations of the agency     20         A. I don't understand the question.
   21   and that it was the understanding and the          21         Q. So when a pharmacy orders opioids
   22   agreement that chain pharmacies will conduct       22   from Cardinal Health, Cardinal Health makes a
   23   their own investigation and provide those          23   profit on those opioids that they distribute to
   24   investigations to us.                              24   that pharmacy, correct?
                                               Page 235                                                Page 237
    1        Q. If you'll turn to Page 22. In the           1              MS. WICHT: Object to the form of
    2   middle of the Paragraph i under Subsection D,       2          the question.
    3   low numbers of suspicious orders reported, "From    3          A. I'm not in the finance or in the
    4   October 1st, 2008" -- do you see where I am?        4   sales team. We sell product for legitimate
    5        A. Uh-huh.                                     5   medical use. I'm assuming that we make money
    6        Q. -- "through October 26th, 2011,             6   making the product. I don't know if we make any
    7   respondent reported only 41 suspicious orders to    7   money on opioids, to be honest with you.
    8   the DEA."                                           8          Q. You don't give them away, do you?
    9            So in a three-year period,                 9          A. Well, there are sometimes that we
   10   Cardinal reported 41 -- sorry, Lakeland reported   10   do things and we don't make any profit because
   11   41 suspicious orders to the DEA. Is that           11   if -- consistent with the total offerings that
   12   number -- do you agree with that number?           12   we have to offer.
   13        A. It -- I'm assuming that number is          13          Q. As an executive with Cardinal
   14   correct. I will have to verify the fact, but my    14   Health, who was at one time the senior vice
   15   assumption is that is correct.                     15   president of QRA and is now chief QRA officer,
   16        Q. And do you believe that number to          16   you're not honestly sitting here telling me you
   17   be the proper number of suspicious orders to       17   don't know if Cardinal Health profits from
   18   have been reported during that time?               18   opioids, are you?
   19        A. Based on the understanding that we         19          A. No.
   20   have with the agency at that time, it was the      20              MS. WICHT: Object to the form of
   21   correct number. The agreement that we had with     21          the question. Argumentative.
   22   the agency at that time is that we will do         22          A. No. Because, I mean, selling
   23   investigation of threshold events. If those        23   opioids is -- is -- to have all the system in
   24   investigations led us to believe that the          24   place that you need to have is a lot more

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    1   expensive than we have for our regular drugs.       1        Q. As the senior vice president of
    2   You have to have a cage. You have to have a         2   QRA, did you personally have any concern that
    3   vault. You have to have employees in the cage       3   Cardinal itself was not following its own
    4   and the vault. You have to have audits of those     4   policies and procedures?
    5   cages and the vault. You have reporting             5        A. I believe --
    6   responsibility. You have to do a lot more work      6            MS. WICHT: Object to the form.
    7   to sell one dosage unit of oxycodone than one       7        A. I believe that Cardinal Health was
    8   dosage unit of Lipitor. A lot more work.            8   following our policies and procedures and that
    9         Q. A lot more work.                           9   we were meeting regulatory requirements and
   10             But, Mr. Quintero, you're not            10   expectations of the agency.
   11   telling me that you believe Cardinal Health,       11        Q. If you'll turn to Page 37 of
   12   this Forbes 500 -- I think 21st on the Forbes      12   Exhibit 5. Towards the bottom of the page, five
   13   500 list, would continue to sell opioids if the    13   lines up, "On October 5th."
   14   cost of doing that business was greater than the   14            Do you see that?
   15   profit made from it, are you?                      15        A. Yep.
   16             MS. WICHT: Object to the form.           16        Q. "On October 5th, 2010,
   17         A. I don't know. It is possible, but         17   Mr. Moellering" --
   18   I don't know.                                      18            Do you know who Mr. Moellering is?
   19         Q. Okay.                                     19        A. Yes, Vince Moellering.
   20         A. My role in the company is                 20        Q. Who is he?
   21   regulatory compliance, and I stick to my role      21        A. He is one of the field
   22   and make sure that my team executes according.     22   investigators.
   23         Q. You don't do your job for free, do        23        Q. Employed by Cardinal?
   24   you?                                               24        A. Employed by Cardinal Health.
                                               Page 239                                                Page 241
    1         A. I don't do -- I work for Cardinal          1         Q. Employed to do site visits?
    2   for a salary.                                       2         A. That's -- that was his role, to do
    3         Q. Yes.                                       3   site visits.
    4             Now, after the warrant was served         4         Q. And in that role, his job was to
    5   in October of 2011, Paragraph ii, "Between          5   communicate to Cardinal up the chain to people
    6   October 26th, 2011 (the day following the           6   in anti-diversion whether or not a store was
    7   execution of the AIWs) and January 31st,            7   high or low risk of diversion, correct?
    8   2012" -- so in this three-month period --           8         A. The form had a portion at the end
    9   "respondent terminated 28 customers."               9   of the investigation form that provided
   10         A. Uh-huh.                                   10   different rankings for pharmacies.
   11         Q. Is there any reason for that              11         Q. And that was part of his duty, was
   12   increase in three months compared to the only 19   12   to communicate that ranking to people above him,
   13   previously?                                        13   correct?
   14             MS. WICHT: Object to the form.           14         A. To communicate that ranking to the
   15         A. Like I told you, we -- during that        15   head of the investigations group, which was
   16   period of time, we have terminated over 300 -- I   16   Steve Morris.
   17   feel like the number was 343 customers in the      17         Q. And that's because, just like you
   18   United States. I don't know the exact number in    18   can't be involved in every day-to-day decision,
   19   Florida. We were concerned with the inspection     19   people directly beneath you or one or two steps
   20   warrant that was filed. We could not understand    20   beneath you, can't be involved in every single
   21   why, so we became, you know, concerned that the    21   site visit, right?
   22   agency had changed their expectation of the        22         A. It's impossible to be at every
   23   standards. So I mean, we changed -- we were        23   single site.
   24   changing with the expectations of the agency.      24         Q. So just as you rely on Michael

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    1   Moné and Steve Reardon to make the right            1             If you turn the page, "Dispensing
    2   decisions with regard to policies, procedures,      2   data revealed that 462,776 units of oxycodone
    3   and regulations, they, in turn, have to rely on     3   dispensed within two months. Quote, I am not
    4   those below them to do the same, correct?           4   convinced that the owner is being forthright
    5             MS. WICHT: Object to the form.            5   pertaining to his customers' origin or
    6        A. We relied on our staff to execute           6   residence. I have requested permission to
    7   procedures and make sure that we are meeting        7   contact DEA to resolve this issue. High risk of
    8   our -- all of the regulatory requirements.          8   diversion.
    9        Q. Do you have any reason, sitting             9             "Despite Mr. Moellering's findings
   10   here today, to believe that Mr. Moellering         10   and recommendations, respondent did not contact
   11   didn't do his job well?                            11   the DEA. Respondent not only continued to ship
   12             MS. WICHT: Object to the form of         12   oxycodone 30 milligram tablets to Gulf Coast,
   13        the question.                                 13   but subsequently increased shipments shortly
   14        A. I did not supervise Mr. Moellering         14   thereafter -- shortly afterwards. On
   15   directly. My understanding is that he was --       15   November 24th, 2010, respondent adjusted Gulf
   16   his performance was acceptable.                    16   Coast's monthly volumes of oxycodone from
   17        Q. Okay. And then the next -- and             17   141,000 to 207,200."
   18   Mr. Moro. Do you know who Mr. Moro is?             18             Is that the appropriate response
   19        A. I don't recall who Mr. Moro is.            19   under Cardinal's suspicious orders -- under
   20        Q. So you can't say whether he was or         20   their -- the standard operating procedures to
   21   was not a good employee either way?                21   respond to a site visit that results in a high
   22        A. I don't recall.                            22   risk of diversion by increasing opioids from
   23        Q. Okay.                                      23   141,000 to 207,000?
   24        A. It's possible, but I don't recall          24             MS. WICHT: Object to the form of
                                               Page 243                                                Page 245
    1   a person working in my team, which last name is     1         the question.
    2   Moro. It's possible, but I don't recall.            2         A. I'm familiar with some of the
    3         Q. And October 5th, 2010, anyone              3   aspects of this particular visit, and I'm -- I
    4   doing site visits would have been part of your      4   believe, to the best of my knowledge, that there
    5   team, correct?                                      5   were follow-up conversations between Mr. Morse,
    6         A. Correct.                                   6   which is the pharmacist which used to work for
    7         Q. So Mr. Moellering and Mr. Moro             7   the Board of Pharmacy, and the pharmacist in
    8   conducted a site visit. The notes from this         8   charge at Gulf Coast to understand increase in
    9   particular site visit reflected the following:      9   involve.
   10   CAH -- that's Cardinal Health, right?              10             My understanding is that Gulf
   11         A. Uh-huh.                                   11   Coast was nearby or part of a medical plaza or
   12         Q. PBC, what's that stand for?               12   medical center or across from a hospital.
   13         A. I believe -- I'm trying to                13   That's my recollection. It's my recollection
   14   recollect. Somebody -- now that I'm reading the    14   too that Vince Moellering tried to call DEA,
   15   context, it's probably Lenny Moro is somebody in   15   left a message, but the message was never
   16   the sales team, but I don't know that for sure,    16   responded back to him.
   17   but I believe that's...                            17         Q. So do you have reason to believe
   18         Q. "Lenny Moro has observed groups of        18   that Mr. Moellering was incorrect with the high
   19   white males and females coming into the pharmacy   19   risk of diversion in his conclusion?
   20   during his late afternoon visits to have their     20         A. Based on --
   21   scripts filled. They leave in small groups.        21             MS. WICHT: Object to the form.
   22   The report also stated, 'Owner requested           22         A. Based on the facts at that point
   23   increase his oxycodone threshold to even           23   in time, Mr. Morse reevaluated the pharmacy
   24   higher.'"                                          24   based on the information that he received from

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    1   the pharmacist at Gulf Coast and made the           1       A.    I don't agree with that statement.
    2   determination that the pharmacist was not high      2            MS. WICHT: Is that a question?
    3   risk at that point in time.                         3       It sounded like a statement.
    4         Q. Do you know what happened in 2011          4       A. I don't agree with the statement.
    5   to Gulf Coast?                                      5            MR. KROEGER: Now is a good time
    6         A. I believe we stopped selling               6       for a break.
    7   prescription to Gulf Coast before the               7            VIDEOGRAPHER: Time is now 12:35.
    8   administration warrant was provided to us based     8       Going off the record.
    9   on additional site visits and additional            9                ---
   10   analysis that we performed on that particular      10            Thereupon, the luncheon recess was
   11   pharmacy.                                          11       taken at 12:35 p.m.
   12         Q. So you -- QRA received a site             12                ---
   13   visit report of high risk of diversion,            13
   14   continued to increase the dosage units to that     14
   15   very pharmacy, and a year later that pharmacy      15
   16   surrendered its DEA registration?                  16
   17             MS. WICHT: Object to form.               17
   18         Mischaracterizes his testimony.              18
   19         A. My understanding of the situation         19
   20   with Gulf Coast was there was an inspection done   20
   21   by Vince. Vince expressed some concern to his      21
   22   management, identified the pharmacy as high        22
   23   risk. The person in charge of the investigation    23
   24   group requested additional information from the    24

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    1   pharmacy. The pharmacy provided that                1              December 6, 2018
    2   information.                                        2              Thursday Afternoon Session
    3             Mr. Morse felt that the volume was        3              1:18 p.m.
    4   justifiable based on the location of the            4                ---
    5   pharmacy and other facts. He decided to             5            VIDEOGRAPHER: Time is now 1:18.
    6   maintain the pharmacy as a customer but to keep     6        Back on the record.
    7   monitoring that pharmacy. Additional visits         7               EXAMINATION
    8   were performed, and we terminated that pharmacy     8   BY MR. GRAY:
    9   at one point in time because we didn't feel         9        Q. Mr. Quintero, my name is Mark
   10   comfortable with explanation given by the          10   Gray. We met briefly before your deposition.
   11   pharmacist anymore.                                11   I'm going to ask some follow-up questions and
   12         Q. So the explanation given in               12   some additional questions possibly.
   13   October 2010 became unsatisfactory sometime        13            And you understand you're still
   14   later on?                                          14   under oath even though somebody else is
   15             MS. WICHT: Objection to form.            15   questioning you? You understand that?
   16         Mischaracterizes.                            16        A. Yes, I understand.
   17         A. If I knew all the facts, if we            17        Q. Okay. So when you first -- before
   18   knew all the facts then that we knew at the time   18   you came to Cardinal, you were with Wyeth, the
   19   that we terminated the pharmacy, we would have     19   pharmaceutical company; is that right?
   20   caught the pharmacy much sooner. But we learn      20        A. Wyeth Pharmaceutical.
   21   about certain facts after.                         21        Q. Okay. And prior to taking your
   22         Q. It sounds like you learned about          22   position in December of 2009 with Cardinal, had
   23   those facts in October of 2010 and chose to        23   you ever worked for a distributor of opioid
   24   ignore them and increase the oxycodone.            24   narcotic drugs?

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    1         A. No.                                        1   relevant, they believe is relevant for them and
    2         Q. Okay. So in 2009, when you went            2   that they need to escalate to me.
    3   to work at Cardinal Health, that was your first     3         Q. Okay. Let's look at 4050.
    4   experience in regulatory with a distributor of      4                  ---
    5   opioid drugs, correct?                              5       (Cardinal-Quintero Exhibit 12 marked.)
    6         A. Not controlled substances, but             6                  ---
    7   opioids, yes.                                       7   BY MR. GRAY:
    8         Q. And when you took that position,           8         Q. Mr. Quintero, I'm going to show
    9   would you have expected Cardinal to give you all    9   you a document which has been marked P1.4050,
   10   of the information that you needed to do your      10   Exhibit 12 to your deposition. And if you turn
   11   job?                                               11   to the second page of that document, do you see
   12             MS. WICHT: Object to the form.           12   this -- have you ever seen this letter before?
   13         A. I expected Cardinal to allow me to        13         A. Yes, I have.
   14   work with my staff to learn the programs that we   14         Q. Okay. And when did you see this
   15   were executing.                                    15   letter for the first time?
   16         Q. Well, you wanted them to give you         16         A. I've seen it many years ago.
   17   all the information you needed to do your job,     17         Q. When you first started working,
   18   didn't you?                                        18   correct?
   19         A. I was expecting -- my job is              19         A. Probably soon after.
   20   highly broad, so I was expecting my staff to       20         Q. Okay. And this is a letter from
   21   give me orientations on the different programs     21   the US Department of Justice Drug Enforcement
   22   that we had. And I educated myself on the          22   Administration, correct?
   23   different regulatory requirements that we were     23         A. It seems that way, yeah. It's
   24   obligated to meet.                                 24   titled Drug Enforcement Administration at the
                                               Page 251                                                Page 253
    1         Q. Okay. And if Cardinal withheld             1   top, so...
    2   anything from you that would be important to        2          Q. Okay. And that's to Cardinal
    3   your job, you wouldn't have expected that, would    3   Health, correct?
    4   you?                                                4          A. It's to Cardinal Health.
    5            MS. WICHT: Object to the form.             5          Q. Okay. And was this one of the
    6         A. I don't believe Cardinal ever              6   documents that you looked at to understand what
    7   withheld any information that I requested.          7   the regulatory process was and -- with respect
    8         Q. Okay. And you would expect out of          8   to the distribution of opioid narcotics, as well
    9   your employees and the people that worked with      9   as what the DEA expected of Cardinal Health?
   10   you and around you, that you wanted them not to    10              MS. WICHT: Object to the form.
   11   withhold any information from you, as well,        11          A. One of the first documents that I
   12   correct?                                           12   looked at was actually the actual regulation,
   13            MS. WICHT: Object to the form.            13   the Controlled Substances Act.
   14         A. My expectation is if I request            14          Q. Okay. But did you also look at
   15   that information, that the employees that work     15   this one at the time to familiarize yourself, as
   16   in my department make that information available   16   you testified earlier, to --
   17   to me.                                             17          A. I looked at this record, yeah.
   18         Q. And if it was important for you to        18          Q. -- what the DEA expected in the
   19   do your job, whether you asked for it or not,      19   regulatory framework?
   20   they should have given you that information,       20          A. This letter is not regulations.
   21   correct?                                           21   It's just a letter.
   22            MS. WICHT: Object to the form.            22          Q. Okay. But did you understand my
   23         A. If I have to -- I expect my               23   question?
   24   employees to give me information that is           24          A. Not entirely.

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    1         Q. Okay. Just listen to my question.         1         A. I believe that's the language that
    2             Was this one of the documents that       2   is used in the regulations, as well.
    3   you looked at to familiarize yourself with what    3         Q. Okay. But do you understand that
    4   the Drug Enforcement Administration of the         4   that's what the DEA told Cardinal Health, that
    5   United States Department of Justice expected of    5   they had to have effective controls against
    6   Cardinal Health?                                   6   diversion?
    7         A. I reviewed the letter, yes, I did.        7         A. Which is consistent with the
    8             MS. WICHT: Object to the form.           8   regulations, yes.
    9         Q. Was the purpose of reviewing the          9         Q. Okay. And then if you go down to
   10   letter so you could understand the framework      10   the indented paragraph, which is the next one,
   11   that the DEA expected of Cardinal Health in       11   one down, "The registrant" -- that's Cardinal
   12   distributing opioid narcotics?                    12   Health, correct?
   13             MS. WICHT: Object to the form.          13         A. Yes.
   14         A. It is one of the tools that I used       14         Q. -- "shall design and operate a
   15   to educate myself on the expectations of the      15   system to disclose to the registrant suspicious
   16   agency, and I used -- also went to the            16   orders of controlled substances."
   17   Controlled Substances Act to understand the       17             You understand that to be one of
   18   regulation.                                       18   the requirements, correct?
   19         Q. Okay, sir. So let's look at the          19         A. The requirement in the regulation
   20   expectations of the agency. Let's look at the     20   is to report suspicious orders, have a system to
   21   next page, 4050.3. And if you look, sir, at the   21   report.
   22   third paragraph.                                  22         Q. Yeah, okay. Report suspicious
   23         A. Okay.                                    23   orders. And "Suspicious orders include orders
   24         Q. And as you know, sir, you also           24   of an unusual size."
                                              Page 255                                                Page 257
    1   have it on the screen, correct? It's on that       1             You understand that, correct?
    2   screen and the screen in front of you, if you      2         A. Uh-huh.
    3   need to refer to that.                             3             MS. WICHT: Object to the form.
    4         A. Okay.                                     4         Q. "Orders deviating substantially
    5         Q. Second sentence of the third              5   from a normal pattern," correct?
    6   paragraph, "Listed first among these factors is    6         A. Uh-huh.
    7   the duty of a distributor to maintain effective    7         Q. "And orders of unusual frequency."
    8   controls against diversion of controlled           8             You understand that, too, correct?
    9   substances into other than legitimate medical      9         A. Yes.
   10   scientific and industrial channels."              10         Q. Okay. So a suspicious order is
   11             Do you see that, sir?                   11   something that has -- is an order that's of
   12         A. Yes, I do.                               12   unusual size, correct?
   13         Q. And after you reviewed this when         13             MS. WICHT: Object to the form.
   14   you first took the job at Cardinal Health, did    14         A. Unusual size is, yeah, one of the
   15   you understand that it was the duty of a          15   components.
   16   distributor to maintain effective controls        16         Q. Okay. Well, it's one of the ways
   17   against diversion?                                17   that you have a suspicious order, is unusual
   18         A. It's a regulatory --                     18   size. That's what the DEA's telling you in this
   19             MS. WICHT: Object to the form.          19   letter, correct?
   20         A. It's a regulatory requirement to         20             MS. WICHT: Object to the form.
   21   maintain controls against diversion of            21         A. That's what it says in the letter.
   22   controlled substances.                            22         Q. Okay. And it's not only what it
   23         Q. Okay, sir. But not just controls,        23   says in the letter, but you said earlier, this
   24   but effective controls. You understand that?      24   is one of the expectations that the DEA had of

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    1   Cardinal Health. That's the way you interpreted     1        A. I thought I was answering your
    2   this when you looked at it; is that correct?        2   question.
    3        A. Yeah. We --                                 3        Q. I know. I know you thought you
    4            MS. WICHT: Object to form.                 4   were, but I just want you to listen to what I'm
    5        A. We discussed our interpretation             5   asking you.
    6   with members of the Drug Enforcement                6            What I'm asking you is, this group
    7   Administration, and our interpretation of our       7   of people that you've talked about, did they
    8   suspicious order monitoring, our reporting          8   ever give you a document or a letter, similar to
    9   requirements, was executed in agreement with the    9   4050 that we've just looked at, that outlined
   10   agency after the meeting of 2009.                  10   from the DEA what they expected of Cardinal
   11        Q. Well, do you have -- did they send         11   Health after this meeting that you've talked
   12   you a letter like this P1.4050, after this 2009    12   about?
   13   meeting that somebody at Cardinal Health had?      13            MS. WICHT: Object to --
   14        A. It was not a letter, but it was an         14        Q. Yes or no?
   15   interactive session between members of Cardinal    15            MS. WICHT: Object to the form.
   16   Health and members of the Drug Enforcement         16        A. I don't have a document from them.
   17   Administration.                                    17        Q. They never gave you a document?
   18        Q. And who was there for Cardinal             18        A. (Shakes head.)
   19   Health?                                            19        Q. So if they withheld that document
   20        A. Was Michael Moné.                          20   from you, that would be something that would
   21        Q. Well, let me ask you this. Were            21   have been difficult for you to do your job, them
   22   you there?                                         22   withholding it, correct?
   23        A. I wasn't there.                            23            MS. WICHT: Object to the form.
   24        Q. So you weren't there, so you don't         24        Speculation.
                                               Page 259                                                Page 261
    1   actually know what was said? It was just            1         A. I don't believe they had any cause
    2   something that Mr. Moné conveyed to you,            2   to be withholding any documents from me.
    3   correct?                                            3         Q. Okay. You just said the DEA never
    4        A. Mr. Moné, not only Mr. Moné, but            4   sent a document out about it, correct?
    5   also Mr. Bob Giacalone and Mr. Craig Morford.       5             MS. WICHT: Object to the form of
    6        Q. And did they ever give you a piece          6         the question.
    7   of paper or a letter from the DEA, like this        7         A. What did you say again? I didn't
    8   document here that we've been looking at, that      8   hear you.
    9   gave you guidance so you could read it and          9         Q. You can strike the question.
   10   understand it?                                     10             So the only document -- how many
   11            MS. WICHT: Object to the form of          11   documents have you seen -- how many letters like
   12        the question.                                 12   this have you seen from the DEA?
   13        A. They gave me an overview of our            13         A. I believe two letters.
   14   suspicious order monitoring program, gave me an    14         Q. Okay. One in 2006 and one in
   15   update on the meeting that they had in our         15   2007?
   16   corporate center with members of DEA, including    16         A. Yep.
   17   Barbara Boockholdt, Sue Langston, and also the     17         Q. And the 2006 is the one we just
   18   results of all the inspections that we were        18   referenced here?
   19   having. And no indication whatsoever that we       19         A. Yep.
   20   were not meeting the expectations of the agency.   20         Q. And from 2007 forward until -- you
   21        Q. Sir, what I'd really like is if            21   haven't seen any other letters from the DEA
   22   you just listen to my question, okay, and see if   22   describing Cardinal's responsibilities?
   23   you can answer the question that I'm asking.       23         A. It is possible, but I don't
   24   Okay?                                              24   recall.

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    1         Q. Okay. And if we could look also            1   between DEA and Cardinal Health.
    2   at P1.4915.                                         2         Q. Yeah. Well, we're going to talk
    3                 ---                                   3   about that later. But what I'm asking you right
    4       (Cardinal-Quintero Exhibit 13 marked.)          4   now is, you understood that as the registrant
    5                 ---                                   5   shall inform the DEA of suspicious orders when
    6             MR. HUNTER: What are the Bates            6   discovered by the registrant. You understood
    7         numbers, please?                              7   that was the rule and the law of the United
    8   BY MR. GRAY:                                        8   States as it related to Cardinal Health
    9         Q. And, sir, this is 21 CFR Section           9   distributing opioid narcotics, correct?
   10   1301.74. You're familiar with this section; is     10             MS. WICHT: Object to the form.
   11   that correct?                                      11         A. Correct. I agree with the
   12         A. With the 21 CFR, yes. Not within          12   regulatory requirements stated in 21 CFR
   13   the specific of all the sections, so I will have   13   1301.74.
   14   to review this one.                                14         Q. And this regulation has never
   15             MS. WICHT: This is -- it's one           15   changed, has it?
   16         section of it, correct?                      16         A. Not to the best of my knowledge.
   17             MR. GRAY: Correct.                       17         Q. Okay. So -- and then further,
   18             (Pause in proceedings.)                  18   "The suspicious orders include orders of unusual
   19         A. Yeah, I read the content.                 19   size."
   20         Q. And when did you first become             20             You understand that, don't you?
   21   familiar with 21 CFR 1301.74?                      21             MS. WICHT: Object to the form.
   22         A. I was -- I started reading soon           22         A. Unusual size, yeah. That's one of
   23   before and soon after, educating myself on some    23   the elements.
   24   of the aspects of the regulation. I was            24         Q. And suspicious orders also include
                                               Page 263                                                Page 265
    1   familiar with some of the regulation because one    1   "orders deviating substantially from a normal
    2   of my -- the manufacturing facilities that I was    2   pattern."
    3   responsible for had controlled substances, so we    3             You understand that, don't you?
    4   had to be familiar with the Controlled              4         A. It's what the regulation says.
    5   Substances Act.                                     5         Q. And you understand that the
    6         Q. Okay. And you understood, as we            6   regulation tells Cardinal Health that suspicious
    7   talked about in the previous exhibit, 4050, that    7   orders include orders of unusual frequency, as
    8   one of the requirements that the law placed upon    8   well, correct?
    9   Cardinal Health was that "The registrant shall      9         A. That's what the regulation says.
   10   design and operate a system to disclose the        10         Q. Okay, sir. Could you look back at
   11   registrant's suspicious orders of controlled       11   Exhibit 5, which is P1.4085.
   12   substances," correct?                              12             Do you have that in front of you,
   13             MS. WICHT: Object to the form.           13   sir?
   14         A. The regulatory requirement is to          14         A. Yes.
   15   operate a system to detect and report suspicious   15         Q. And Page 12, down at the bottom.
   16   orders, which we did.                              16   My colleague was asking you, Mr. Kroeger, about
   17         Q. And that "The registrant shall            17   this earlier. Do you have that, sir?
   18   inform the field division office of the            18             Down at the bottom, Mr. Arpaio of
   19   administration in his area of suspicious orders    19   the DEA "communicated to Mr. Moné that due
   20   when discovered by the registrant," correct?       20   diligence investigations must be performed on
   21         A. My understanding is we were               21   all customers, chain pharmacies included, when
   22   operating a system consistent with this            22   it appears that suspicious high volume orders
   23   requirement as we agreed on the interpretation     23   are requested of controlled substances and
   24   of this requirement during the 2009 meeting        24   questionnaires should be sent to these chains."

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    1            Now, did Mr. Moné ever tell you            1   concerning chain pharmacies, or at least you
    2   about his conversation with the DEA Mike Arpaio?    2   don't recall having that -- understood that?
    3            MS. WICHT: Object to form.                 3          A. I don't recall having that
    4        A. I don't recall this particular              4   conversation with Michael.
    5   conversation, if he had it with me or not.          5          Q. Okay. Would that have been
    6        Q. Well, if he would have had it with          6   something that you think you would have
    7   you, do you think you would have recalled it?       7   recalled? Because that's pretty important.
    8   Because at the time, you were not doing that        8   It's a DEA communication to Mr. Moné, who at the
    9   with chain pharmacies, were you? You were not       9   time was head of anti -- or was underneath you
   10   doing due diligence investigation on chain         10   in anti-diversion, correct?
   11   pharmacies.                                        11             MS. WICHT: Object to the form.
   12            MS. WICHT: Object to the form.            12          A. Don't recall this conversation.
   13        A. We were doing -- we were -- had a          13   Don't recall -- I don't know who Mike Arpaio is.
   14   threshold system applied to chain pharmacies,      14   So to the best of my knowledge, I cannot judge
   15   and when they trigger the threshold events, each   15   whether this conversation took place or not.
   16   threshold event was investigated and determined    16   You will have to ask Mr. Moné or Mike Arpaio
   17   whether or not additional information was needed   17   about this conversation.
   18   before we could classify that as a suspicious      18          Q. So Mr. Moné would be a better
   19   order.                                             19   person to discuss his communication with the DEA
   20        Q. But you weren't doing due                  20   Mike Arpaio than you because you don't recall
   21   diligence investigation on chain pharmacies,       21   the conversation Mr. Moné had with you and
   22   were you?                                          22   whether he did or not, correct?
   23        A. We were doing --                           23          A. Mr. Moné would be a better person
   24            MS. WICHT: Object to the form.            24   to comment on any interaction that he may have
                                               Page 267                                                Page 269
    1              Sorry.                                   1   or not have with Mike Arpaio.
    2          A. We did investigations in                  2                 ---
    3   partnership with chain pharmacies.                  3       (Cardinal-Quintero Exhibit 14 marked.)
    4          Q. Okay. Well, what you actually did         4                 ---
    5   was you called or otherwise corresponded with       5   BY MR. GRAY:
    6   the chain and had them do their investigation       6         Q. Mr. Quintero, I've showed you what
    7   and get back with you about whether or not they     7   has been marked as Plaintiff's Exhibit 14 to
    8   felt like it was suspicious or not, correct?        8   your deposition, P1.43.
    9              MS. WICHT: Object to the form.           9         A. Uh-huh.
   10          A. We communicated with the chain and       10         Q. And I'd ask you if you've ever
   11   requested additional investigation on particular   11   seen this document before.
   12   pharmacy, which included the results of their      12         A. No, I haven't.
   13   investigation.                                     13         Q. No one at Cardinal Health ever
   14          Q. But you relied on the results of         14   showed you Exhibit 14 to your deposition?
   15   their investigation, correct?                      15         A. I'm not -- I was not in charge of
   16              MS. WICHT: Object to the form.          16   the anti-diversion department at this point in
   17          A. We used the result of the                17   time, so I did not have responsibilities over
   18   investigation as one of the elements to -- for     18   this.
   19   us to make a decision. Like, for example, on       19         Q. But you've never been shown this
   20   219, I requested one of our members of our staff   20   letter before?
   21   to go to the store and do a surveillance           21         A. I don't recall me having this
   22   inspection.                                        22   document or seeing this document before.
   23          Q. Okay. And -- but Mr. Moné never          23         Q. And no one ever discussed this
   24   informed you of what Mr. Arpaio of the DEA said    24   document with you before at Cardinal Health?

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    1             MS. WICHT: You should just --             1   ended sometime in 2015, so I was not involved
    2         Mr. Quintero, if there's -- I don't know      2   with the day-to-day activities of this
    3         whether there have been conversations         3   particular program.
    4         that you would have had with lawyers for      4         Q. All right. And if you turn to the
    5         Cardinal about this document. If there        5   next page, sir. And the reason why I wanted to
    6         were, you should just exclude those from      6   know if anybody ever discussed this document
    7         your answer because those would be            7   with you is because if you look in the very
    8         privileged. But you can answer                8   first paragraph, it involves the sale of
    9         otherwise.                                    9   hydrocodone and oxycodone in West Virginia by
   10   BY MR. GRAY:                                       10   Cardinal Health there 2007 through 2012.
   11         Q. Have you ever had -- go ahead and         11             Do you see that?
   12   answer my question if you can.                     12         A. I see that.
   13         A. To be honest with you, I don't            13         Q. And so that was a period of time
   14   recall seeing this document before. This is the    14   that you were the vice president of regulatory,
   15   first time that I've -- that I believe I've seen   15   correct?
   16   it.                                                16         A. That period of time. Not entire
   17         Q. And you don't recall ever having          17   time. I became --
   18   any conversations with anyone about this           18         Q. 2009, you became -- you were
   19   document, correct?                                 19   there?
   20         A. I don't recall that.                      20         A. December 2009.
   21         Q. Okay. And, well, let's just go            21         Q. Yes, sir.
   22   through this document. It's from the Congress      22             So 2009 to 2012, so that was a big
   23   of the United States House of Representatives.     23   portion of the time that you were the vice
   24             Do you see that at the very top?         24   president, right?
                                               Page 271                                                Page 273
    1         A. I see it, yes.                             1             MS. WICHT: Object to the form.
    2         Q. So it's a letter from United               2         A. I was the vice president of QRA
    3   States Congress to George Barrett.                  3   for the pharmaceutical segment from
    4            Who's Mr. Barrett?                         4   December 1st, 2009. That included 2012.
    5         A. George used to be the CEO for the          5         Q. Yeah.
    6   corporation. He became executive chairman of        6             So -- and that's what we're
    7   the board.                                          7   talking about here, right, or the Congress of
    8         Q. And Michael Kaufmann, who is               8   the United States is asking Mr. Barrett and
    9   Michael Kaufmann?                                   9   Mr. Kaufmann about, about the sale and
   10         A. Michael Kaufmann used to be the           10   distribution of hydrocodone and oxycodone from
   11   chief executive officer for the pharma segment     11   2009 to '12. That's a big portion of this 2007
   12   and chief financial officer for the corporation    12   to '12 time frame, isn't it?
   13   and became the chief executive officer for         13             MS. WICHT: Object to the form.
   14   Cardinal Health.                                   14         A. So they're asking Mr. Kaufmann and
   15         Q. Okay. And if you look at the              15   Mr. Barrett about 2007 to 2012, I see that.
   16   second paragraph, it says, "As part of our         16         Q. Yeah, okay. But nobody ever came
   17   investigation, the committee wrote to you on       17   to you, Mr. Kaufmann or Mr. Barrett, and said,
   18   May 8th, 2017."                                    18   hey, we got this letter from Congress? This is
   19            Did you ever see a letter from the        19   when you -- a lot of this time was when you were
   20   Congress of the United States to Cardinal Health   20   in charge, can we talk to you about it?
   21   dated May 8, 2017, to your recollection?           21         A. I did not talk to Mr. Kaufmann or
   22         A. I don't recollect seeing that             22   Mr. Barrett about this letter.
   23   letter. Like I told you before, you know, my       23         Q. Okay. You didn't talk to anybody
   24   involvement with the anti-diversion program        24   about the letter, did you?

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    1        A. Not that I recall.                          1   distribution of drug product, but I don't recall
    2        Q. All right. Let's look at what the           2   that they contained the actual number. I don't
    3   Congress of the United States is saying to          3   remember.
    4   Cardinal. They're saying that you distributed       4         Q. Would that have been important to
    5   from 2007 to 2012 -- this is the first              5   you in your job to know that there were
    6   paragraph -- 241,122,241 doses of hydrocodone       6   241,122 -- or 241,122,241 doses of hydrocodone
    7   and oxycodone to West Virginia.                     7   and oxycodone being distributed to West Virginia
    8            Now, do you believe those numbers          8   between 2007 and 2012?
    9   to be true?                                         9             MS. WICHT: Object to the form.
   10        A. I don't have the information. I'm          10         A. All of the information that is
   11   assuming that Congress collected this              11   provided in terms of dosage unit has to be taken
   12   information from somebody, but I don't have        12   into context with the number of pharmacies that
   13   information in front of me. So -- and I haven't    13   we serve in a particular state, size of the
   14   done the analysis, so I don't know if that         14   state, number of hospitals in the state, the
   15   number is accurate or not.                         15   type of customers that we have in the state. So
   16        Q. Okay. Well, you don't think                16   there's -- all that information has to be taken
   17   Congress got it wrong, do you?                     17   into consideration in regards to the volume.
   18            MS. WICHT: Object to the form of          18         Q. When you were vice president of
   19        the question.                                 19   regulatory, did you ever go to West Virginia?
   20        A. I don't have the data to say               20         A. I've been in West Virginia. I
   21   Congress calculated the numbers right or           21   went to our Wheeling DC at least once that I
   22   Congress calculated the numbers wrong, because I   22   remember.
   23   don't have the data.                               23             (Reporter clarification.)
   24            MS. WICHT: They put the source of         24         Q. And do you know what the
                                               Page 275                                                Page 277
    1         their information in the letter, so it's      1   population of the state of West Virginia is?
    2         whatever it is.                               2         A. Not aware of that.
    3         Q. Now when you were -- are you --            3         Q. 1.8 million.
    4             MR. GRAY: Counsel, object to the          4             Is 241,122,241 doses of
    5         form if you'd like.                           5   hydrocodone and oxycodone in relation to 1.8
    6   BY MR. GRAY:                                        6   million people an unusual size?
    7         Q. When you were vice president of            7             MS. WICHT: Object to the form.
    8   regulatory, did you receive the number of doses     8         A. I wouldn't know. We have to take
    9   of hydrocodone and oxycodone distributed to West    9   into the context and I would have to do an
   10   Virginia from 2009 to 2012?                        10   analysis to determine that whether or not -- I
   11         A. We did analysis, but I don't              11   mean, this is total volume, you know. How many
   12   recall specifically somebody gave me a number      12   pharmacies? I don't know. The size of the
   13   for dosage that went to West Virginia. Our         13   pharmacies. So there's a lot of information
   14   analysis were based on a pharmacy-by-pharmacy      14   that is needed for me to be able to have a
   15   basis, and that's how our program operated,        15   judgment on that.
   16   based on pharmacy and our assessment of their      16         Q. Well, why do you need to know any
   17   due diligence in terms of filling prescriptions    17   more than the population? Why does the number
   18   for legitimate medical purpose.                    18   of pharmacies matter? Isn't it driven by the
   19         Q. Did you ever receive information          19   population of the state?
   20   on a statewide basis of the number of oxycodone    20             MS. WICHT: Object to the form.
   21   or hydrocodone doses distributed to a specific     21         A. The number of pharmacies that we
   22   state for a specific year when you were vice       22   have is that we have as customers is relevant to
   23   president of regulatory?                           23   the analysis.
   24         A. I remember some hit maps based on         24         Q. Well, if the ratio between 1.8

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    1   million people and 241 million dosage units, is           1         Q. But that in and of itself is not
    2   that relevant to what -- to unusual size?                 2   significant to you?
    3         A. Like I tell you --                               3             MS. WICHT: Object to the form.
    4              MS. WICHT: Object to the form.                 4         Q. The population and the number of
    5         Sorry.                                              5   pills?
    6         A. -- we can take one piece of                      6             MS. WICHT: Object to the form.
    7   information in isolation. It has to be done in            7         A. What I'm saying is that to make a
    8   totality, including other information that are            8   fair assessment of any distribution to any
    9   relevant to the analysis. It cannot be done               9   region of the country, you need to have
   10   only when -- like if you send 2 million dosage           10   additional data. And many healthcare
   11   units to a veteran hospital, is that a high              11   professionals would agree with me.
   12   size? Yeah, but it's probably a hospital that            12         Q. Let's go down to the next full
   13   needs 2 million dosage unit.                             13   paragraph. "The DEA Automation of Reports and
   14         Q. Let's go down to Family Discount                14   Consolidated Orders System (ARCOS) data provided
   15   Pharmacy, Mount Gay-Shamrock, West Virginia.             15   to the committee and referenced in the chart
   16         A. Uh-huh.                                         16   below indicate that over a five-year period,
   17         Q. Do you know where Mount                         17   Cardinal Health supplied Family Discount
   18   Gay-Shamrock, West Virginia, is?                         18   Pharmacy with over 6.5 million hydrocodone and
   19         A. No, sir. I'm not from West                      19   oxycodone pills."
   20   Virginia. I'm from Puerto Rico. Lived in                 20             Do you see that, sir?
   21   Texas, Tennessee, Virginia, Pennsylvania, Ohio,          21         A. Yes.
   22   but never in West Virginia.                              22         Q. Now, was that 6.5 million pills to
   23         Q. Okay. But do you know what county               23   one pharmacy, correct, sir?
   24   Mount Gay-Shamrock, West Virginia is in?                 24         A. Over a period of five years.

                                                      Page 279                                                   Page 281
    1        A. Sorry, sir. I don't know exactly                  1        Q.     Yeah.
    2   where that county is.                                     2             Do you see that, sir?
    3        Q. Let's look at this. It says, in                   3         A. According to this document.
    4   the middle of that paragraph, "According to the           4         Q. Yeah.
    5   DEA data, between 2006 and 2016, Family Discount          5             Now, we know from looking up top
    6   Pharmacy in Mount Gay-Shamrock received a total           6   that there's only 1,779 people in Mount Gay. So
    7   of 16,591,208 doses of hydrocodone and oxycodone          7   wouldn't that be an unusual size?
    8   from all distributors. According to US census             8         A. Like I told you --
    9   data in 2010, Mount Gay-Shamrock had a                    9             MS. WICHT: Object to the form.
   10   population of 1,779 people."                             10         A. -- you need to take the totality
   11            Do you see that?                                11   of the information, not only the volume. There
   12        A. I see that.                                      12   are other factors that would make a volume like
   13        Q. Now, is that ratio significant to                13   that justifiable.
   14   you, 1,779 people, as far as the population,             14         Q. Okay. And if -- keep going. "If
   15   receiving 16.5 million dosage units?                     15   accurate, this means that during this period,
   16        A. I don't know where --                            16   Cardinal Health shipped an average of 3,561
   17            MS. WICHT: Object to the form.                  17   hydrocodone and oxycodone pills every day to
   18        A. I don't know where Mount Gay is                  18   this one pharmacy in rural West Virginia."
   19   located. I don't know if there are other                 19             Would that meet the definition,
   20   population centers close to Mount Gay. I don't           20   under the CFR, of unusual frequency?
   21   know if there's a cancer hospital in Mount Gay.          21             MS. WICHT: Object to the form.
   22   There's a lot of information that I will have to         22         A. Like I said before, you would need
   23   do an assessment on the question that you're             23   the totality of the information to make an
   24   asking me.                                               24   assessment whether or not that volume is

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    1   appropriate for that particular pharmacy. I         1         A. No, sir. Sorry about that.
    2   don't know if that pharmacy was serving a           2         Q. Never been there?
    3   hospice clinic or hospice facility. I would         3         A. I don't remember ever being in
    4   have to have a lot more information to make that    4   Williamson, West Virginia.
    5   assessment.                                         5         Q. Okay. What if I told you that
    6        Q. And when your staff brought this            6   Williamson County -- Williamson, West Virginia
    7   information at Family Discount Pharmacy to your     7   is in Mingo County and Family Discount Drug is
    8   attention, did you do that analysis that you're     8   in Logan County, they're right next to each
    9   talking about?                                      9   other? Two small, little counties in West
   10             MS. WICHT: Object to the form.           10   Virginia.
   11        A. I don't -- I review hundreds of            11            MS. WICHT: Object. I don't know
   12   pharmacy. I don't review this particular           12         what the question is.
   13   pharmacy.                                          13   BY MR. GRAY:
   14        Q. Okay. You never reviewed this              14         Q. You don't know? You've never
   15   one? Nobody ever brought this one to your          15   investigated, never been to West Virginia,
   16   attention?                                         16   except one time to your DC, correct?
   17        A. No, I'm not saying that. I'm               17            MS. WICHT: Let him ask a question
   18   saying that I don't recall the review of this      18         before you give an answer, please.
   19   particular pharmacy.                               19         Okay?
   20        Q. So this size volume just really            20            Go ahead and pose a question.
   21   didn't hit your radar screen? Because you would    21   BY MR. GRAY:
   22   have recalled it if it was something that was      22         Q. Is that true, sir? The only
   23   significant, wouldn't you?                         23   place --
   24             MS. WICHT: Object to the form.           24         A. What was the question?
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    1         Mischaracterizes.                             1         Q. The only place you've been in West
    2         A. I disagree with your statement. I          2   Virginia is your DC?
    3   review hundreds of pharmacies with my team, and     3         A. I've driven by West Virginia. I
    4   the recollection of the name of a particular        4   don't remember ever staying in West Virginia. I
    5   pharmacy is not something that I could tell you     5   remember visiting our DC. I don't remember if
    6   that I remember this particular one or any other    6   it was once or more than once, but I have
    7   particular one.                                     7   visited our DC in West Virginia.
    8         Q. Last sentence, "This means that            8         Q. Never been to Mingo County?
    9   Cardinal Health alone shipped an average of         9             MS. WICHT: Objection. Asked and
   10   approximately 731 opioid pills per year to every   10         answered.
   11   man, woman, and child in Mount Gay."               11         A. Sir, I don't know where Mingo
   12             Now, that, sir, that would be an         12   County is.
   13   unusual size order pursuant to 21 CFR that we      13         Q. Okay. According -- right under
   14   discussed earlier, correct?                        14   this, Hurley Drug, Williamson, West Virginia.
   15         A. I could not say that --                   15   I'm reading this. "According to DEA data,
   16             MS. WICHT: Object to the form.           16   between 2006 and 2016, distributors shipped a
   17         A. I could not say that without              17   total of 20,827,620 hydrocodone and oxycodone
   18   reviewing the totality of information that we      18   pills to Williamson, West Virginia."
   19   have for this particular pharmacy.                 19             Do you see that, sir?
   20         Q. All right. Let's go to 43.4.              20         A. Is that on the next page?
   21   Hurley -- in the middle there, Hurley Drug         21             MS. WICHT: I think he's on 4.
   22   Company, Williamson, West Virginia.                22             THE WITNESS: 4?
   23             Do you know where Williamson, West       23             MS. WICHT: Yeah.
   24   Virginia is?                                       24         A. That's what it says in this

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    1   document.                                           1         Q.   How big would the hospice need to
    2   BY MR. GRAY:                                        2   be?
    3         Q. Okay, sir. And down at the                 3             MS. WICHT: Object to the form of
    4   next-to-the-last paragraph, it says, "According     4         the question.
    5   to US census data, Williamson's population was      5         A. I personally do not know that, but
    6   3,191 in 2010."                                     6   is one of the -- is one of the information that
    7            Do you see that?                           7   my team at that time will ask the pharmacy if
    8         A. Where is that in the document?             8   they served hospices.
    9         Q. Page 43.4.                                 9         Q. So that would be something that
   10         A. Okay. Towards the end of the              10   Mr. Moné would be better to answer, right, the
   11   document.                                          11   size of -- that a hospice would need to be?
   12         Q. Very last paragraph.                      12             MS. WICHT: Object to the form.
   13         A. Okay.                                     13         A. I think Mr. Moné had more details
   14         Q. So, again, the ratio of population        14   on the mechanics of the program at that time
   15   to the amount of pills, 3,191 population, and      15   than I do in terms of the details.
   16   20.8 million pills, under the rules and            16         Q. And in a town of 3,191 people, how
   17   regulations that we talked about, the letter and   17   many beds would the hospital need to have?
   18   the CFR, does that -- as the vice president of     18             MS. WICHT: Object to the form.
   19   regulatory, is that something that you would say   19         A. You're asking me for details that
   20   is an unusual size under the regulation?           20   I was not involved in the day-to-day execution
   21            MS. WICHT: Object to the form.            21   of the program and the evaluation of this
   22         A. The letter is not the regulation.         22   pharmacy, but I'm sure my staff evaluated this
   23   The regulation is the Controlled Substances Act.   23   pharmacy, then made decisions according to their
   24         Q. Under the Controlled Substances           24   best judgment and information that they had.
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    1   Act, would you say that's an unusual size for a     1         Q. Well, you just told us that you
    2   population of 3,191 people?                         2   looked at hundreds of pharmacies every year,
    3         A. You would have to see the totality         3   right?
    4   of information, like I told you before. You'd       4         A. I look -- I have looked at
    5   have to look at other factors to determine if       5   hundreds of pharmacies.
    6   that particular size was appropriate for that       6         Q. Do you recall looking at Hurley
    7   pharmacy during that period of time.                7   Drug Company in Williamson, West Virginia?
    8         Q. Okay. And what are the factors             8         A. I don't recall. It's possible,
    9   you would want to look at?                          9   but I don't recall.
   10         A. There's many factors as                   10         Q. Doesn't stand out to you, correct?
   11   demographics of the area.                          11             MS. WICHT: Object to the form.
   12         Q. What specifically about the               12         A. I don't recall. I've reviewed so
   13   demographics of 3,191 people?                      13   many pharmacies. I've had -- reviewed so many
   14         A. Demographics in terms of, we have         14   pieces of information in my company that I don't
   15   employees, workers' compensation because they've   15   recall every single item that I have reviewed
   16   got injuries, you have to check their hospitals    16   over a nine-year period.
   17   in the area, if they serve hospice, if that        17         Q. So in your role as vice president
   18   particular county is close to other counties       18   at Cardinal Health over regulatory, a pharmacy
   19   that have larger population. Many, many            19   like Hurley Drug Company would not stand out,
   20   factors.                                           20   and doesn't stand out, because you don't recall
   21             Our focus is -- in the due               21   it, correct?
   22   diligence process is, is the pharmacy conducting   22             MS. WICHT: Objection to the form.
   23   their due diligence and filling prescriptions      23         Mischaracterizes testimony.
   24   for legitimate medical use.                        24         A. I think the characterization is

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    1   inaccurate. I think it would have been reviewed     1   discuss Hurley Drug with you, correct?
    2   by somebody. I don't know when and how and the      2         A. I don't recall --
    3   determinations that were made. I don't recall       3         Q. And no one --
    4   that.                                               4         A. -- this letter being discussed
    5         Q. Did you ever instruct your staff           5   with me.
    6   on these issues about how big a pharmacy -- I       6         Q. Okay. Well, Hurley Drug, did they
    7   mean, how big a hospice should be or how big a      7   ever come to you to discuss Hurley Drug with
    8   hospital should be? Did you ever have               8   you?
    9   discussions with them about that in these --        9         A. I don't recall.
   10   concerning these small, rural counties in West     10         Q. And did they ever come and discuss
   11   Virginia?                                          11   with you Family Discount Pharmacy?
   12             MS. WICHT: Object to the form.           12         A. I don't recall.
   13         A. I don't recall having specific            13         Q. And when you were vice president
   14   discussions on the size of hospice. I remember     14   of regulatory, in your role, did you ever
   15   discussing the number of beds and -- but do not    15   discuss with your team the volume of opioids
   16   recall the details on what would that mean in      16   being distributed in the state of West Virginia?
   17   terms of volume.                                   17             MS. WICHT: Object to the form of
   18         Q. Well, what do you recall                  18         the question.
   19   discussing about the number of beds of a           19         A. I recall us discussing volumes to
   20   hospital?                                          20   specific pharmacies in West Virginia, but do not
   21         A. At a hospital?                            21   recall specific what pharmacies we evaluated.
   22         Q. Yeah.                                     22         Q. Okay, sir. I really want you to
   23         A. Hospital? We develop an algorithm         23   listen to my question, okay, because I know
   24   for hospitals based on the type of hospital, the   24   you've got a flight to catch, and you need to
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    1   specialty for that particular hospital. I           1   listen to my question and see if you can answer
    2   believe it included beds, too.                      2   it. Okay?
    3        Q. And in your discussions, did you            3         A. Uh-huh.
    4   ever -- well, during the period of time that you    4         Q. My question is: When you were the
    5   were vice president of regulatory, did West         5   vice president at Cardinal Health in charge of
    6   Virginia, as a state in the amount and number of    6   regulatory, did you ever discuss the amount of
    7   opioid drugs being distributed by Cardinal          7   opioid narcotics being distributed by Cardinal
    8   Health to West Virginia, was that ever a focus      8   Health in the entire state of West Virginia?
    9   at any meetings that you had with your team?        9   Yes or no?
   10        A. I remember reviewing pharmacies in         10             MS. WICHT: Object to the form.
   11   West Virginia.                                     11         A. I cannot say that I recall one way
   12        Q. But the state as a whole, did you          12   or another. I remember us reviewing hit maps
   13   ever look at the state as a whole?                 13   where it shows where there were large volume of
   14        A. I remember reviewing several               14   opioids being distributed and us deciding to do
   15   pharmacies in West Virginia. I do not have         15   investigations for those particular areas. If
   16   recollection of the names of those pharmacies.     16   West Virginia was one of them, it's possible,
   17        Q. You don't recall any of those              17   but I don't recall.
   18   pharmacies, correct?                               18         Q. For a state of 1.8 million people,
   19            MS. WICHT: Object to the form.            19   what would be a large volume of opioids being
   20        A. If you ask me to mention name of           20   distributed in that state per year?
   21   pharmacies right now, I would not recollect. We    21             MS. WICHT: Object to the form.
   22   have thousands of customers.                       22         A. Sir, I cannot tell you. What I
   23        Q. And when -- and no one ever came           23   told you before, you have to look at the
   24   to you after Cardinal received this letter to      24   totality of information.

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    1         Q. Okay. Well, why don't you know             1         Q. Do you know the demographics of
    2   the totality of West Virginia? I mean, Cardinal     2   Cuyahoga County, Ohio?
    3   Health had a distribution center, didn't they,      3         A. I don't know, sir.
    4   in West Virginia?                                   4         Q. Do you know the demographics of
    5             MS. WICHT: Object to the form.            5   Summit County, Ohio?
    6         A. We did have -- we do have a                6         A. (Shakes head.)
    7   distribution center in Wheeling, West Virginia.     7         Q. Do you know where Cuyahoga County
    8         Q. Okay. And did you ever spend the           8   is?
    9   night in West Virginia?                             9         A. No, sir.
   10         A. I don't remember spending the             10         Q. You don't know --
   11   night. It's possible that I stay in West           11         A. I know Franklin County.
   12   Virginia when I visited them, but it's possible    12         Q. You're telling this jury that you
   13   that I drove back that day. I don't recall.        13   don't know where Cuyahoga County, Ohio is?
   14         Q. You don't recall, all right.              14             MS. WICHT: Object to the form of
   15             Do you have -- are you familiar,         15         the question.
   16   in your role as vice president of regulatory       16         A. I don't know that, sir.
   17   that distributed narcotic opioids to West          17         Q. Are you telling this jury you
   18   Virginia, how many hospitals there are in West     18   don't know where Summit County, Ohio is?
   19   Virginia?                                          19         A. Sir, I don't know where Summit,
   20         A. Sir, I don't have that -- I don't         20   Ohio, County is.
   21   recall that information. I don't have that         21         Q. Never been there, as far as you
   22   information.                                       22   know?
   23         Q. How about how many hospices there         23         A. I don't know. I could have driven
   24   are?                                               24   by it in my -- some place. I drive all over the
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    1         A. Sir, I don't recall that                   1   place, so I'm assuming I've been in many
    2   information.                                        2   different places. But if you tell me a county,
    3         Q. How about any of the demographics          3   I will not know what the name of the county.
    4   that you talked to me about earlier, do you know    4   Counties that I'm familiar with: Franklin
    5   that about West Virginia?                           5   County, Delaware County. That's where I reside
    6         A. I don't --                                 6   and that's where I work.
    7             MS. WICHT: Object to the form.            7         Q. Okay. Do you know the population
    8         A. I don't recall any of that                 8   of Cuyahoga County?
    9   information about West Virginia or any other        9         A. Sir, I told you I didn't know
   10   state in the nation.                               10   where Cuyahoga County was, so how can I know the
   11         Q. Okay. Don't know about it Ohio,           11   population if I don't even know where it is.
   12   do you?                                            12         Q. How about Puerto Rico, do you know
   13         A. I don't -- know the population of         13   the population of Puerto Rico?
   14   Puerto Rico. I think it's 3.4 million. But         14         A. Around 3.4 million people.
   15   other than that, I cannot tell you what the        15         Q. How about San Juan?
   16   population of Ohio is.                             16         A. I'm not sure of the population. I
   17         Q. Don't know what the population of         17   think it's closer to a million, but I'm not sure
   18   Ohio is.                                           18   of that either.
   19             Do you know the population of            19         Q. Closer to a million?
   20   Cuyahoga County, Ohio?                             20         A. I think. I'm not sure.
   21         A. No, sir.                                  21             MR. GRAY: 4019, please.
   22         Q. How about Summit County, do you           22                  ---
   23   know that population?                              23       (Cardinal-Quintero Exhibit 15 marked.)
   24         A. No, I don't.                              24                  ---

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    1   BY MR. GRAY:                                      1             Do you recall that?
    2         Q. Sir, let me show you what is             2         A. Uh-huh.
    3   P1.4019, if you turn to Page 2. We've marked      3         Q. Okay. And if you turn to the next
    4   that as Plaintiff's Exhibit Number 15 to your     4   page, despite the -- and if you look at
    5   deposition.                                       5   Paragraph 3, "Despite the MOA, the specific
    6             Have you ever seen this document        6   guidance provided to Cardinal by the DEA, and
    7   before, sir?                                      7   despite the public information readily available
    8         A. Yes, I have seen this document           8   regarding oxycodone epidemic in Florida,
    9   before.                                           9   Cardinal has failed to maintain effective
   10             MS. WICHT: Maybe mine is just          10   controls against the diversion of controlled
   11         missing some pages. I don't have a         11   substances into other than legitimate medical,
   12         Page 1 or a Page 2 in my copy.             12   scientific, and industrial channels, in
   13             MR. GRAY: Oh, really?                  13   violation of 21 USC Section 823(b)(1) and
   14             MS. WICHT: It may be that the          14   (e)(1)."
   15         witness does. I can't tell whether we      15             Do you see, that sir?
   16         have the same thing or not.                16         A. I see that language in the
   17             MR. GRAY: I'm sorry.                   17   document.
   18             MS. WICHT: It's okay.                  18         Q. And so the DEA indicated here that
   19             MS. WADHWANI: I don't either, but      19   they gave you specific guidance and you failed
   20         I'm not necessary.                         20   to follow it.
   21             MR. GRAY: I apologize.                 21             Do you see that?
   22             MS. WICHT: That's okay. I just         22             MS. WICHT: Object to the form.
   23         want to make sure it's the same thing.     23         A. This is in the first sentence it
   24         That's all.                                24   says that?
                                              Page 299                                               Page 301
    1             Would you turn to Page 3 on yours       1         Q. Yeah. And, in fact, they're
    2        and I can just check that it's the same      2   telling you that you violated the law, correct?
    3        thing?                                       3             MS. WICHT: Object to the form.
    4             MR. GRAY: Why don't you check and       4         A. I think the language there says in
    5        make sure he's got --                        5   violation of 21 USC (b)(1) and (1)(e) -- I
    6             MS. WICHT: Okay. It appears to          6   believe that's an (l) or (1).
    7        be. It's -- we can go ahead, and if          7         Q. And do you recall earlier when we
    8        there's something I need to take a look      8   were going through the 2006 letter that you
    9        at, I will do that.                          9   looked at when you first came to 2009, that it
   10             MR. GRAY: Okay. I'm sorry.             10   talked about what 21 USC -- what the DEA thought
   11             MS. WICHT: That's okay.                11   21 USC Section 823 instructed Cardinal on? Do
   12   BY MR. GRAY:                                     12   you recall that?
   13        Q. Actually, sir, if you look at            13             MS. WICHT: Object to the form,
   14   Page 3, 40193 --                                 14         foundation.
   15        A. Yes.                                     15             MR. GRAY: You can look at the
   16        Q. -- now -- well, actually, if you         16         foundation. It's in the letter. You
   17   turn back to Page 2. I'm sorry. Just the first   17         and I talked about it. It's effective
   18   sentence of paragraph -- numbered paragraph 2    18         controls.
   19   which says, "On September 30th, 2008, Cardinal   19             THE WITNESS: Is this the document
   20   entered into an Administrative Memorandum of     20         you're talking about (indicating)?
   21   Agreement with the DEA."                         21             MR. GRAY: No, sir. It's this
   22             Do you see that, sir? I'm just         22         document here, 4050, the letter that you
   23   using it as a reference. And you talked to my    23         reviewed from 2006 from the DEA.
   24   colleague, Mr. Kroeger, about the 2008 MOA.      24


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    1   BY MR. GRAY:                                          1   settlement.
    2         Q. Specifically, sir, if you just go            2         Q. Do you understand it was
    3   back and look at 4050.3.                              3   $34 million?
    4             Could you pull that up, sir.                4         A. I understand that we paid in
    5             4050.3, and in the third full               5   settlement.
    6   paragraph, 21 USC 823(e).                             6         Q. You don't know it was 34 million?
    7             Do you see that in the middle,              7         A. I think it's -- I don't recall the
    8   sir? And what the DEA in this letter's telling        8   exact number. Don't have any reason not to
    9   Cardinal Health is that they have a duty of a         9   believe that it's 34, but I would have to check
   10   distributor to maintain effective controls           10   the settlement to refresh my mind.
   11   against diversion of controlled substances into      11         Q. It's really 44 million, but we'll
   12   other than legitimate medical, scientific and        12   get to that. But for this problem, you paid
   13   industrial channels.                                 13   34 million.
   14             And you understood that; we talked         14             Do you understand that?
   15   about it earlier. You understood that was one        15             MS. WICHT: Objection.
   16   of the requirements that the DEA placed on           16         Q. Did anybody at Cardinal Health
   17   Cardinal Health in order to distribute opioids,      17   ever tell you that they paid $34 million for
   18   correct?                                             18   this failure?
   19             MS. WICHT: Object to the form of           19             MS. WICHT: Object to the form of
   20         the question.                                  20         the question.
   21         A. The regulations of the Controlled           21         A. Repeat the question again.
   22   Substances Act requires us to have effective         22         Q. Did anybody at Cardinal Health
   23   controls against diversion, which I believe --       23   ever tell you they paid $34 million for this
   24         Q. Yes, sir.                                   24   failure to maintain effective controls?
                                                  Page 303                                               Page 305
    1           A.   -- we have and we have done in the       1             MS. WICHT: Object to the form of
    2   past.                                                 2         the question.
    3         Q. Well, I know you believe it, but             3         A. Cardinal Health, they had -- I was
    4   if you go to this document that I've just shown       4   told that we paid an amount of money, and I
    5   you, P1.4019, Page 3, the DEA said you failed to      5   don't disagree with $34 million, as part of a
    6   maintain effective controls against diversion in      6   settlement that we reached with the food and
    7   violation of the law, correct?                        7   drug -- I mean, the Drug Enforcement
    8         A. We disagree with that statement.             8   Administration.
    9   We have fulfilled our regulatory requirements of      9         Q. Is $34 million a lot of money to
   10   developing effective controls against diversion      10   Cardinal Health?
   11   of controlled substances, as we had shown by our     11             MS. WICHT: Object to the form of
   12   termination over 350 customers during the period     12         the question.
   13   of time that I remember.                             13         A. $34 million is a lot of money.
   14         Q. Sir --                                      14         Q. It's more than you put into your
   15         A. I believe that number is probably           15   capital improvements for diversion, correct?
   16   much higher now.                                     16             MS. WICHT: Object to the form of
   17         Q. Okay. Well, sir, are you aware              17         the question. Mischaracterizes prior
   18   that your company paid a $34 million fine for        18         testimony.
   19   this failure?                                        19         A. $34 million is a lot of money.
   20             MS. WICHT: Object to the form of           20         Q. A lot of money, okay.
   21         the question.                                  21             And you put $25 million into your
   22         A. I'm aware that we reached a                 22   capital improvements, right?
   23   settlement with the US Department of Justice and     23             MS. WICHT: Object to the form.
   24   that we paid a sum of money as part of the           24         Q. To your -- during the period of
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    1   time that you were in diversion?                    1   Section 1301.74, which is P1.419 [sic], which we
    2              MS. WICHT: Object to the form of         2   have up here on the screen, at the very last
    3          the question.                                3   sentence, sir, it says, "Suspicious orders
    4          A. Plus thousands of dollars and             4   include orders of unusual size."
    5   millions of dollars in operating the                5              Okay? And then it says,
    6   anti-diversion system.                              6   "Suspicious orders include orders deviating
    7          Q. Do you know what the total revenue        7   substantially from a normal pattern." And then
    8   of Cardinal Health was from 2009 to 2018?           8   it says, "Suspicious orders include orders of
    9          A. Don't recall, sir.                        9   unusual frequency."
   10          Q. Trillion dollars. More than a            10              So this 803 percent in one year,
   11   trillion.                                          11   which one of those three would it -- in your
   12              Is 25 million a lot compared to a       12   mind, as vice president of regulatory, which one
   13   trillion?                                          13   of those three would it meet?
   14              MS. WICHT: Object to the form of        14              MS. WICHT: Object to the form of
   15          the question.                               15         the question. Foundation.
   16          A. It depends what the profit margin        16         Mischaracterize.
   17   is for those amount of money. I don't believe      17         A. The increase would hit likely a
   18   that we made that much money in profit.            18   threshold event, which requires other members of
   19          Q. Yeah, profit's important.                19   our staff to assess whether or not that increase
   20              Okay. Let's go back to 4019.3.          20   is justifiable for legitimate medical reasons.
   21   Let's look at what the DEA said. I want to ask     21   And if it is justifiable, that was the system
   22   you some questions about that.                     22   that we had at that time and that was agreed
   23              In 4a, from 2008 to 2009,               23   with the agency in our meeting of 2009 that the
   24   Cardinal's sales to its top four retail pharmacy   24   order didn't have to be reported as suspicious
                                               Page 307                                                Page 309
    1   customers increased to approximately 803            1   after that assessment was done.
    2   percent.                                            2         Q. Yeah, but --
    3             Now, what I want to ask you about         3         A. It cannot be determined to be
    4   that is, you and I have talked about the law.       4   suspicious until an assessment was done. That
    5   Do you think that 803 percent increase is           5   was the agreement that we had with the agency at
    6   unusual size or frequency for pattern?              6   that time.
    7             MS. WICHT: Object to the form of          7         Q. Now, I want you to -- it's right
    8         the question.                                 8   there on the screen. I want you to look at the
    9         Q. And I'm asking you this in your            9   law, and I want you to tell me where all of that
   10   context as a vice president of regulatory.         10   that you just said is in the law.
   11         A. It's an --                                11         A. It says --
   12             MS. WICHT: Same objection.               12             MS. WICHT: Object to the form of
   13         A. It's an increase in volume that           13         the question.
   14   should be looked at.                               14         A. The interpretation that we had
   15         Q. Okay. So it would meet one of             15   with the agency at that time, based on the
   16   those three criteria, correct, as a suspicious     16   meeting that we had in 2009 with Ruth Carter and
   17   order?                                             17   Sue Langston was the definition that we were
   18             MS. WICHT: Objection to the form         18   using to determine what was a suspicious order,
   19         of the question.                             19   which was consistent with the regulatory
   20         A. I did not -- I did not say that           20   requirements as we understood it and as we
   21   and you're mischaracterizing my answer. It's a     21   thought expectations of the agency were at that
   22   volume that I think would be appropriate to        22   time.
   23   evaluate to determine if it's concerning or not.   23         Q. Okay. Well, obviously you got it
   24         Q. Well, if we go back to 21 CFR             24   wrong, correct?

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    1             MS. WICHT: Object to the form of          1   frequency?
    2         the question. Argumentative.                  2             MS. WICHT: Object to the form.
    3         A. I wouldn't say that we got it              3         And asked and answered.
    4   wrong. I would say that the agency changed the      4         A. We were following the regulations
    5   interpretation of the regulations and we had        5   as we understood at that time.
    6   multiple opportunities for the agency to tell us    6         Q. Sir, answer my question. Where
    7   that our interpretation was wrong and it was        7   does it say anything other than what I read?
    8   never done.                                         8             MS. WICHT: Object to the form.
    9         Q. Okay. Well, go back to my                  9         A. I maintain my previous answer
   10   question. Where in the law does it say all of      10   that, this language was discussed with members
   11   that stuff you're talking to me about? What the    11   of DEA and headquarters. We agreed on the
   12   law says is, suspicious orders include orders of   12   interpretation of the language and we were
   13   unusual size; suspicious orders include orders     13   executing our program according to that
   14   deviating substantially from the normal pattern;   14   interpretation.
   15   orders of unusual frequency.                       15         Q. Okay. And you weren't at this
   16             So this 803 percent, which one of        16   meeting?
   17   those would it be?                                 17         A. Like I told you before, I got to
   18             MS. WICHT: Objection. Asked and          18   Cardinal Health December 1st, 2011. That
   19         answered.                                    19   meeting occurred earlier that year.
   20         Q. Is it unusual size, or is it              20         Q. And nobody ever showed you a
   21   deviating from normal pattern or frequency?        21   document from the DEA about that meeting?
   22   Which one is it?                                   22             MS. WICHT: Objection. Asked and
   23             MS. WICHT: Objection. Asked and          23         answered.
   24         answered.                                    24         A. I had updates from several members
                                               Page 311                                                Page 313
    1         Q. I want you to look at the law, not         1   of the Cardinal Health team, including Michael
    2   your interpretation.                                2   Moné, including Bob Giacalone, including my
    3              MS. WICHT: Objection. Asked and          3   boss, with a consistent interpretation of the
    4         answered. Several times.                      4   outcome of the meeting with the DEA. The DEA
    5         A. I'm looking at -- I've answered            5   had plenty of opportunity to tell us that our
    6   that question more than once. And I told you,       6   interpretation was not adequate during the
    7   you know, we had a meeting with the DEA --          7   dozens and dozens of cyclic inspections that we
    8         Q. Sir, sir, I'm not asking about the         8   had, and that was --
    9   meeting --                                          9         Q. And that's exactly what they're
   10         A. -- in 2009 where, we discussed --         10   doing in this document, 4019, is telling you
   11         Q. -- what I'm asking about is the           11   that you failed and you broke the law, correct?
   12   law. The law.                                      12         A. We were --
   13              MS. WICHT: Okay. Let him answer         13             MS. WICHT: Object to the form of
   14         the question.                                14         the question.
   15              MR. GRAY: We're going to be here        15         Q. Is that true, sir?
   16         all day.                                     16         A. We were surprised by the agency
   17              MS. WICHT: Well, you have seven         17   taking this action against us because it was our
   18         hours total, so keep going.                  18   understanding that we were meeting the
   19   BY MR. GRAY:                                       19   expectations of the agency. And it was our
   20         Q. Where under the law is Section 21         20   understanding that we were performing according
   21   CFR 1301.74, P1.4915, does it say anything other   21   to the regulatory requirements of the Controlled
   22   than a suspicious order includes orders of         22   Substances Act.
   23   unusual size, orders deviating substantially       23         Q. Well, you were -- you were so
   24   from a normal pattern, and orders of unusual       24   surprised -- did Cardinal Health put you in

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    1   charge of trying to get the $34 million back you    1        an hour and ten minutes. Whenever it is
    2   paid in a fine?                                     2        a good time to take a short break.
    3             MS. WICHT: Object to the form of          3             MR. GRAY: Okay. That's fine.
    4         the question.                                 4             VIDEOGRAPHER: Time is now 2:28.
    5         A. I don't work for sales. My job is          5        Going off the record.
    6   in regulatory, it's make sure that we have          6             (Recess taken.)
    7   regulatory programs that helps the company          7             VIDEOGRAPHER: Time is now 2:46.
    8   comply with the regulatory requirements.            8        Back on the record.
    9         Q. In fact, you were so surprised             9                  ---
   10   that you were just clearly interpreting the        10      (Cardinal-Quintero Exhibit 16 marked.)
   11   rules and regulation and laws concerning           11                  ---
   12   distribution just completely improperly, right?    12   BY MR. GRAY:
   13             MS. WICHT: Object.                       13        Q. Mr. Quintero, I'm showing you what
   14         Q. I mean, you're going --                   14   we've marked as Plaintiff's Exhibit 16 to your
   15         A. I don't believe that --                   15   deposition, P1.565. I want to ask you if you've
   16             MS. WICHT: Object to the form of         16   ever seen this document before.
   17         the question.                                17        A. I believe I have seen this before.
   18         A. I don't believe at that time we           18        Q. And at the very top,
   19   had that understanding. At that time, we felt      19   "Administrative Memorandum of Agreement," do you
   20   that we were meeting our regulatory                20   see that, sir?
   21   requirements, as I told you, and that was the      21        A. Yep.
   22   understanding that we had with -- from the         22        Q. Okay. And if you look at 5a, can
   23   meeting that we had with Barbara Boockholdt and    23   you read that into the record for me, please.
   24   Sue Langston.                                      24        A. 5a?

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    1         Q. And despite this document in front         1        Q.    Yes, sir.
    2   of you right now, P1.4019.2 and the $34 million     2        A.    "The Order to Show Cause" --
    3   fine and everything that's contained in it,         3        Q.    No, 5 -- well, just 5a.
    4   you're still surprised, aren't you?                 4            MS. WICHT: You can't read a
    5             MS. WICHT: Object to the form of          5         subparagraph without reading the
    6         the question.                                 6         heading.
    7         A. I was -- we were surprised at that         7            MR. GRAY: He can read the whole
    8   time and we made changes to the program.            8         document in the record. That's fine.
    9         Q. And you're still surprised. My             9            MS. WICHT: Sure.
   10   question is, are you still surprised?              10            MR. GRAY: If counsel doesn't like
   11             MS. WICHT: Let him finish his            11         you to read just a sentence, go ahead
   12         answer, please.                              12         and just read the whole thing.
   13             MR. GRAY: Well, he's not                 13            MS. WICHT: Just trying to not be
   14         answering the question.                      14         misleading.
   15   BY MR. GRAY:                                       15            MR. GRAY: Okay. I'll tell you
   16         Q. Are you still surprised? That's           16         what.
   17   the question.                                      17   BY MR. GRAY:
   18         A. We were surprised at that time,           18         Q. 5a, I'll read it. "Despite the
   19   and no longer surprised. I mean, that happened     19   2008 MOA, Cardinal Lakeland failed to maintain
   20   a long time ago, so we -- I was surprised at       20   effective controls against diversion of
   21   that time. We made changes to our program          21   particular controlled substances into other than
   22   according to the new expectations from the         22   legitimate medical, scientific, and industrial
   23   agency.                                            23   channels as evidenced by sales of certain
   24             MS. WICHT: We've been going about        24   customers of Cardinal."

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    1             Do you see that, sir?                     1   document. Who did you talk to about Cardinal's
    2         A. I see that.                                2   admission that its due diligence efforts for
    3         Q. And did anyone at Cardinal Health,         3   some pharmacy customers and its compliance with
    4   or did you direct anyone at Cardinal Health, to     4   the 2008 MOA, in certain respects, were
    5   do a list of all the problems that the DEA found    5   inadequate? Who did you talk to at the company
    6   at the Cardinal Lakeland facility?                  6   about that?
    7             MS. WICHT: Object to the form of          7             MS. WICHT: Mr. Quintero, you
    8         the question.                                 8        can -- I don't know whether you had
    9         A. Repeat that again.                         9        discussions with lawyers about that
   10         Q. Let's do it this way. Did you             10        subject.
   11   direct anyone to come up with a list of all of     11             MR. GRAY: If you had it with
   12   the ways that Cardinal Health Lakeland failed to   12        lawyers, don't tell me what you -- the
   13   maintain effective controls against diversion?     13        discussion with the lawyers, but you can
   14             MS. WICHT: Object to the form of         14        tell me you had it with legal.
   15         the question.                                15             MS. WICHT: Sir, I'll instruct him
   16         A. I spoke with my staff about some          16        on issues of privilege. It's Cardinal
   17   of the allegations made by the agency, and we      17        Health's privilege, and I'll instruct
   18   talked about, how do we make sure that we meet     18        him about what he can and cannot reveal
   19   the new requirements that the agency was           19        under the privilege.
   20   imposing on us.                                    20             I agree that if -- what I was
   21         Q. These aren't really allegations,          21        about to tell him, if you wouldn't have
   22   are they?                                          22        interrupted me, was that if he had
   23             MS. WICHT: Object to the form of         23        discussed it with lawyers, he could
   24         the question. The document refers to it      24        identify those lawyers, but he should
                                               Page 319                                                Page 321
    1         as an allegation, counsel.                    1         not reveal the substance of any
    2         A. This says above "alleged."                 2         communications.
    3         Q. Okay. Let's look at the next               3         A. Most of those conversations that I
    4   page. First paragraph, "Cardinal admits that        4   remember, probably all conversations, were in
    5   its due diligence efforts for some pharmacy         5   front of our chief legal regulatory counsel, Bob
    6   customers and its compliance with the 2008 MOA,     6   Giacalone, or with Mr. Morford, our chief legal
    7   in certain respects, was inadequate."               7   counsel.
    8             Do you see that?                          8         Q. Okay. So you had -- and as your
    9         A. I'm trying to locate where that            9   lawyer said, you don't have to tell us the exact
   10   language -- what number?                           10   discussions, but you learned of this -- these
   11         Q. Do you see it? See it? See it?            11   Cardinal admissions with discussions with legal,
   12   "Cardinal admits." Do you see that? First          12   correct?
   13   paragraph.                                         13             MS. WICHT: Object to the form of
   14         A. Oh.                                       14         the question.
   15         Q. Yeah.                                     15             THE WITNESS: Can I answer?
   16             Do you see that admission,               16             MS. WICHT: You can answer that
   17   "Cardinal admits"?                                 17         yes or no, if you're able to, if you
   18         A. I see that's what it says in the          18         understand the question.
   19   agreement -- the Memorandum of Agreement.          19         A. Yes.
   20         Q. Okay.                                     20   BY MR. GRAY:
   21         A. But my understanding is that we           21         Q. Okay, sir.
   22   were meeting the expectations of the agency, and   22             Just so the record's clear, sir,
   23   those expectations changed over time.              23   you were the vice president of regulatory when
   24         Q. Well, you said you'd seen this            24   that last exhibit, 565, was in place, correct,

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    1   2012?                                               1   inform the DEA of those suspicious orders
    2         A. I was the senior vice president of         2   pursuant to 21 CFR Section 1301."
    3   quality and regulatory affairs for the              3             Do you see that, sir?
    4   pharmaceutical segment.                             4         A. Yes, I see it.
    5                 ---                                   5         Q. Okay. And if you -- if we can go
    6       (Cardinal-Quintero Exhibit 17 marked.)          6   back to P1.1941, please. I believe that's
    7                 ---                                   7   Exhibit -- I'm not exactly sure what exhibit it
    8   BY MR. GRAY:                                        8   is. Exhibit 4 to your deposition.
    9         Q. Let me show you what's P1.4224             9             Do you have it, sir? Mr. Kroeger
   10   [sic], and has been marked as Plaintiff's          10   asked you about this document. Now, in 4222.2,
   11   Exhibit 17 to your deposition, sir, and ask you    11   the government is indicating that you failed to
   12   if you've ever seen this document.                 12   inform the DEA of suspicious orders pursuant to
   13         A. What's the date of the document?          13   21 CFR 1301, and in Exhibit 4, 1941, Mr. Mahoney
   14         Q. 12/22/16. It's on the front               14   is indicating that you told them that Cardinal
   15   stamped.                                           15   does not report suspicious orders to the DEA.
   16         A. I don't recall seeing this                16             Do you see that?
   17   particular document. This document was probably    17             MS. WICHT: Object to the form of
   18   produced after I did not have direct               18         the question.
   19   responsibility for supervising the                 19         A. Yeah. And I told you that -- told
   20   anti-diversion program.                            20   your colleague that statement is completely
   21         Q. Okay. When did you leave that             21   incorrect. If you see, during that period of
   22   position?                                          22   time of 2013, we had reported thousands of
   23         A. I believe during the summer of            23   suspicious orders to DEA. Thousands.
   24   2015. Could have been August or September of       24         Q. In 4222, Exhibit 17, the
                                               Page 323                                                Page 325
    1   2015.                                               1   government's saying you didn't do it. You
    2         Q. Okay. And no one at the company            2   didn't report suspicious orders pursuant to
    3   has ever showed you this consent order before?      3   21 CFR Section 1301.
    4         A. I don't remember seeing it.                4             Do you see that?
    5         Q. Okay. Did anyone at the company            5          A. We always report suspicious
    6   ever discuss this consent order with you?           6   orders, and if you look at the record, during
    7         A. We may have had some conversations         7   when conversation took place, I'm not sure who
    8   with the members of the legal team.                 8   Mr. Mahoney is, but he has his information
    9         Q. Okay. All right. Sir, if you               9   incorrect, because at this point in time, I can
   10   look at 4222.2, the next page, third paragraph.    10   tell you we were reporting thousand of orders to
   11   "Whereas, the complaint alleges that between       11   DEA.
   12   January 1, 2011 and May 14, 2012."                 12          Q. Well, what I want you to look at,
   13             Now, that period of time, you were       13   sir, is 4222. Okay? Exhibit 17 to your
   14   the vice president of QRA, correct?                14   deposition. Do you see that?
   15         A. I was senior vice president --            15          A. Uh-huh.
   16         Q. Senior vice president.                    16          Q. Okay. Well, the DEA -- the
   17         A. -- of quality and regulatory              17   government's saying -- actually, the United
   18   affairs for the pharmaceutical segment.            18   States Attorney for the Southern District of New
   19         Q. Okay. And it indicates, "The              19   York in Manhattan is saying that your company
   20   complaint alleges that between January 1, 2011     20   failed to inform the DEA of those suspicious
   21   and May 14, 2012, Defendant committed reporting    21   orders pursuant to 21 CFR Section 1301.
   22   violations of the CSA regulations by failing to    22             Do you see that?
   23   adequately operate a system designed to identify   23          A. If you're asking me about this and
   24   suspicious orders of controlled substances and     24   about the memo, they're two different dates

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    1   related here.                                       1        the question.
    2         Q. Okay.                                      2        A. They made -- I believe they made
    3         A. But I can assure you that we were          3   those allegations. Me personally, I disagree
    4   reporting thousands of suspicious orders in         4   with those allegations. I believe that we were
    5   March 11th, 2013, where Mr. Mahoney was             5   reporting suspicious orders as our program was
    6   attesting that we didn't. And I can assure you,     6   designed and consistent with the regulatory
    7   without any doubt, that we were reporting           7   requirements.
    8   thousands of orders.                                8        Q. Okay.
    9         Q. Okay. Well, let's talk about 4222          9             MS. WICHT: Counsel, I'm sure you
   10   and all those thousands of orders you reported     10        know Mr. Mahoney has already been asked
   11   and what the US Attorney for the Southern          11        and has testified that those notes are
   12   District of Manhattan found. And if you go down    12        wrong, so I just urge you to not ask
   13   to numerical Paragraph Number 2, why don't you     13        misleading questions on the record.
   14   read that into the record.                         14             MR. GRAY: Strike the testimony of
   15             MS. WICHT: I'm sorry.                    15        the lawyer from the record.
   16         Paragraph 2, is that what you said?          16   BY MR. GRAY:
   17             MR. GRAY: Yes. Numerical                 17        Q. What I'm asking you is, during the
   18         Paragraph 2.                                 18   period of time that you were the vice president,
   19         A. "Defendant admits, acknowledges,          19   okay, this -- senior vice president, January 1,
   20   and accepts responsibility for the following       20   2011 through May 14, 2012.
   21   violations of the regulations promulgated by DEA   21             Do you see that period of time?
   22   pursuant to its authority in the Controlled        22        A. I see that period of time.
   23   Substances Act."                                   23        Q. Your company admitted that they
   24         Q. Okay. Next paragraph.                     24   failed to inform the DEA of certain orders of
                                               Page 327                                                Page 329
    1         A. "Between January 1st, 2011 and             1   controlled substances, you understand that,
    2   May 14, 2012, Defendant failed to inform DEA        2   correct?
    3   that certain orders for controlled substances it    3        A. I was not --
    4   received from some customers were suspicious, as    4            MS. WICHT: Object to the form of
    5   required by 21 CFR 1301.74."                        5        the question.
    6         Q. Okay. So the government, the               6        A. -- a party in the write-up of the
    7   United States Department of Justice from            7   agreement between the Department of Justice and
    8   Manhattan, found that, just like you said over      8   DEA -- and Cardinal Health, but I can tell you
    9   here in 1941, that you didn't report suspicious     9   today, and I have told you throughout the day
   10   orders.                                            10   today, to the best of my knowledge, we were
   11         A. I didn't ever say --                      11   complying with the Controlled Substances Act and
   12             MS. WICHT: Object to the form of         12   we have been reported since the time that I
   13         the question. Mischaracterizes the           13   joined the company in 2009 suspicious orders to
   14         document.                                    14   the government. The expectations have changed
   15         A. You mischaracterize what I said.          15   over time and we have adapted to the
   16   I never said that we have failed to report         16   expectations of the agency.
   17   suspicious --                                      17        Q. Okay. But the law hasn't changed,
   18         Q. Well, we'll ask Mr. Mahoney what          18   right?
   19   you said to him. But what I'm saying is, if you    19        A. The law still --
   20   look at 4222.2, the United States Government       20            MS. WICHT: Object to the form of
   21   Department of Justice made those allegations       21        the question.
   22   against Cardinal and they admitted it, didn't      22        A. The law is still the same until --
   23   they?                                              23   from, I believe, 1970 -- I don't remember the
   24             MS. WICHT: Object to the form of         24   exact year, until today.

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    1         Q. The law stayed the same, but as            1           MR. GRAY: Nothing further.
    2   you read this document -- I mean, you're still      2           VIDEOGRAPHER: Time is now 3:04.
    3   an employee of Cardinal Health, right?              3       Going off the record.
    4         A. I still am an employee of Cardinal         4           MS. WICHT: You wouldn't mind if
    5   Health, correct.                                    5       we just consult for a minute or two?
    6         Q. And what's your current position?          6           MR. GRAY: No.
    7         A. Chief quality and regulatory               7           (Recess taken.)
    8   affairs officer.                                    8           VIDEOGRAPHER: Time is now 3:12.
    9         Q. So you're chief quality in                 9       Back on the record.
   10   regulatory affairs. Is that higher than senior     10           MS. WICHT: We have no questions.
   11   vice president?                                    11       We will read and sign.
   12         A. Similar role, but in a                    12           And the transcript is highly
   13   different -- in a different capacity.              13       confidential under the terms of the
   14         Q. The chief's higher up on the              14       protective order for a period of time
   15   order -- the chain of command than senior vice     15       until we make more detailed
   16   president, right?                                  16       designations. Thank you.
   17             MS. WICHT: Object to the form of         17           MR. GRAY: Okay. Thank you.
   18         the question.                                18           VIDEOGRAPHER: Time is now 3:12.
   19         A. I think we have -- I believe we           19       This concludes the deposition.
   20   have the same pay grade, if that's what you        20           Going off the record.
   21   mean.                                              21           (Signature not waived.)
   22         Q. And in that capacity, you                 22               ---
   23   understand this document to mean that Cardinal     23        Thereupon, at 3:12 p.m., on Thursday,
   24   Health admitted that they violated the law when    24   December 6, 2018, the deposition was concluded.
                                               Page 331                                                     Page 333
    1   they didn't inform the DEA of certain orders of     1         CERTIFICATE
    2   controlled substances; you understand that?         2 STATE OF OHIO    :
                                                                         SS:
    3             MS. WICHT: Object to the form of
                                                            3   COUNTY OF FRANKLIN        :
    4         the question. Mischaracterizes the            4
    5         document.                                     5          I, GILBERTO QUINTERO, do hereby certify that
    6         A. Understand what? The language              6   I have read the foregoing transcript of my
    7   that is in the document? I see the language         7   cross-examination given on December 6, 2018; that
    8   that is in the document. It doesn't mean that I     8   together with the correction page attached hereto
                                                            9   noting changes in form or substance, if any, it is
    9   agree with the language.
                                                           10   true and correct.
   10         Q. Okay. And then it goes on to say          11   ________________________
   11   your company paid a $10 million fine for that      12   GILBERTO QUINTERO
   12   problem.                                           13          I do hereby certify that the foregoing
   13             Do you understand that?                  14   transcript of the cross-examination of GILBERTO
   14         A. It says in the document that the          15   QUINTERO was submitted to the witness for reading and
                                                           16   signing; that after he had stated to the undersigned
   15   Defendant shall pay $10 million to the United
                                                           17   Notary Public that he had read and examined his
   16   States.                                            18   cross-examination, he signed the same in my presence
   17         Q. And that $10 million were for acts        19   on the _______ day of _________________________, 2018.
   18   and actions while you were the senior vice         20
   19   president over regulatory, January 1, 2011              ______________________
   20   through May 14, 2012, correct?                     21
                                                                NOTARY PUBLIC - STATE OF OHIO
   21         A. According to this document, there
                                                           22 My Commission Expires:
   22   was an agreement made by Cardinal Health and the        _________________, ______.
   23   Department of Justice and that was the             23
   24   settlement agreement that they reached.            24


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                                                    Page 334
    1              CERTIFICATE
    2 STATE OF OHIO             :
                      SS:
    3 COUNTY OF DELAWARE :
    4        I, Sara S. Clark, a Registered Merit
      Reporter and Notary Public in and for the State of
    5 Ohio, duly commissioned and qualified, do hereby
      certify that the within-named GILBERTO QUINTERO was by
    6 me first duly sworn to testify to the truth, the whole
      truth, and nothing but the truth in the cause
    7 aforesaid; that the deposition then given by him was
      by me reduced to stenotype in the presence of said
    8 witness; that the foregoing is a true and correct
      transcript of the deposition so given by him; that the
    9 deposition was taken at the time and place in the
      caption specified and was completed without
   10 adjournment; and that I am in no way related to or
      employed by any attorney or party hereto or
   11 financially interested in the action; and I am not,
      nor is the court reporting firm with which I am
   12 affiliated, under a contract as defined in Civil Rule
      28(D).
   13
             IN WITNESS WHEREOF, I have hereunto set my
   14 hand and affixed my seal of office at Delaware, Ohio
      on this 11th day of December 2018.
   15
   16
   17
   18
      _____________________________
   19
      SARA S. CLARK, RMR
   20 NOTARY PUBLIC - STATE OF OHIO
      My Commission Expires: March 10, 2023.
   21
   22                ---
   23
   24

                                                    Page 335
    1           DEPOSITION ERRATA SHEET
    2   I, GILBERTO QUINTERO, have read the transcript
        of my deposition taken on the 6th day of December
    3   2018, or the same has been read to me. I request that
        the following changes be entered upon the record for
    4   the reasons so indicated. I have signed the signature
        page and authorize you to attach the same to the
    5   original transcript.
    6   Page Line Correction or Change and Reason:
    7   ___ ____ ___________________________________________
    8   ___ ____ ___________________________________________
    9   ___ ____ ___________________________________________
   10   ___ ____ ___________________________________________
   11   ___ ____ ___________________________________________
   12   ___ ____ ___________________________________________
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   14   ___ ____ ___________________________________________
   15   ___ ____ ___________________________________________
   16   ___ ____ ___________________________________________
   17   ___ ____ ___________________________________________
   18   ___ ____ ___________________________________________
   19   ___ ____ ___________________________________________
   20   ___ ____ ___________________________________________
   21   ___ ____ ___________________________________________
   22   ___ ____ ___________________________________________
   23   ___ ____ ___________________________________________
   24   Date ______________ Signature ________________________

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